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  13· · · · · · · · · · · OCTOBER 30, 2020                           15
  · · · · · · · · · · · ·(Reported Remotely)                         16
  14· ·_______________________________________________________
                                                                     17
  15· · · ·VIDEOTAPED DEPOSITION of BILL MARTIN WINKFEIN,
                                                                     18
  16· produced as a witness at the instance of the Plaintiff,
  17· taken in the above-styled and numbered cause on the 30th       19
  18· day of October, 2020, from 10:06 a.m. until 3:55 p.m.,         20
  19· before Sandra E. Leas, a Certified Shorthand Reporter
                                                                     21
  20· No. 6929 in and for the State of Texas, reported
  21· stenographically, at Sandia, Texas, pursuant to the            22

  22· Federal Rules of Civil Procedure and the Twenty-Sixth          23
  23· Emergency Order Regarding the COVID-19 State of Disaster
                                                                     24
  24· and the provisions stated on the record or attached
                                                                     25
  25· hereto.

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  ·2· Exhibit 24· · ·Winkfein statement· · · · · · · · · · ·108
  ·3· Exhibit 25· · ·AEP illustration ground pole· · · · · ·36          ·2· · · ·A.· ·Not bad for a Friday.
  ·4· Exhibit 26· · ·NEC and Lineman's book· · · · · · · · ·96          ·3· · · ·Q.· ·All right.· Any -- anything -- are you feeling
  ·5· Exhibit 27· · ·AEP Guide for Electric Service and
  · · · · · · · · · ·Meter Installations· · · · · · · · · · 109
                                                                        ·4· all right, ready to give your deposition this morning?
  ·6                                                                    ·5· · · ·A.· ·Sure.
  · · Exhibit 28· · ·Map (to be provided)
                                                                        ·6· · · ·Q.· ·Okay.· Anything that would prevent you from
  ·7
  · · Exhibit 29· · ·Distribution Standards Manual· · · · · 201         ·7· giving your deposition or giving honest, truthful
  ·8· · · · · · · · ·(to be provided)
                                                                        ·8· testimony this morning?
  ·9· FOR THE DEFENDANT:
  10· Exhibit 1· · · AEP Texas, Inc.'s Cross-Notice of                  ·9· · · ·A.· ·No.
  · · · · · · · · · ·Intent to Take the Oral and                        10· · · ·Q.· ·Okay.· Why don't -- why don't we just get for
  11· · · · · · · · ·Videotaped Deposition of Plaintiff's
  · · · · · · · · · ·Expert Witness, Bill Winkfein, With                11· the record real quick, where -- where are you located
  12· · · · · · · · ·Supboena Duces Tecum· · · · · · · · · ·125         12· this morning?
  13· Exhibit 2· · · Letter of Bill Winkfein· · · · · · · · 126
  14· Exhibit 3· · · Panel photo· · · · · · · · · · · · · · 133
                                                                        13· · · ·A.· ·At Bill Cude's house.
  15· Exhibit 4· · · Photograph (not identified in                      14· · · ·Q.· ·Okay.· And I'll represent for the record, my
  · · · · · · · · · ·transcript)
                                                                        15· name is John Swallow and I'm an attorney for -- for
  16
  · · Exhibit 5· · · Eaton Whole House Surge Protection                 16· plaintiff in this matter, Walton Cude.
  17· · · · · · · · ·document· · · · · · · · · · · · · · · ·137         17· · · · · · · · ·Is Mr. Cude there with you this morning?
  18· Exhibit 6· · · Photograph, Electrical Power Pole
  · · · · · · · · · ·for 111 Vista 10 Lane· · · · · · · · · 145         18· · · ·A.· ·Yes.
  19                                                                    19· · · ·Q.· ·Okay.· And do you know -- do you know the
  · · Exhibit 7· · · Report of Mr. Cude· · · · · · · · · · ·146
  20
                                                                        20· address for Mr. Cude's residence?
  · · Exhibit 8· · · Photographs (4)· · · · · · · · · · · · 62          21· · · ·A.· ·Not right offhand.
  21
                                                                        22· · · ·Q.· ·Okay.· Is it -- does 595 South Vista Drive in
  · · Exhibit 9· · · Call record· · · · · · · · · · · · · · ·62
  22                                                                    23· Sandia, Texas sound --
  23                                                                    24· · · ·A.· ·Yeah.
  24
  25                                                                    25· · · ·Q.· ·-- about right?

                                                               Page 6                                                                 Page 8
  ·1· · · · · · · · · · ·P R O C E E D I N G S                          ·1· · · ·A.· ·Yes.
  ·2· · · · · · · · ·(Exhibits 1 - 27 premarked.)                       ·2· · · ·Q.· ·Okay.· And the reason -- and I don't want to
  ·3· · · · · · · · ·THE VIDEOGRAPHER:· Today is Friday, the            ·3· go into too much detail, but the reason we're doing the
  ·4· date is October 30th, 2020.· The time is 10:06 a.m.· We           ·4· deposition this morning via Zoom is because of personal
  ·5· are now on the record.                                            ·5· health reasons, correct?
  ·6· · · · · · · · ·THE REPORTER:· Okay.· This deposition is           ·6· · · ·A.· ·Yes.
  ·7· being conducted remotely by LegalView.                            ·7· · · ·Q.· ·Okay.· All right.
  ·8· · · · · · · · ·(Bill Martin Winkfein sworn.)                      ·8· · · ·A.· ·My -- my nurse is supposed to come over this
  ·9· · · · · · · · ·THE REPORTER:· Do you have any agreements ·9· morning, but I put her off till Monday.
  10· for the record?                                                   10· · · ·Q.· ·Okay.· All right.· I appreciate that.· And --
  11· · · · · · · · ·MR. SCHAUER:· I'm fine to go.                      11· and I appreciate you taking the time to give your
  12· · · · · · · · ·MR. SWALLOW:· Don, you got anything?               12· deposition -- deposition this morning and help us out.
  13· · · · · · · · ·MR. SCHAUER:· No, I'm ready to roll.               13· · · · · · · · ·Where do you -- where do you currently
  14· · · · · · · · ·MR. SWALLOW:· Then go ahead.· Sounds               14· live, Mr. Winkfein?
  15· good.                                                             15· · · ·A.· ·135 Mohawk Drive, Sandia, Texas.
  16· · · · · · · · ·Can we proceed, then?                              16· · · ·Q.· ·And how long have you lived there?
  17· · · · · · · · ·THE REPORTER:· Yes.                                17· · · ·A.· ·Oh, probably around 11 years or so.
  18· · · · · · · · ·BILL MARTIN WINKFEIN,                              18· · · ·Q.· ·All right.· And where -- where is -- where is
  19· having been duly sworn, testified as follows:                     19· Mohawk -- Mohawk Drive located?
  20· · · · · · · · · · · EXAMINATION                                   20· · · ·A.· ·It's in the Arrowhead subdivision.
  21· BY MR. SWALLOW:                                                   21· · · ·Q.· ·Okay.· And is that -- is that the -- are you
  22· · · ·Q.· ·Good morning, Mr. Winkfein.· Can you -- can             22· currently -- are you giving your deposition this morning
  23· you give your full name for the record, please?                   23· from the Arrowhead subdivision?
  24· · · ·A.· ·Bill Martin Winkfein.                                   24· · · ·A.· ·Yes.
  25· · · ·Q.· ·And how are you feeling this morning,                   25· · · ·Q.· ·And is that where the -- the incident, the

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  ·1· fire that -- that is the subject of this case, is that              ·1· · · · · · · · ·MR. SWALLOW:· Why don't we fix that right
  ·2· where that also occurred?                                           ·2· now?
  ·3· · · ·A.· ·Yes.                                                      ·3· · · · · · · · ·Yeah, Mr. Winkfein, if you can either
  ·4· · · ·Q.· ·And if you would for the jury, just where --              ·4· move the computer or scoot a bit closer.
  ·5· where y'all are located now, how far is that from --                ·5· · · · · · · · ·THE WITNESS:· Okay, I'm closer.
  ·6· from the fire?                                                      ·6· · · · · · · · ·MR. SWALLOW:· And if we need to, do you
  ·7· · · ·A.· ·Oh, probably a mile.                                      ·7· want us to take a break and adjust the audio levels on
  ·8· · · ·Q.· ·Okay.· Same general area.· And how long -- how ·8· the computer?
  ·9· long have you lived in the Arrow- -- Arrowhead                      ·9· · · · · · · · ·THE REPORTER:· That might be good.
  10· subdivision?· I think you said about 11 years; is that              10· · · · · · · · ·MR. SWALLOW:· Why -- why don't we try
  11· correct?                                                            11· that?· I'm sorry, but yeah, I was having a little --
  12· · · ·A.· ·Correct.                                                  12· little hard time hearing as well.
  13· · · ·Q.· ·And I didn't ask this at the beginning, but               13· · · · · · · · ·THE VIDEOGRAPHER:· All right.· The time
  14· have you ever given a deposition before?                            14· is -- the time is 11:11 -- 10:11, excuse me.· We are now
  15· · · ·A.· ·No.                                                       15· off the record.
  16· · · ·Q.· ·Okay.· And -- and I don't think you -- I don't            16· · · · · · · · ·(Break from 10:11 to 10:13 a.m.)
  17· think we're going to have any problems today, but if you 17· · · · · · · · ·THE VIDEOGRAPHER:· The time is 10:13 a.m.
  18· have -- if -- if you have any questions, please feel                18· We are now on the record.
  19· free to -- feel free to stop.· Or if you don't                      19· · · ·Q.· ·(BY MR. SWALLOW)· Mr. Winkfein, you indicated
  20· understand something that I ask, please -- please -- or             20· you were retired.· Do you -- do you still maintain
  21· that Mr. Schauer asks, please feel free to stop us                  21· electrical certification so you can continue to do
  22· and -- and just ask for a clarification.                            22· electrical work?
  23· · · · · · · · ·And if you have to take a break as well,             23· · · ·A.· ·Yes.
  24· just let us know.· And the other big rule is, you know,             24· · · ·Q.· ·And what sort of certifications do you
  25· we'll try not to -- to talk over each other, but I think            25· maintain?

                                                                Page 10                                                                 Page 12
  ·1· we're doing a good job of that.                                     ·1· · · ·A.· ·Well, I have -- I hold a master's license for
  ·2· · · · · · · · ·What do you currently do, Mr. --                     ·2· the state of Texas right now.· I still hold my master's
  ·3· Mr. Winkfein?                                                       ·3· license and everything in the state of Tennessee.· Of
  ·4· · · ·A.· ·I'm retired.                                              ·4· course, that license is good for the east coast
  ·5· · · ·Q.· ·Okay.· What did you do before you were                    ·5· including Florida.
  ·6· retired?                                                            ·6· · · ·Q.· ·Okay.· Mr. Winkfein, you provided me with a
  ·7· · · ·A.· ·I was an electrical contractor.                           ·7· couple cards.· I'm going to put those up on the screen
  ·8· · · ·Q.· ·And how long ago did you retire?                          ·8· right now.· Can you tell us what we're looking at here?
  ·9· · · ·A.· ·It's been -- it's been six, seven years ago               ·9· This has -- this has been marked as Exhibit 1.
  10· or more, or longer.                                                 10· · · ·A.· ·That's the International Brotherhood of
  11· · · ·Q.· ·Do you still work as an electrical contractor             11· Electrical Workers.· That's a union company, it's
  12· even though you're -- you're retired?                               12· throughout the United States.
  13· · · ·A.· ·I just do some --                                         13· · · ·Q.· ·Okay.· Is this a certification?
  14· · · · · · · · ·THE REPORTER:· Pardon?· What was the                 14· · · ·A.· ·It's just a card that I'm a member of that
  15· answer?                                                             15· organization.
  16· · · ·A.· ·I just do things for friends of mine.· I'll               16· · · ·Q.· ·And I have one more -- one more card here.
  17· cut the leg bolts or tell them how to wire something up. 17· This is Exhibit 1 as well.· This is from the State of
  18· That's about it.· I just do that at my home.                        18· Texas.· Can you tell us what this is?
  19· · · ·Q.· ·Okay.                                                     19· · · ·A.· ·That's a state of Texas master's electrician
  20· · · · · · · · ·MR. SWALLOW:· Sandy, are you able to hear            20· license.· It's from the Department -- Texas Department
  21· Mr. Winkfein all right?                                             21· of License and Regulations, which I have to renew once a
  22· · · · · · · · ·THE REPORTER:· Well, it's difficult.                 22· year.· I have to do a four-hour refresher course once a
  23· · · · · · · · ·MR. SWALLOW:· Okay.                                  23· year.
  24· · · · · · · · ·THE REPORTER:· Could he get closer, do               24· · · ·Q.· ·And this allows you to work as a -- as a
  25· you think?                                                          25· master electrician in Texas?


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  ·1· · · ·A.· ·Yes, it's good for Texas, Oklahoma, Arkansas                ·1· Redstone Arsenal.· I did some more work for them up in
  ·2· and Louisiana.                                                        ·2· Washington, D.C.· Installed in their computer room.· Up
  ·3· · · ·Q.· ·Okay.· And you've maintained this current                   ·3· there they don't call it mass up there, which it is, but
  ·4· since -- how many years have you had this license?                    ·4· they call it e-Systems up there.
  ·5· · · ·A.· ·I can't remember.· I've had it probably way                 ·5· · · · · · · · ·And I've done water treatment plants,
  ·6· over 30-something years.                                              ·6· I've done skyscrapers, I've done hotels, motels,
  ·7· · · ·Q.· ·Okay.· You mentioned a couple other                         ·7· restaurants, apartment buildings and residential.· And
  ·8· certifications and I don't think I got those.· Do you                 ·8· I've worked in refineries and chemical plants and
  ·9· have cards for those or certificates?                                 ·9· factories.
  10· · · ·A.· ·I don't have anything with me at the moment.                10· · · ·Q.· ·And it sounds like you've had a fair amount of
  11· · · ·Q.· ·Would those -- would those be at home, or                   11· experience in -- is this both in the -- I guess -- I'm
  12· where -- where would we find those?                                   12· not sure how to put it, this into layman's terms for the
  13· · · ·A.· ·They would be home somewhere, probably in a 13· jury, but you've -- it sounds like you've done quite a
  14· box somewhere.                                                        14· bit of things both internal wiring as well as -- as
  15· · · ·Q.· ·Okay.· All right.· If -- if we ask you to get               15· external hookups?
  16· those, do you think you might be able to provide those                16· · · ·A.· ·Yes.
  17· to Mr. Schauer?                                                       17· · · ·Q.· ·Okay.
  18· · · ·A.· ·I can try to find them, yes, sir.                           18· · · ·A.· ·And I've done work for Exxon where I used to
  19· · · ·Q.· ·Okay.· And we're not going to worry about them              19· hook up these 2,000 horsepower motors on the pipelines.
  20· today, but...                                                         20· · · ·Q.· ·Can you tell us a little bit, too, about --
  21· · · · · · · · ·Can you tell us a little bit about your                21· since this is a residential tech case, can you tell us a
  22· background in electrical field?· What -- what -- what                 22· little bit more about your residential experience as
  23· was your formal training?· Where did you go to school,                23· well?
  24· that sort of stuff?                                                   24· · · ·A.· ·Certainly.· I've done numerous homes and
  25· · · ·A.· ·I went to University of Tennessee, got my                   25· apartment buildings.· There's not much to them.· They're

                                                                  Page 14                                                                  Page 16
  ·1· master's license certificate, master's in electrical                  ·1· a lot easier than wiring a hospital.· I don't know how
  ·2· engineering.· I went through the International                        ·2· much you can say about it.· All you do is go to the
  ·3· Brotherhood of Electrical Workers.· I worked for them a ·3· prints and the specs.· Each house is different with a
  ·4· numerous amount of years.· And I worked for the union ·4· set of blueprints.· You've got to wire accordingly, then
  ·5· companies throughout the United States.· And I also                   ·5· you've got to wire accordingly to the National Electric
  ·6· worked for myself throughout the United States.                       ·6· Code.
  ·7· · · ·Q.· ·And when did you graduate from school?                      ·7· · · ·Q.· ·Do you have any particular experience working
  ·8· · · ·A.· ·It was right when I got out of Vietnam. I                   ·8· with transformers, that sort of stuff?
  ·9· think it was -- I got out around '70 -- probably                      ·9· · · ·A.· ·I've worked numerous times.· I've hooked up --
  10· around 1974, somewhere in that era.                                   10· I don't know how many transformers I've hooked up
  11· · · ·Q.· ·And -- and you graduated from the University                11· throughout the years.· I've hooked them up in, like,
  12· of Tennessee.· Was that a bachelor's degree or did you                12· hospitals, I've hooked them up in schools.· I've done it
  13· say that was a master's degree?· What was that?                       13· in hotels, motels.· The list goes on and on and on.
  14· · · ·A.· ·That was a master's.                                        14· · · ·Q.· ·Okay.· How about with -- with regard to
  15· · · ·Q.· ·Okay.· In electrical engineering?                           15· maintenance and -- and things like that with
  16· · · ·A.· ·Yes.                                                        16· transformers?· Are you familiar with the requirements,
  17· · · ·Q.· ·And that was around 1970?· Is that --                       17· industry standards relating to that?
  18· · · ·A.· ·Probably '74.                                               18· · · ·A.· ·Yes, you're required to have a -- on a
  19· · · ·Q.· ·Okay.· Well, you would have graduated in '74.               19· transformer you're supposed to have a polar current
  20· That makes sense.                                                     20· protection on the primary side of those transformers and
  21· · · · · · · · ·Any -- any other formal training that                  21· on the secondary side of those transformers.
  22· you've had over the years related to electrical field?                22· · · ·Q.· ·Okay.· And I'm more interested just with
  23· · · ·A.· ·I've -- I've run numerous projects for wiring               23· regard to your work or your education, experience.· Do
  24· hospitals.· I've done power plants.· I've hooked up                   24· you have -- do you have experience that would give you,
  25· robotics in Huntsville, Alabama in a place called                     25· you know, special knowledge in that area as far as


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  ·1· hooking up, you know, service connections to houses,                 ·1· · · ·A.· ·My master electrical license certifies that.
  ·2· installation of service connections, maintenance of                  ·2· · · ·Q.· ·Okay.· And the master electrical license, is
  ·3· transformers and things of that nature?                              ·3· that from -- is that from Tennessee, the University of
  ·4· · · ·A.· ·On service, you put out a brand new panel, or              ·4· Tennessee, or where -- where is that from?· Or is that a
  ·5· service they call it, and you put -- all your wires are              ·5· master electrician license from Texas?
  ·6· coming out.· You put those over their own marks and you ·6· · · ·A.· ·It's one -- we just had all the
  ·7· put them on different types of breakers, whether it's a              ·7· (unintelligible) from the state of Texas.
  ·8· 20- or 30-amp breaker or 60-amp breaker.· You go out of              ·8· · · ·Q.· ·Okay.· So -- so the -- your master electrician
  ·9· that, you feed into a meter and you make what's called a             ·9· license here from the state of Texas, that would --
  10· riser and have a weatherhead on it.· Then the power                  10· which I've put it back up on the screen, Exhibit 1 --
  11· company comes out and connects it.                                   11· that would qualify you as well to work on, you know,
  12· · · ·Q.· ·Okay.· And -- and as far as your background,               12· transformers, grid electrical distribution systems; is
  13· though, I understand -- I understand you have a lot of               13· that correct?
  14· experience.· Maybe just give us some examples of -- have             14· · · ·A.· ·Correct.
  15· you -- have you had experience hooking up service                    15· · · ·Q.· ·Okay.· Did you know the plaintiff in this
  16· connections, that sort of stuff?· And I know we talked a             16· case, Walton Cude, prior -- prior to you working as a --
  17· little bit about the hospitals, residential.· But is                 17· as an expert?
  18· that something you can speak to?· Is that something                  18· · · ·A.· ·Yes.
  19· you've done quite a bit in your -- in your work?                     19· · · ·Q.· ·Okay.· And can you tell us a little bit
  20· · · ·A.· ·I've done quite a bit of that.                             20· about -- how long have you known Mr. Cude?
  21· · · ·Q.· ·Okay.                                                      21· · · ·A.· ·Oh, I'd say about nine or 10 years.
  22· · · ·A.· ·I've done all the service work.· I've come                 22· · · ·Q.· ·Did y'all -- did y'all meet in the Arrowhead
  23· from the power companies, transformers, and feed them                23· neighborhood?
  24· back into the buildings which goes into what's called a              24· · · ·A.· ·Yes.
  25· switchgear.· A lot of your hospitals, they got back-up               25· · · ·Q.· ·And has Mr. Cude lived out there for a similar

                                                                 Page 18                                                                  Page 20
  ·1· generators on there, and you've got to test all that.                ·1· number of years?
  ·2· · · ·Q.· ·Okay.· And with -- for your certifications                 ·2· · · ·A.· ·Yes.
  ·3· that you have, is -- is that primarily related to                    ·3· · · ·Q.· ·And did you -- did you also before this, did
  ·4· service side installations or is that -- is that also                ·4· you do some work on Mr. Cude's -- the house that burned
  ·5· related to, you know, lineman stuff, how to -- you know,             ·5· down?· And I'm talking about the house that was located
  ·6· how to maintain transformers, electrical grids, that                 ·6· at 1110 Vista Town Lane.· Are you familiar with that
  ·7· sort of stuff?                                                       ·7· residence?
  ·8· · · ·A.· ·Well, that -- I've got the license which I                 ·8· · · ·A.· ·Yes, I built the -- we did his service on his
  ·9· took in the state of Tennessee, which I had to buy about             ·9· house, new meter, all new wiring.
  10· an $80 book to pass that test.· Had about three                      10· · · ·Q.· ·Okay.· And what -- when -- when was that?· Do
  11· electrical tests on that, and a lot on business tests to             11· you remember?
  12· pass that certification.· I don't do it because I'm not              12· · · ·A.· ·I can't recall right offhand.· It's been
  13· equipped to handle that.· Like in Nashville, Tennessee               13· numerous years ago.· It's 2011.
  14· it's called Nashville Electric Company.· Down here it's              14· · · ·Q.· ·Okay.· And can you -- can you tell us what you
  15· called AEP.· Then they got San Francisco Electric, and               15· did, what electrical work you did on the house?
  16· NEC Electric Company is down there.· They handle that. 16· · · ·A.· ·I tore his old panel box, meter, everything
  17· They're equipped for it.                                             17· off the wall that he had built.· I put a brand new panel
  18· · · ·Q.· ·Right.· And I understand there's probably                  18· box, all brand new breakers, brand new 200-amp main
  19· bucket trucks and other equipment and things like that               19· breaker in the -- which can work for a panel box.· I put
  20· that you would need to do that, but are you certified to             20· new -- a new meter, new conductors going up through the
  21· do that type of work?                                                21· weatherhead, and from the meter box back into Walt's --
  22· · · ·A.· ·Yes.                                                       22· his panel box, it's all brand new.
  23· · · ·Q.· ·And who -- what -- what sort of certifications             23· · · ·Q.· ·And I'm going to pop up on the screen here for
  24· specifically do you have that are relevant to -- to that             24· you what I've marked as Exhibit 2.· Have you seen --
  25· kind of work?                                                        25· have you seen this picture before?


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  ·1· · · ·A.· ·Yes.                                                       ·1· conductor, a number 6/3 with ground, loaded into
  ·2· · · ·Q.· ·I'll represent this is -- this is something                ·2· Mr. Cude's work area, and I mounted another subpanel,
  ·3· that Mr. Cude provided to us.                                        ·3· which is called no-nee (ph.).· I had added a couple
  ·4· · · ·A.· ·It's upside-down.                                          ·4· receptacles where he could plug in some of his tools,
  ·5· · · ·Q.· ·So it is.· Hold on one second.· Let me see if              ·5· and I also wired up an air compressor.
  ·6· I can -- let me see if I can fix that.· I bet I can do               ·6· · · ·Q.· ·Okay.· Tell us about -- so there was a --
  ·7· that if you give me one second.                                      ·7· there was a -- a second subpanel in -- in Mr. Cude's
  ·8· · · · · · · · ·Okay.· Let's try that again.· That does               ·8· work area?
  ·9· look better.· Okay.· So you were saying this is the --               ·9· · · ·A.· ·Yes.
  10· this is the panel box on Mr. Cude's house?                           10· · · ·Q.· ·Okay.· Can you tell us about that?
  11· · · ·A.· ·Yes.                                                       11· · · ·A.· ·That's a 125-amp panel.· I brought number 6
  12· · · ·Q.· ·Okay.· And is this after -- after you had                  12· wire to it and that's good for 60 amps.· And I brought
  13· finished your work on the house?                                     13· that -- that main for that was coming out of this panel,
  14· · · ·A.· ·Yeah.                                                      14· and that was protecting the conductors and everything in
  15· · · ·Q.· ·Okay.· Tell us, is there a -- tell us about                15· that panel.
  16· what's in here.· You replaced -- and you may have said               16· · · ·Q.· ·Okay.· Any other work you did on -- on the
  17· this already, but you replaced the main breaker -- the               17· wiring?
  18· breakers and -- was there also maybe a surge protector               18· · · ·A.· ·That pretty much sizes it up.
  19· in there?                                                            19· · · ·Q.· ·Did you mention -- and -- and you may have
  20· · · ·A.· ·Yes.                                                       20· mentioned this already, but did you -- did you do
  21· · · ·Q.· ·Okay.· Can you just tell the jury real quick               21· anything with the -- the weatherhead, the service that
  22· what -- I'm sorry, I think -- I think you did, but --                22· was coming into the house?
  23· · · ·A.· ·The top -- top breaker, that's your main                   23· · · ·A.· ·I replaced all that.
  24· breaker.· That's a 200-amp main breaker.· The wires that 24· · · ·Q.· ·Okay.· And when you say replaced all that, you
  25· are feeding that, there's two ought conductors.· The                 25· didn't replace the -- the -- the -- the drop line or the

                                                                 Page 22                                                                  Page 24
  ·1· neutral wire, which goes back to the meter also, that's              ·1· AEP wires.
  ·2· a one-ought conductor.· The rest of the branch circuits              ·2· · · ·A.· ·AEP -- AEP does that.
  ·3· that goes throughout the house, some of them's on 20s,               ·3· · · ·Q.· ·Right.· Can you just explain a little bit for
  ·4· single-pole 20s, some of them are two-pole 30s, and some ·4· the jury what -- what you placed, what specifically you
  ·5· of them are two-pole 50s.                                            ·5· worked on with relation to the weatherhead?
  ·6· · · ·Q.· ·Okay.· Do you believe this fairly and                      ·6· · · ·A.· ·Out of the top -- out of the top of this meter
  ·7· accurately represents the photograph -- and I know you               ·7· box I've got a two-inch conduit that goes up.· It's got
  ·8· didn't take it -- but do you think it fairly and                     ·8· to be at least approximately 10 foot off the ground. I
  ·9· accurately represents the work that you did, what was                ·9· scraped it in three places, 12 inches to the
  10· there after you did the installation and what was there,             10· weatherhead, one in the middle, one close to the meter
  11· you know, after -- at the time of the fire, the                      11· head.· I put a new weatherhead.· That's where the
  12· incident?                                                            12· conductors of that riser, the one that's called out,
  13· · · ·A.· ·Well, this is how it looked after I got done               13· then the power company hooks it up.
  14· with it.                                                             14· · · ·Q.· ·Okay.· And for the jury who may not know it,
  15· · · ·Q.· ·Okay.· Did you go back and inspect it after                15· weatherhead is -- what is it?
  16· 2011?                                                                16· · · ·A.· ·It's kind -- it's kind of when the wires come
  17· · · ·A.· ·No, there was no reason to.                                17· out of that conduit, the weatherhead fits over that
  18· · · ·Q.· ·Okay.· And do you know -- you're not aware of              18· pipe, and it's got -- you've got to poke some holes in
  19· anybody else who did any work after 2011, are you?                   19· the sides of that weatherhead, and you bring your
  20· · · ·A.· ·No.                                                        20· conductors out on that and it's got a cover that fits
  21· · · ·Q.· ·Okay.· Did you inspect or did you replace, did             21· over that.· It keeps water from going down into the
  22· you do any work on the rest of the wiring in the rest of             22· meter.
  23· the house?                                                           23· · · ·Q.· ·Okay.· And so if I can summarize, you -- did
  24· · · ·A.· ·I went through and changed out some                        24· you replace the wires going up into the weatherhead?
  25· receptacles and some switches.· I added another                      25· · · ·A.· ·Yes.


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  ·1· · · ·Q.· ·Okay.· And then A -- AEP would have connected                ·1· everything, but did you --
  ·2· the wires from the service pole to the weatherhead; is                 ·2· · · ·A.· ·No.· No, I didn't.
  ·3· that --                                                                ·3· · · ·Q.· ·Why don't you tell us what you did.· That
  ·4· · · ·A.· ·Yes.                                                         ·4· might be easier.
  ·5· · · ·Q.· ·Okay.· Do you know who did that at AEP?                      ·5· · · ·A.· ·I added some new receptacles replaced,
  ·6· · · ·A.· ·Not offhand.· I wasn't there when they did it.               ·6· replaced some single-post switches that runs his lights
  ·7· · · ·Q.· ·Okay.· Do you know who was there?                            ·7· in his house.
  ·8· · · ·A.· ·I have no idea.                                              ·8· · · ·Q.· ·Okay.
  ·9· · · ·Q.· ·I may have read somewhere, either in your --                 ·9· · · ·A.· ·I hooked up his vent-a-hood.· I believe that's
  10· your expert report on this case or -- or somewhere else,               10· what it was.· I hooked up his -- he got a new stove. I
  11· but was there -- why did you replace the -- the wires                  11· hooked that up.· And that's pretty much the size of it.
  12· that were running from the -- from the AEP service                     12· · · ·Q.· ·Okay.· Did you -- did you inspect most of the
  13· connection down into the weatherhead?                                  13· receptacles and wiring, at least what was visible, in
  14· · · ·A.· ·They was all corroded, insulation coming off                 14· the house?
  15· the conductors, which was a hazard.· I replaced all                    15· · · ·A.· ·Yes.
  16· that, put all brand new wire back in there so there                    16· · · ·Q.· ·Were any issues -- is that a fair statement?
  17· wouldn't be no kind of problems whatsoever.· That come 17· · · ·A.· ·We just blocked the receptacles up.· They was
  18· right from the factory.                                                18· old.· Some of them didn't have a grounding ground, where
  19· · · ·Q.· ·Okay.· And when you say the -- the insulation,               19· most receptacles nowadays you got to have a hot wire, a
  20· can you explain a little bit jury -- to the jury what --               20· neutral wire, and you've got a ground wire.· Some of
  21· what you mean by insulation?                                           21· them was just had -- was just a hot and neutral.· We
  22· · · ·A.· ·The insulation was -- covers about -- it's the               22· brought them up to date.· The way you can get around
  23· outside coating of the conductor itself, the copper.                   23· without having a ground, you can have a GFI on the --
  24· · · ·Q.· ·Okay.· So in -- I've got up on the screen the                24· wherever the power source is coming into a residence,
  25· picture of the box still.· You've got wires coming down                25· any kind of establishment, and a GFI will handle that

                                                                   Page 26                                                                  Page 28
  ·1· from the top.· That would be the weatherhead, correct?                 ·1· pole without a ground.
  ·2· Is the insulation -- are those the white wires, or which               ·2· · · ·Q.· ·Okay.· So -- so by the time you were finished,
  ·3· ones -- which ones would be the -- the new wires coming ·3· all the outlets were actually grounded, not just the GF
  ·4· in from the weatherhead?                                               ·4· -- GFI, but were actually grounded?
  ·5· · · ·A.· ·The ones that are coming through the meter at ·5· · · ·A.· ·It was grounded.· It's going through the main
  ·6· the bottom, it's got a short nipple, and you see it's                  ·6· power that's feeding some receptacles.· It was feeding
  ·7· got a blue bushing on it.· Those are the wires that's                  ·7· into the GFI receptacle first.· Then it branched off and
  ·8· coming from the meter that's feeding up to that top                    ·8· hit a few more receptacles.· The GFI was -- was hard
  ·9· breaker.· Those other wires are branch service.                        ·9· without a fuse.· I had an issue with any of -- any of
  10· · · ·Q.· ·Okay.· And so the insulation is the plastic                  10· those other receptacles, that GFI was the trip.
  11· stuff around the wire, the white stuff that you can see?               11· · · ·Q.· ·Okay.· And did you also install -- I'm not
  12· · · ·A.· ·Correct.                                                     12· sure you mentioned before, but did you also install new
  13· · · ·Q.· ·Okay.· And -- and before you did the work --                 13· grounds for the residence?
  14· you didn't take any pictures of the work you did, did                  14· · · ·A.· ·I installed the main ground, yes.
  15· you?                                                                   15· · · ·Q.· ·Okay.· And so by the time you finished your
  16· · · ·A.· ·I didn't.· I think Walt Cude took a picture of               16· work, the residence was fully grounded, code compliant?
  17· this.                                                                  17· Would you --
  18· · · ·Q.· ·Yeah, that's -- that's my understanding as                   18· · · ·A.· ·Yes.· It was up to standards of the National
  19· well.                                                                  19· Electric Code.· The green wire you see in that box,
  20· · · · · · · · ·What was your -- after you got done with                20· that's the grounding wire that's feeding into the meter
  21· the work, did you -- did you inspect all the electrical                21· box.
  22· wires in the house?                                                    22· · · ·Q.· ·And that goes -- what kind of -- what kind of
  23· · · ·A.· ·Yes.                                                         23· ground did you install?
  24· · · ·Q.· ·Okay.· And -- and maybe I should be a bit more               24· · · ·A.· ·That's a number 4 ground; THHN is the outside
  25· specific.· I imagine you didn't open up the walls and                  25· installation.


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  ·1· · · ·Q.· ·And where does that wire go?· Does it go to --              ·1· · · ·Q.· ·Okay.· And this might give you a -- a marker
  ·2· · · ·A.· ·It goes into the meter.· And you've got                     ·2· which you can remember at any time.· Do you remember
  ·3· another number 4 wire that goes down to a piece of                    ·3· that there was a -- a hurricane that came through,
  ·4· conduit, and it goes -- you have a ground clamp and it                ·4· hurricane Harvey in 2017?
  ·5· clamps onto the ground rod itself.· It's a five-eighths               ·5· · · ·A.· ·Yes.
  ·6· by eight-foot ground rod, which that ground rod is only               ·6· · · ·Q.· ·And -- and so hurricane Harvey, do you
  ·7· good for another 6-wire, or 60 amps is all that ground                ·7· remember how -- how long after hurricane Harvey the fire
  ·8· rod is good for.                                                      ·8· occurred?
  ·9· · · ·Q.· ·Okay.· And the part -- and so that -- how big               ·9· · · ·A.· ·I'm not sure right off the bat when that storm
  10· is the ground -- ground rod?· Can you explain what the                10· come through.· It's been a few years ago.
  11· ground rod is just a little bit?                                      11· · · ·Q.· ·Yeah, I understand it's been a few years, but
  12· · · ·A.· ·It's a five-eighths ground rod.· Eight foot                 12· do you remember -- between the -- from the storm and
  13· deep is what is required.· You install it in the ground.              13· the -- and the -- and the hurricane, do you remember how
  14· And you can have maybe a couple of inches just above the 14· many years was there or how many months?
  15· ground, but they pretty much want it ground level.                    15· · · · · · · · ·MR. SWALLOW:· Let's -- guys, can we just
  16· · · ·Q.· ·Okay.· And so what was your general opinion,                16· take a break real quick?· I need to go off the record
  17· then, as a -- as a certified master electrician and                   17· for something.
  18· electrical engineer at the state of the wiring,                       18· · · · · · · · ·MR. SCHAUER:· Okay.
  19· electrical wiring, electrical system in Mr. Cude's house              19· · · · · · · · ·THE VIDEOGRAPHER:· The time is 10:40 a.m.
  20· after you finished your work?                                         20· We are now off the record.
  21· · · ·A.· ·Looked like it was right up to date to the --               21· · · · · · · · ·(Break from 10:40 to 10:41 a.m.)
  22· that's the NEC, National Electric Code standards.                     22· · · · · · · · ·THE VIDEOGRAPHER:· The time is 10:41 a.m.
  23· · · ·Q.· ·Okay.· And you weren't -- any -- any remaining              23· We are now on the record.
  24· issues that you saw with the -- the electrical system in              24· · · ·Q.· ·(BY MR. SWALLOW)· Mr. Winkfein, do you recall
  25· his house, Mr. Cude's house?                                          25· how, generally, with -- within a period of months,

                                                                  Page 30                                                                    Page 32
  ·1· · · ·A.· ·No, I didn't.                                               ·1· maybe, how -- how long after hurricane Harvey that the
  ·2· · · ·Q.· ·Okay.· Did you -- now, I asked before.· You                 ·2· fire at Mr. Cude's residence occurred?
  ·3· were friends with Mr. Cude.· I imagine after you                      ·3· · · ·A.· ·I can't tell you right offhand.· I don't keep
  ·4· finished the wiring back in 2011, did y'all see each                  ·4· up with dates too much anymore.· Getting too old to keep
  ·5· other socially at least after that?                                   ·5· up with yesterday.
  ·6· · · ·A.· ·Sure.                                                       ·6· · · ·Q.· ·I understand.· That's -- that's fair.· Can you
  ·7· · · ·Q.· ·Okay.· Would you have had occasion to visit                 ·7· tell -- was it a period of months, a period of years? I
  ·8· Mr. Cude's residence after that?                                      ·8· mean, can you generally, can you tell us?
  ·9· · · ·A.· ·Yes.                                                        ·9· · · ·A.· ·I would say it's a period of months.
  10· · · ·Q.· ·Okay.· And were you generally familiar                      10· · · ·Q.· ·Okay.· All right.· And so we'll leave it at
  11· with what -- what kind of -- with Mr. -- with Mr. Cude's              11· that.
  12· shop, for example, with what -- you know, with his air                12· · · · · · · · ·And I think I asked you, but let's --
  13· conditioner, heater, that sort of stuff, the things that              13· let's -- let me just follow up on it.· Before the --
  14· he had in his house?                                                  14· before the fire you had visited Mr. Cude's residence.
  15· · · ·A.· ·Yes, I could -- I knew about what he had in                 15· Do you remember when -- when that occurred, the last
  16· his house.                                                            16· time maybe you visited over there?
  17· · · ·Q.· ·Okay.· And when -- when would have been the                 17· · · ·A.· ·It was around hurricane Harvey.· I was there
  18· last time prior to the fire -- do you remember the date               18· then.· I was there several times after that.
  19· of the fire?· Why don't we establish that.                            19· · · ·Q.· ·Okay.· So in the period between hurricane
  20· · · ·A.· ·I think that was 2011.                                      20· Harvey and when the fire occurred, you had been at the
  21· · · ·Q.· ·The fire?· I think the wiring was 2011.· Do                 21· house several times.· How often did you go over there?
  22· you remember when the fire occurred?· Let me -- let me 22· Once a week?· Once a month?· Any --
  23· -- sorry.· I believe it was November 19th, 2017.· Does                23· · · ·A.· ·I would say probably once a month.
  24· that sound familiar?                                                  24· · · ·Q.· ·Okay.· All right.· Now, I know he had -- I
  25· · · ·A.· ·That sounds correct.                                        25· mean, and based on that, did you see anything that


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  ·1· concerned you about, you know, what -- what he was doing ·1· · · ·A.· ·It's not the main, no.
  ·2· as it relates to the electrical system?                             ·2· · · ·Q.· ·Okay.· So it comes out at 7200 volts.· And
  ·3· · · ·A.· ·He wasn't doing anything related to the                   ·3· then from there what happens?· What is the -- what's --
  ·4· electrical system.                                                  ·4· · · ·A.· ·It goes to transformers around the area and
  ·5· · · ·Q.· ·Okay.· And not that he was doing work on it,              ·5· then the transformers reduce the voltage to go to a
  ·6· but let's talk about the shop area, for example.· Did he            ·6· particular residence or a commercial establishment.
  ·7· have any equipment hooked up in the shop area that                  ·7· · · ·Q.· ·Okay.· And explain -- explain to us, if you
  ·8· concerned you?                                                      ·8· would, explain to the jury what -- what the -- what a
  ·9· · · ·A.· ·He had an air compressor hooked up.                       ·9· transformer does.
  10· · · ·Q.· ·Okay.· Did he --                                          10· · · ·A.· ·It reduces the voltage.· In this particular
  11· · · ·A.· ·That was all that was hooked up in that -- his            11· case you have a 7200-volts, which is the line side, the
  12· work area at that time.· That was protected by a                    12· primary side.· It's got copper windings on the inside.
  13· breaker.                                                            13· And on this, it reduces it down to 120 -- or 240 or 120
  14· · · ·Q.· ·How about with regards to his -- his -- his               14· so you're neutral.· Some -- some of them are -- might be
  15· heater or any -- any other appliances in the house,                 15· 12,000 volts, and some of them you'll come down and
  16· anything that concerned you?                                        16· reduce it down to 480 volts.
  17· · · ·A.· ·No.                                                       17· · · ·Q.· ·And is -- is a transformer an -- an important
  18· · · ·Q.· ·Okay.· Can you -- can you just briefly explain            18· piece of equipment in the distribution system?
  19· for the jury in -- in simple terms, if you can, how does            19· · · ·A.· ·Yes.
  20· an electrical distribution system work?                             20· · · ·Q.· ·Okay.· Very -- very important piece of
  21· · · ·A.· ·Well, it originates out of the -- well,                   21· equipment?
  22· actually it originates out of a power plant.· And that              22· · · ·A.· ·Very important.
  23· -- those conductors are transmitted to substations that 23· · · ·Q.· ·Okay.· And -- and explain that a little bit to
  24· branches off, and just like this panel box, it branches             24· us.· How does -- does it help protect the residence?
  25· off and goes to different areas of the -- the country or            25· What -- what are -- what all functions does it perform?

                                                                Page 34                                                                  Page 36
  ·1· the city, what have you.· That's basically how that                 ·1· · · ·A.· ·Well, you got your primary side that goes in.
  ·2· works.                                                              ·2· You got one hot wire, feeds on the top of that
  ·3· · · ·Q.· ·Okay.· And -- and maybe we can start from                 ·3· transformer.· And you've got a ground dead conductor on
  ·4· the -- are you familiar with the substation for the                 ·4· the other side of that transformer that reduces it to
  ·5· Arrowhead subdivision?                                              ·5· the windings that goes down in this case, 240 volt or
  ·6· · · ·A.· ·I know where it's at.· I've never done no work ·6· 120 to ground.
  ·7· there.                                                              ·7· · · ·Q.· ·Okay.· And I'm going to pull up an
  ·8· · · ·Q.· ·You've seen it, though.                                   ·8· illustration here.· And this has been marked as Exhibit
  ·9· · · ·A.· ·Yes.                                                      ·9· 25, I believe.· And this is -- it's called What's On an
  10· · · ·Q.· ·Okay.· How far is that from Mr. --                        10· Electric Power Pole, and I'll represent to you I believe
  11· · · ·A.· ·It's probably about 13 miles.                             11· this came off the Internet.· But do you think this is a
  12· · · ·Q.· ·And so the -- do you know the -- what voltage             12· fair and accurate representation of generally what's on
  13· comes out of the substation?                                        13· a -- a residential area power pole?
  14· · · ·A.· ·It varies.· Most of the conductors that feeds             14· · · ·A.· ·Yes.
  15· residential usually is 7200-volt line on the primary                15· · · ·Q.· ·Okay.· And there's a -- there's a few
  16· side.                                                               16· components here.· We talked about the transformer.· What
  17· · · ·Q.· ·Okay.· And so the -- what we -- from the                  17· else -- what else is generally on an electrical power
  18· substation -- what does a substation look like?· I may              18· pole that's -- that's important?
  19· actually have a picture of it here, but tell --                     19· · · ·A.· ·Normally you have the lightning arrestor, then
  20· generally, what is a substation, what does it do?                   20· you've got a cutoff which has got a --
  21· · · ·A.· ·It just brings the power from a power plant,              21· · · · · · · · ·THE REPORTER:· Would you repeat that
  22· it gets distributed throughout the -- the area.                     22· whole answer?· Normally you have a what?
  23· · · ·Q.· ·Okay.· And so the -- the -- the power comes               23· · · ·A.· ·You'll have a lightning protector and you'll
  24· out of the substation.· Does it come out at a reduced               24· have a -- what's called a cutout, and you'll have -- it
  25· voltage?· It's not the main transmission line, is it?               25· will be fused on the inside of that cutout.


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  ·1· · · · · · · · ·THE REPORTER:· Thank you.                               ·1· that.· It's also bonded to the neutral conductor, or the
  ·2· · · ·Q.· ·(BY MR. SWALLOW)· And I'm going to zoom in                   ·2· grounded conductor, and it goes down the pole and it
  ·3· here, if I can, for the jury.· And this says -- we're                  ·3· comes down and it's supposed to go into an 8-foot -- or
  ·4· looking up at the top of the power pole here.· Can                     ·4· excuse me, five-eighths by 10-foot ground rod, which is
  ·5· you -- can you read -- what does -- what does it say                   ·5· normally supposed to be about three foot from the pole.
  ·6· about cutouts?· Can you read that?                                     ·6· · · ·Q.· ·Is that an important item as well in the -- in
  ·7· · · ·A.· ·You've got to keep close -- I can't see it.                  ·7· the system?
  ·8· · · ·Q.· ·I got it, up closer.· Yes, sir.· Let's see if                ·8· · · ·A.· ·Yes, it takes -- if you have any fault in
  ·9· I can get it in a little bit closer for you.· Well, hold               ·9· that -- that unit right there, it's supposed to take any
  10· on one second there.· I've got to scroll over.· There we               10· kind of fault to ground.
  11· go.· There you go.· Can you read that?                                 11· · · ·Q.· ·Okay.· Would that be faults on the supply side
  12· · · ·A.· ·Yes.· Cutouts act like a fuse and open when                  12· as well as the residential side, or -- or how does that
  13· there's a problem with a line or a section of it.                      13· work?
  14· · · ·Q.· ·Okay.· Would you generally agree with that?                  14· · · ·A.· ·It will work on that primary side.
  15· · · ·A.· ·Yes.                                                         15· · · ·Q.· ·Okay.· Can you -- can you explain a little bit
  16· · · ·Q.· ·Okay.· Is a cutout something that's important                16· about what -- what is it, a self-protected system?· Was
  17· to have generally on a -- on a power pole for a                        17· this a self-protected system?
  18· residence?                                                             18· · · ·A.· ·The one that Walt had was not.· It did not
  19· · · ·A.· ·All -- all establishments should have those.                 19· have a cutout on it.
  20· · · ·Q.· ·In fact, is there a code provision that                      20· · · ·Q.· ·When you say the one that Walt had, you're
  21· requires that?                                                         21· referring to his residence at Vista -- Vista Lane where
  22· · · ·A.· ·Well, it's -- well, it's protecting that                     22· the fire occurred?
  23· transformer and it's protecting a line for the lineman                 23· · · ·A.· ·Correct.
  24· that works on it.· He uses what's called a hot stick and               24· · · ·Q.· ·Okay.· And you're saying the -- the
  25· he can open that up and he can work on a transformer if 25· transformer did not have a -- a cutout on it?

                                                                   Page 38                                                                  Page 40
  ·1· it's faulty.                                                           ·1· · · ·A.· ·No, sir.· And on top of that, it had a
  ·2· · · ·Q.· ·Okay.· How about in a case of a fire?· If                    ·2· nameplate on it that shows an internal -- internal fuse
  ·3· there's a fire at somebody's residence, does that also                 ·3· on the line side and a -- a breaker on the secondary
  ·4· give the -- the firemen --                                             ·4· side.· The secondary side is the one that feeds into his
  ·5· · · ·A.· ·Yes.· What that would do, the power company                  ·5· house.
  ·6· would use what's called a hotstick, it's fiberglass,                   ·6· · · ·Q.· ·Okay.
  ·7· they'll pull that cutout loose.· That -- that takes --                 ·7· · · ·A.· ·Apparently those did not work.· What happened
  ·8· it cuts all the power going to that transformer and it                 ·8· over at Walt Cude's house, you had a surge and there was
  ·9· cuts the power going to the residence off.                             ·9· no way to cut it out.· It just kept coming.· If you
  10· · · ·Q.· ·Okay.· So if there was a fire at a residence,                10· have, like, a lightning storm -- that's for an
  11· that would be something that would be useful for the                   11· instance -- it hits your service, it will go to ground
  12· firemen and the -- the electrical company?                             12· and it'll trip the main breaker.· You have a surge in a
  13· · · ·A.· ·Electric company normally does that.                         13· transformer, say, for instance, which that happens
  14· · · ·Q.· ·Can a fireman also do that?· Do they have a                  14· occasionally around all areas.· It will go to ground and
  15· hotstick?                                                              15· trip that main breaker off.· And it's over with in an
  16· · · ·A.· ·No, they don't normally carry those.                         16· instant.
  17· · · ·Q.· ·Okay.· So we talked about the lightning                      17· · · · · · · · ·In this particular moment here, he had a
  18· arrestor, the transformer, the -- the cutout.· What else               18· constant power.· That's not made -- these are not made
  19· -- what other important parts are there on a power pole?               19· for that -- for a constant current going through that.
  20· · · ·A.· ·That's pretty much it.                                       20· They're not designed for that, not the panel box or that
  21· · · ·Q.· ·How about the ground?· Is -- is there a ground               21· transformer.· That should have tripped and cut the power
  22· on those power poles?                                                  22· down.
  23· · · ·A.· ·Yes, you got a ground rod or ground wire,                    23· · · ·Q.· ·Okay.· Is -- and I just want to go back to my
  24· which is supposed to be a number 6 ground.· It feeds 24· question about the self-protected -- self-protected
  25· from that transformer, it's bonded to the housing of                   25· system.· This was something -- and I don't know if it


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  ·1· was in your report or maybe it was something you had                 ·1· · · ·Q.· ·And that goes into a ground rod in the ground.
  ·2· mentioned to me -- but it seemed important, that this                ·2· And there's a separate -- there's a separate ground or
  ·3· being a self-protected system, is that -- is that what               ·3· what's called a -- a neutral wire, I believe?
  ·4· this system was or was supposed to be?                               ·4· · · ·A.· ·Yes, sir.· That's a grounded conductor.
  ·5· · · ·A.· ·That's what it's -- according to the nameplate             ·5· That's a return.
  ·6· on the transformer, that's what it was.                              ·6· · · ·Q.· ·Okay.
  ·7· · · ·Q.· ·Okay.· And was it, based on what you have                  ·7· · · ·A.· ·You've got all AC current, goes around and
  ·8· observed?                                                            ·8· around.
  ·9· · · ·A.· ·Well, it didn't work.                                      ·9· · · ·Q.· ·And where does that -- where does that wire go
  10· · · ·Q.· ·Okay.· And that's based on the observation of              10· back to?· There's an -- and the neutral wire -- can you
  11· what -- what occurred?                                               11· explain a little bit to the jury on that -- on that
  12· · · ·A.· ·Right.                                                     12· illustration -- let me pull the illustration back up
  13· · · ·Q.· ·There was -- there was something else that I               13· there.· There's three -- three wires, I believe, at the
  14· think you mentioned to me earlier about a grounded                   14· -- at the top of -- at the top of the -- at the top of
  15· versus a grounding system, and -- and I don't know                   15· the power pole.· Which one is the -- the neutral or the
  16· whether that's significant or not, but can you explain a             16· grounding conductor?· And I'm going to get you a picture
  17· little bit to the jury.· What -- what is that?· What's               17· here of Mr. Cude's system as well.· But can you explain
  18· the difference between those two type of systems and how             18· that to the jury from the -- from the illustration up
  19· does that --                                                         19· there?
  20· · · ·A.· ·All systems got it.· You got a grounding                   20· · · ·A.· ·You've got three wires.· That could be three
  21· conductor, which is also called a neutral, or a grounded             21· different circuits that could be feeding somewhere else
  22· conductor, rather.· Then you've got a grounding                      22· down the line.· You only need one.
  23· conductor.· The grounding conductor is the one that goes 23· · · ·Q.· ·Okay.· Well, let me -- let me get you --
  24· to the ground onto the ground rod.· If you have any kind             24· there -- there you go.· Here's a picture of Mr. Cude's
  25· of faults, it's supposed to go directly to ground.· That             25· residence.· Is this -- are you -- are you familiar with

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  ·1· takes all the fault off the current.                                 ·1· Mr. Cude's residence and the transformer pole there?
  ·2· · · ·Q.· ·Okay.· And what kind of system are we dealing              ·2· · · ·A.· ·Yes.
  ·3· with here?· Was it both or is --                                     ·3· · · ·Q.· ·Okay.· And if you can explain a little bit for
  ·4· · · ·A.· ·There's both -- you have -- you've got a                   ·4· the jury, what are we looking at here?· Can you see the
  ·5· grounded -- grounded conductor going -- feeding on the               ·5· picture I've pulled up on the screen?
  ·6· primary side of that fence coming from an AEP, and you               ·6· · · ·A.· ·I can.
  ·7· got your main power which is 7200 volts.· Then on the                ·7· · · · · · · · ·MR. SCHAUER:· John, excuse me.· Are --
  ·8· secondary side you've got 240 volts and 120 to ground.               ·8· are you going to make this an exhibit so we can identify
  ·9· · · ·Q.· ·Okay.· And is there -- do you -- do you                    ·9· it later?
  10· believe there was a -- where do you think the fault was              10· · · · · · · · ·MR. SWALLOW:· I appreciate it, Don, thank
  11· in this system?                                                      11· you.· Thank you for that.
  12· · · ·A.· ·I think it was in the pipe triplex, which                  12· · · ·Q.· ·(BY MR. SWALLOW)· This is -- I believe it's
  13· those are the conductors that are twisted together                   13· Exhibit 19.· All right.· Can you -- can you explain what
  14· feeding into Walt's house.                                           14· we're looking at here, Walt, on Exhibit 19?
  15· · · ·Q.· ·Okay.· Does that happen -- does that relate to             15· · · ·A.· ·I'm Bill.
  16· the grounding versus the grounded conductor?                         16· · · ·Q.· ·Thank you.· Thank you.· Thank you,
  17· · · ·A.· ·They was all connected together.· They -- that             17· Mr. Winkfein.· Thank you, Bill.· Can you --
  18· started on the -- the conductors and it all bonded                   18· · · ·A.· ·There's three conductors that are coming out
  19· together, and you had a constant voltage.· That                      19· of that transformer.· Those are the secondary side of
  20· transformer in Walt Cude's panel box is not designed for 20· that transformer.· The two on the outside are your hot
  21· that kind of return.                                                 21· wires.· Each one of them is 120, two ground.· Your
  22· · · ·Q.· ·Okay.· And -- and let me see if I can pull                 22· middle one is your neutral wire, which is a grounded
  23· this up.· But there's a -- there's the ground that goes              23· conductor.· And those particular wires there, they're
  24· down the telephone -- down the telephone pole, correct?              24· corroded.· Insulation was falling off of it.
  25· · · ·A.· ·Correct.                                                   25· · · ·Q.· ·Okay.· And is this -- is this -- is this the


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  ·1· transformer at Walt -- Walt Cude's -- or Walton Cude's               ·1· think you mentioned there was some -- looked like there
  ·2· residence, prior residence, at -- at the Vista Lane                  ·2· was some corrosion, some issues on the -- the
  ·3· residence?                                                           ·3· connections?
  ·4· · · ·A.· ·Yes.                                                       ·4· · · ·A.· ·Yes.
  ·5· · · ·Q.· ·Okay.· And if -- what are we looking at here?              ·5· · · ·Q.· ·Okay.· And is that -- you're talking about
  ·6· Is this -- we're looking towards Mr. Cude's residence                ·6· the -- the wire connections here to the -- the
  ·7· and towards -- is that correct?                                      ·7· transformer?
  ·8· · · ·A.· ·I guess so.· Yes.                                          ·8· · · ·A.· ·Yes, that's your secondary side.
  ·9· · · ·Q.· ·Can you -- can you just explain for the jury,              ·9· · · ·Q.· ·Okay.· And is this -- and this is Exhibit 20.
  10· what -- where would Mr. Cude's residence have been on 10· This may be a closer up picture of it.· And so I've
  11· this?                                                                11· pulled up Exhibit 20 on the screen.· Is that -- is that
  12· · · ·A.· ·That far pole.· It's feeding back into                     12· a closer up picture of those connections?
  13· Mr. Cude's house.                                                    13· · · ·A.· ·Yes.
  14· · · ·Q.· ·Okay.· And so we're looking -- I'm going to                14· · · ·Q.· ·Okay.· Can you explain to the jury what --
  15· zoom in here on it a little bit.· This power pole down               15· what we're looking at here?
  16· the hill, that's -- that would have gone into Mr. Cude's             16· · · ·A.· ·There are two wires on your outside, 120 volts
  17· residence?                                                           17· apiece.· Little wire is your grounding conductor.· You
  18· · · ·A.· ·Correct.                                                   18· go to where the meter, from one side your hotstick;
  19· · · ·Q.· ·Okay.· And -- and his service, I guess there               19· grounded conductor, you'll have 120.· You go to both
  20· would have been a service drop -- if I call that the                 20· sides of your two hots on the outside, you'll have 240
  21· service pole, is that all right?                                     21· volts.· The stack that you got going into that
  22· · · ·A.· ·That's fine.                                               22· transformer going to that neutral wire, or the grounded
  23· · · ·Q.· ·Okay.· And so that would have been the service             23· conductor, that's what's called a bonding jumper.· Then
  24· pole.· So in this case it went from the transformer                  24· you got a ground on the other side of that transformer
  25· here, down to the service pole, and then there would                 25· which is coming up the pole was bonded to that

                                                                 Page 46                                                                 Page 48
  ·1· have been what's called a service drop; is that a                    ·1· transformer.
  ·2· correct --                                                           ·2· · · ·Q.· ·And so that ground -- both that -- that --
  ·3· · · ·A.· ·That -- that would be the one that's going to              ·3· that connection -- what was that -- what did you call
  ·4· Walt Cude's house.· That would be a service drop.                    ·4· the connection there, a --
  ·5· · · ·Q.· ·Okay.· And so where -- where -- in this                    ·5· · · ·A.· ·Bonding -- bonding jumper.
  ·6· picture, where would Mr. Cude's been -- house have been ·6· · · ·Q.· ·A bonding jumper, okay.· And that -- that --
  ·7· in Exhibit 19?                                                       ·7· that's an important piece of -- of the system as well?
  ·8· · · ·A.· ·It would have been to the left of this pole                ·8· · · ·A.· ·Yes.
  ·9· with this transformer, back down below that.                         ·9· · · ·Q.· ·Okay.· And all these -- all these pieces have
  10· · · ·Q.· ·And I think there's a -- it looks like there's             10· to work together; otherwise, you have a -- you can end
  11· a bit of a foundation or something behind that --                    11· up with a fault in the system and --
  12· · · ·A.· ·That's what's left of it.                                  12· · · ·A.· ·You can.
  13· · · ·Q.· ·(Intelligible) would have been?                            13· · · ·Q.· ·All right.· I want to go back to Exhibit 19
  14· · · · · · · · ·THE REPORTER:· You cut out.· What was                 14· real quick.· And if you can, explain to the jury.· I'm
  15· your question?                                                       15· going to -- I want to zoom in on the bottom of the
  16· · · ·Q.· ·(BY MR. SWALLOW)· Okay.· I'm looking off to                16· picture here a little bit.· And down here at the
  17· the left side of the picture, Mr. Winkfein.· It looks                17· bottom -- let me move this out of the way.· There -- you
  18· like there's a foundation or a pad down there to the                 18· can see these three wires.· They connect.· One
  19· left behind that tree.· Is that where Mr. Cude's                     19· connects -- you said there's the two hots, right, and
  20· residence was prior -- previously located?                           20· then there's that middle -- middle wire.· What does that
  21· · · ·A.· ·Correct.                                                   21· connect to there?
  22· · · ·Q.· ·Is there -- and -- and you can't see it real               22· · · ·A.· ·That's going to a grounding conductor --
  23· well in this picture, but is there a -- well, forget                 23· grounded conductor.· That's a neutral wire rather.
  24· about that for now.· Okay.                                           24· · · ·Q.· ·The neutral wire.· Can you explain to the jury
  25· · · · · · · · ·Going back to the transformer here, I                 25· what that does or where that goes?

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  ·1· · · ·A.· ·That goes back to that pole and goes into Walt               ·1· photograph here -- I know you didn't take the
  ·2· Cude's home.                                                           ·2· photograph, you weren't able to get up on the pole.· But
  ·3· · · ·Q.· ·Okay.· Did that play -- in your opinion, did                 ·3· do you believe this fairly and accurately represents the
  ·4· that play a part in -- in -- in the -- the accident, the               ·4· condition of the equipment at --
  ·5· incident, the fire?                                                    ·5· · · ·A.· ·Yeah.
  ·6· · · ·A.· ·That could've had a part of it, but the main                 ·6· · · ·Q.· ·Okay.· And how about the same goes for -- let
  ·7· cause was the triplex feeding from that power pole going ·7· me -- let me go back to -- this -- that was Exhibit 19.
  ·8· into Walt Cude's house.· That's where it actually                      ·8· Let me see if I can put up -- well, Exhibit 20.· Same
  ·9· started.                                                               ·9· question for Exhibit 20:· Do you believe that fairly and
  10· · · ·Q.· ·Okay.· And we'll get to the triplex.                         10· accurately represents the condition of the equipment at
  11· · · · · · · · ·Is -- is -- it -- if that ground -- did                 11· Walt Cude's house?
  12· you call it grounding conductor, the -- the neutral                    12· · · ·A.· ·Yes.
  13· wire?                                                                  13· · · ·Q.· ·Okay.· And I don't know if I asked you, but
  14· · · ·A.· ·That was a grounded conductor.                               14· Exhibit 20, is that -- is that the transformer that's
  15· · · ·Q.· ·Grounded.                                                    15· located at Walt -- Walton Cude's residence or former
  16· · · ·A.· ·Grounding conductor is a ground that goes down 16· residence on Vista Lane?
  17· to ground to your ground rod.                                          17· · · ·A.· ·Yes.
  18· · · ·Q.· ·Okay.· If the system's grounding conductor had               18· · · ·Q.· ·I want to go back to Exhibit 18.· As part of
  19· not been there or had been defective, would the grounded               19· your investigation, did you also look at the ground wire
  20· conductor have protected the -- by itself, protected the               20· on the transformer pole?
  21· residence by itself?                                                   21· · · ·A.· ·Yes.· It looked like it was all corroded up.
  22· · · ·A.· ·No.                                                          22· It was the wrong size --
  23· · · ·Q.· ·So you need both of those systems to work                    23· · · ·Q.· ·Okay.
  24· together?                                                              24· · · ·A.· ·-- conductor.
  25· · · ·A.· ·Yes.                                                         25· · · ·Q.· ·Can you tell the jury, is this -- is the

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  ·1· · · ·Q.· ·And why is that?                                             ·1· ground wire on Walton Cude's transformer pole?
  ·2· · · ·A.· ·Your grounding conductor is a return. A                      ·2· · · ·A.· ·Yes.
  ·3· grounded conductor takes any kind of fault to ground.                  ·3· · · ·Q.· ·Okay.· And -- and do you believe this
  ·4· Do you have any fault -- say, for instance, in your                    ·4· photograph, Exhibit 18, does that fairly and accurately
  ·5· house, you have a -- a coffeemaker.                                    ·5· represent the condition of the ground wire as it exists?
  ·6· · · ·Q.· ·Yes, sir.                                                    ·6· · · ·A.· ·Yes.
  ·7· · · ·A.· ·When that malfunctions, well, that's gone to a               ·7· · · ·Q.· ·Okay.· How about at the time of the incident?
  ·8· breaker inside your panel box.· When it malfunctions,                  ·8· Do you -- had you observed the ground wire at the -- at
  ·9· that goes to ground.· It takes it back to the -- to                    ·9· the time of the incident or shortly thereafter?
  10· ground outside and it also trips the breaker where there 10· · · ·A.· ·It was after.
  11· would be no more power going to that item.                             11· · · ·Q.· ·And how -- how long after?
  12· · · ·Q.· ·So if -- if -- if both of those -- if one of                 12· · · ·A.· ·It was probably a few days after the fire was
  13· those systems wasn't working, that -- that could have at               13· already out and we started looking around and we come
  14· least contributed or caused the -- the incident, the                   14· across that.
  15· fire, in your opinion.                                                 15· · · ·Q.· ·Okay.· But you believe that the photograph at
  16· · · ·A.· ·Yes.                                                         16· least -- does it -- does it accurately, fairly and
  17· · · ·Q.· ·Okay.· And I want to pull up real quickly --                 17· accurately represent the condition of the ground wire at
  18· this is going to be Exhibit 18.· And you know what?                    18· the time of the fire or shortly thereafter?
  19· Before I do that, hold on one second.                                  19· · · ·A.· ·Yes, it was there.
  20· · · · · · · · ·You're familiar with -- I think I asked                 20· · · ·Q.· ·And this is -- and I brought -- I wanted to
  21· you this before, but you're familiar with Walton -- Walt               21· bring this up right now.· And we'll get back to -- we'll
  22· Cude's residence there, the former residence at Vista                  22· get back to -- to talking about the -- the fire a little
  23· Lane, correct?                                                         23· bit later.· But this is the grounding or grounded
  24· · · ·A.· ·Correct.                                                     24· conductor?· This is -- can you select --
  25· · · ·Q.· ·Do -- do you believe this -- this -- this                    25· · · ·A.· ·This is the grounding conductor.


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  ·1· · · ·Q.· ·Okay.· So this is another -- this is that                  ·1· · · · · · · · ·MR. SWALLOW:· About five minutes, yeah.
  ·2· second ground or second -- second part of the system                 ·2· · · · · · · · ·THE VIDEOGRAPHER:· Okay.· The time is
  ·3· that's -- that's important?                                          ·3· 11:10 a.m. and we are now off the record.
  ·4· · · ·A.· ·Correct.                                                   ·4· · · · · · · · ·(Break from 11:10 to 11:20 a.m.)
  ·5· · · ·Q.· ·Okay.· And while we're here, you mentioned                 ·5· · · · · · · · ·THE VIDEOGRAPHER:· The time is 11:20 a.m.
  ·6· it's corroded.· Anything else about the -- the ground                ·6· We are now on the record.
  ·7· wire that -- that you -- you thought was a problem?                  ·7· · · ·Q.· ·(BY MR. SWALLOW)· Mr. Winkfein, we were
  ·8· · · ·A.· ·Well, it should have been a number 4 wire,                 ·8· looking at some pictures of transformers and we were
  ·9· actually.· Here's the difference.· Here's a number 8                 ·9· talking about the -- the electrical transmission system
  10· wire and this is a number 4 gauge wire.· AEP requires to 10· for the -- for the Arrowhead neighborhood or for -- for
  11· have a number 4 gauge wire at a residence, but yet they              11· a, you know, residential neighborhood in general.
  12· not -- they don't use a number 4 gauge wire on theirs.               12· Who -- who is responsible for maintaining the electrical
  13· · · ·Q.· ·Okay.                                                      13· system?
  14· · · ·A.· ·Can you tell the difference in the sizes?                  14· · · ·A.· ·AEP.
  15· · · ·Q.· ·Can you hold that up to the camera so the jury             15· · · ·Q.· ·And is that -- in this case, who is AEP?
  16· can see that?· A little bit higher, Mr. Winkfein.· There             16· · · ·A.· ·American Electric.
  17· you go.· Okay.                                                       17· · · ·Q.· ·Are they -- yeah.· And are they -- are they --
  18· · · · · · · · ·What's the -- what's the difference                   18· are they what's referred to as the service provider or
  19· between a 4 -- those are a 4 and an 8?                               19· what --
  20· · · ·A.· ·Yes.                                                       20· · · ·A.· ·Well, you can use different providers.· You
  21· · · ·Q.· ·Okay.· And so which one was required? A                    21· can use AEP as your provider, you can use TXU as a
  22· little bit higher if you can.· Which one was required to             22· provider, but the one that maintains the lines is AEP.
  23· be on the pole?                                                      23· · · ·Q.· ·AEP is the -- the company that maintains the
  24· · · ·A.· ·It should have been a number 4 which is this               24· lines at the Arrowhead subdivision?
  25· one.                                                                 25· · · ·A.· ·Correct.

                                                                 Page 54                                                                  Page 56
  ·1· · · ·Q.· ·Okay.· And I'm just eyeballing it here, but it             ·1· · · ·Q.· ·And AEP is the company responsible for -- that
  ·2· looks like a number 8 is about half the size of a number             ·2· was responsible for maintaining the lines on Vista
  ·3· 4?                                                                   ·3· Lane --
  ·4· · · ·A.· ·Pretty much.                                               ·4· · · ·A.· ·Yes.
  ·5· · · ·Q.· ·Okay.· And so the -- the wire that was on                  ·5· · · ·Q.· ·-- at Walton Cude's residence?
  ·6· the -- on the AEP transformer pole, the one that you                 ·6· · · ·A.· ·Correct.
  ·7· observed following the fire, following the incident,                 ·7· · · ·Q.· ·Okay.· Now, y'all -- you live in the Arrowhead
  ·8· it --                                                                ·8· subdivision.· I understand that you -- you recently took
  ·9· · · ·A.· ·It looked like this gauge right here.                      ·9· a tour around the subdivision, looked at some of the
  10· · · ·Q.· ·A number 4 -- 4 gauge.· Okay.· And in your                 10· installations there, some of the maintenance by AEP; is
  11· opinion, that's inadequate.                                          11· that correct?
  12· · · ·A.· ·That's inadequate.                                         12· · · ·A.· ·Correct.
  13· · · ·Q.· ·Okay.· Any -- any other problems with that --              13· · · ·Q.· ·Okay.· I just want to talk about that a little
  14· with the ground wire?· It looks it -- like it's                      14· bit, if you don't mind.· I'm going to pop up on the
  15· corroded.· You mentioned corrosion, it's too small.                  15· screen here.· It's been labeled Exhibit 3.· And is
  16· Anything else?· It looks like it's almost caked there.               16· this -- is this a picture that you took?
  17· Do you see that?                                                     17· · · ·A.· ·I don't take pictures.· Walt -- Walt -- Walt
  18· · · ·A.· ·I have seen it.· That's not good either.                   18· took the pictures.
  19· · · ·Q.· ·Okay.                                                      19· · · ·Q.· ·I understand.· Is this a picture that Walt
  20· · · · · · · · ·MR. SWALLOW:· Okay.· I think if y'all                 20· took, then?
  21· don't mind, can we take a quick break and we'll continue 21· · · ·A.· ·Yes.
  22· our -- our questioning, if you give me about five                    22· · · ·Q.· ·Okay.· And were you with Walt when he took
  23· minutes?· Does that work for everybody?                              23· this picture?
  24· · · · · · · · ·THE WITNESS:· Sounds good to me.                      24· · · ·A.· ·Yes.
  25· · · · · · · · ·MR. SCHAUER:· Five minutes?· Okay.                    25· · · ·Q.· ·Okay.· And why did y'all take this picture?

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  ·1· What -- what were y'all trying to show here?                        ·1· this.· And let me see if I can find a picture of a
  ·2· · · ·A.· ·What we were trying to get at is how AEP does             ·2· transformer with a cutout.· Here is another transformer.
  ·3· not maintain their equipment.                                       ·3· · · · · · · · ·This is Exhibit 4.· Is this another one
  ·4· · · ·Q.· ·Okay.· And is this what -- this is a -- a                 ·4· of the pictures you took?
  ·5· piece of AEP equipment here in Exhibit 3?                           ·5· · · ·A.· ·Walt Cude took this picture.
  ·6· · · ·A.· ·Yes.                                                      ·6· · · ·Q.· ·Okay, sorry.· Thank you.· Is this another of
  ·7· · · ·Q.· ·Is this -- where is this located?                         ·7· the pictures that Walt took --
  ·8· · · ·A.· ·It's on Vista Drive.· There's a lot of Vistas             ·8· · · ·A.· ·Yes.
  ·9· out here.                                                           ·9· · · ·Q.· ·Okay.· And were you with Walt when he took
  10· · · ·Q.· ·Are they -- how -- how far is it from                     10· this picture?
  11· Mr. Cude's residence?                                               11· · · ·A.· ·Yes.
  12· · · ·A.· ·Probably a mile, if that much.                            12· · · ·Q.· ·Do you recall where this -- this picture was
  13· · · ·Q.· ·Okay.· This would be the same general service,            13· taken?
  14· electrical service that -- that was servicing Mr. Cude's            14· · · ·A.· ·It's around this area, within a mile radius.
  15· residence at the time of the fire?                                  15· · · ·Q.· ·All right.· And does this picture -- in this
  16· · · ·A.· ·It could have been.· You got -- like I said               16· case, does the transformer here have a cutout?
  17· before, you've got branch circuits like in that panel               17· · · ·A.· ·Yes, it does.
  18· box.                                                                18· · · ·Q.· ·Okay.· For the cutout to function, does each
  19· · · ·Q.· ·Uh-huh.                                                   19· individual residence have to have a cutout?
  20· · · ·A.· ·Out of those substations, it's branched off to            20· · · ·A.· ·Yes.
  21· different areas.· Because you can only use one wire for 21· · · ·Q.· ·All right.· Go ahead.
  22· so many transformers.· Then you've got to use another 22· · · ·A.· ·On these transformers, they should all have
  23· line.· I don't know if this is the particular line                  23· cutouts on them.
  24· feeding into Walt Cude's house or -- or not.                        24· · · ·Q.· ·Okay.· Does this fairly -- does this
  25· · · ·Q.· ·Okay.· And generally, though, you think this              25· photograph, Exhibit 4, fairly and accurately represent

                                                                Page 58                                                                Page 60
  ·1· fairly and accurately represents the -- you know, the               ·1· the condition of the -- the transformer and the -- the
  ·2· condition of this transformer at least at the present               ·2· power lines here that -- that y'all observed?
  ·3· time?                                                               ·3· · · ·A.· ·We observed those -- that particular
  ·4· · · ·A.· ·Yes.                                                      ·4· transformer here is -- I'd say today it's all rusted
  ·5· · · ·Q.· ·Okay.· How about at the time of the fire? I               ·5· with no rim.· It should be replaced.· That pole needs to
  ·6· mean, is generally -- is the condition electrical                   ·6· be replaced, too.· It looks like it's rotten also.
  ·7· system, the grid system in the Arrowhead subdivision,               ·7· · · ·Q.· ·And here -- here -- this is Exhibit 5.· This
  ·8· generally about the same as it was at the time of the               ·8· is another -- is this another one of the pictures that
  ·9· fire?                                                               ·9· you and Mr. Cude took?
  10· · · ·A.· ·It's still the same.                                      10· · · ·A.· ·Yes.
  11· · · ·Q.· ·Okay.· And I have another question for you. I             11· · · ·Q.· ·On -- in this case, does this fairly and
  12· remember there was -- in AEP, in some of its discovery              12· accurately represent what y'all observed?
  13· responses, they talked about a -- a cutout that was at              13· · · ·A.· ·Yes.
  14· Buffalo Street.· Did y'all do any investigation on that?            14· · · ·Q.· ·Okay.· And in this case, there's no -- am I
  15· · · ·A.· ·Some of the houses had cutouts, but some of 15· correct in stating that there's no cutout?
  16· them did not have cutouts.                                          16· · · ·A.· ·There's no cutout.
  17· · · ·Q.· ·Okay.· And at the time of the -- at the time              17· · · ·Q.· ·Okay.· Any other observations on this
  18· of the incident, was there a cutout for Mr. Cude's                  18· photograph?
  19· residence?                                                          19· · · ·A.· ·The transformer's rusted to no end.· It should
  20· · · ·A.· ·No.                                                       20· have been -- should be replaced.
  21· · · ·Q.· ·Okay.· And there wouldn't have been a cutout              21· · · ·Q.· ·Is this an active service connection?
  22· anywhere on -- that you're aware of in this subdivision             22· · · ·A.· ·Yes.
  23· that would have cut out the power to his residence?                 23· · · ·Q.· ·How about this one?· This -- this is Exhibit
  24· · · ·A.· ·No.                                                       24· 6.· Is this another picture y'all took in the Arrowhead
  25· · · ·Q.· ·Okay.· All right.· So if -- and let me ask you            25· subdivision?


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  ·1· · · ·A.· ·Yes.                                                       ·1· wanted to show an example of a service drop.· And is
  ·2· · · ·Q.· ·And does this fairly and accurately represent              ·2· this another picture that y'all took from -- around --
  ·3· what you observed?                                                   ·3· Exhibit 10, around the Arrowhead subdivision?
  ·4· · · ·A.· ·Yes.                                                       ·4· · · ·A.· ·Yes.
  ·5· · · ·Q.· ·Any -- any comments on this?· What were y'all              ·5· · · ·Q.· ·Okay.· You think this fairly and accurately
  ·6· trying to show with this picture?                                    ·6· represents what you observed?
  ·7· · · ·A.· ·This transformer needs to be replaced.· It is              ·7· · · ·A.· ·Yes.
  ·8· rusted, and AEP is supposed to take care of any kind of              ·8· · · ·Q.· ·Okay.· And what -- what are we looking at
  ·9· trees or bushes or anything that goes up around these                ·9· here?
  10· poles.· They're supposed to keep it clear from them, and 10· · · ·A.· ·We've got too much play in that line.· It's --
  11· they have not done that.                                             11· excuse me -- it should be a little bit tighter up to
  12· · · ·Q.· ·Okay.· And again, this -- is this -- this is               12· that pole.· It's drooping.
  13· an active service connection?                                        13· · · · · · · · ·THE REPORTER:· Excuse me.· Can you repeat
  14· · · ·A.· ·Yes.                                                       14· that answer?· "And what are we looking at here?"
  15· · · ·Q.· ·How about this one here?· Is this -- is this               15· · · ·A.· ·We're looking at triplex coming from AEP's
  16· another picture that you and Walt took in the                        16· pole.
  17· neighborhood?                                                        17· · · · · · · · ·THE REPORTER:· I'm sorry.· I still didn't
  18· · · ·A.· ·Yes.                                                       18· understand.· "We're looking at five?"
  19· · · ·Q.· ·Does this fairly and accurately represent what             19· · · ·A.· ·You're looking at a triplex.· That's what
  20· you observed?                                                        20· these conductors are called.· It's coming from AEP's
  21· · · ·A.· ·Yes.                                                       21· power pole and it's feeding the residence.· You've got
  22· · · ·Q.· ·And what -- what are we -- what are we looking             22· too much droop in that line; you don't need that much.
  23· at here?                                                             23· · · · · · · · ·MR. SWALLOW:· Okay.· And -- and I think
  24· · · ·A.· ·You've got another one rusted.· The whole top              24· the term, Madam -- the court reporter referenced was --
  25· of that transformer is about to come off.· And that does             25· triplex?· Is that the right way to pronounce that?

                                                                 Page 62                                                                  Page 64
  ·1· not have a cutout over that either.                                  ·1· · · ·A.· ·Yes.
  ·2· · · ·Q.· ·Okay.· And we're also missing a cutout.· Okay.             ·2· · · ·Q.· ·And what -- what is triplex?· Is this the --
  ·3· · · · · · · · ·And this is Exhibit 7.· I got a -- I                  ·3· what you're talking about is the wire kind of in the
  ·4· think this -- Exhibit 8, is this the same as Exhibit 7,              ·4· middle of the picture here; is that what we're looking
  ·5· same -- same transformer, I mean?                                    ·5· at?
  ·6· · · ·A.· ·Yes.                                                       ·6· · · ·A.· ·Yeah, correct.
  ·7· · · ·Q.· ·Okay.· Just a close-up of it.· How about this              ·7· · · ·Q.· ·Okay.· And can you explain for the jury what
  ·8· one, is this -- this is Exhibit 9.· Is this the same                 ·8· triplex is?
  ·9· transformer as Exhibit 7 and 8?                                      ·9· · · ·A.· ·It's three conductors.· You've got two
  10· · · ·A.· ·I think this is a different transformer.                   10· insulated, which are your power conductors.· The third
  11· · · ·Q.· ·This is a different one?· Okay.· And does this             11· one is the noninsulated conductor, which is your
  12· fairly and accurately represent what y'all observed out              12· grounded conductor.
  13· there?                                                               13· · · ·Q.· ·Okay.· And this is the same -- same sort of
  14· · · ·A.· ·Correct.                                                   14· connection that -- that Walton -- that Walt Cude would
  15· · · ·Q.· ·And this is -- this is located also in the --              15· have had at his house over on Vista Lane?
  16· in the Arrowhead subdivision?                                        16· · · ·A.· ·Yes.
  17· · · ·A.· ·Correct.                                                   17· · · ·Q.· ·Okay.· Do you know where this was taken?
  18· · · ·Q.· ·And on -- is this -- is this another active                18· · · ·A.· ·It was just around our area.
  19· service connection?                                                  19· · · ·Q.· ·All right.· Was it in the Vista -- or the
  20· · · ·A.· ·Correct.                                                   20· Arrowhead subdivision, though?
  21· · · ·Q.· ·Now, before we talked a little bit -- this                 21· · · ·A.· ·Yes.
  22· is -- I pulled up here Exhibit 10.· Before we talked a               22· · · ·Q.· ·This one does not appear to have an exhibit
  23· little bit about a service drop and I didn't want to                 23· number on it.· I believe this is -- hold on a second.
  24· show the jury -- since we weren't able to see the -- the             24· There we go.· That one does.· Exhibit 11.· Is this
  25· service drop for Walt's house because it's burnt down, I 25· another one of the pictures y'all took out by the

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  ·1· Arrowhead subdivision?                                            ·1· · · · · · · · ·MR. SWALLOW:· I can do that, yes.· Yeah,
  ·2· · · ·A.· ·Correct.                                                ·2· I'd be happy to do that.· Yeah.
  ·3· · · ·Q.· ·Okay.· Do you remember where this was located?          ·3· · · · · · · · ·THE REPORTER:· Okay, great.
  ·4· · · ·A.· ·Just around this area.                                  ·4· · · · · · · · ·MR. SWALLOW:· I don't have to say it like
  ·5· · · ·Q.· ·Okay.· Somewhere near -- near Mr. Cude's                ·5· that, but, yeah, I can make that happen.· Sure.· Let
  ·6· house, though?                                                    ·6· me -- let me hit save real quick.· Okay.· I can do that.
  ·7· · · ·A.· ·Correct.                                                ·7· · · · · · · · ·THE REPORTER:· Okay.
  ·8· · · ·Q.· ·And what are we -- what did we observe here?            ·8· · · ·Q.· ·(BY MR. SWALLOW)· I've got a couple more and
  ·9· What did you observe?· Why did y'all take this picture?           ·9· then -- and then we'll move on here, Mr. Winkfein. I
  10· · · ·A.· ·Well, the -- the braces for the line                    10· appreciate your patience, but is this another one of the
  11· conductors, those are all rotten.· The supports for it's 11· pictures y'all -- y'all took?
  12· all rotten.· That pole is rotten.· It's about to fall             12· · · ·A.· ·Yes.
  13· down.                                                             13· · · ·Q.· ·And -- and do you remember where this one is
  14· · · ·Q.· ·Okay.· There's actually some cutouts on this            14· located?
  15· pole, right?                                                      15· · · ·A.· ·Just around this area.
  16· · · ·A.· ·We had to cut -- we had to cut the power off            16· · · ·Q.· ·And this -- this one is Exhibit 12.· What were
  17· of that main line.                                                17· you trying to show here?
  18· · · ·Q.· ·Those are actually cutouts for the main line,           18· · · ·A.· ·They're not -- AEP's not taking care of the
  19· then.                                                             19· conductors correctly.· There should be no kind of growth
  20· · · ·A.· ·Yes.                                                    20· whatsoever on these lines.
  21· · · ·Q.· ·Okay.· Do you know -- do you know if there was          21· · · ·Q.· ·And this -- this fairly and accurately
  22· any cutouts on the main line to Walt -- Walt Cude's               22· represents what y'all observed when -- the power lines?
  23· residence at the fire?                                            23· · · ·A.· ·Yes.
  24· · · ·A.· ·I did not see none.                                     24· · · ·Q.· ·I believe this is Exhibit 13.· Can you tell us
  25· · · ·Q.· ·Okay.· So this would be another way, if there           25· what we're looking at here?

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  ·1· was a fault in the system, that they could cut the                ·1· · · ·A.· ·You're looking at the insulation on your
  ·2· power?                                                            ·2· conductors are falling off.· They're exposed.· They
  ·3· · · ·A.· ·Yes.                                                    ·3· should not be exposed.· Those conductors there should be
  ·4· · · ·Q.· ·And the -- the -- for the jury here, the                ·4· replaced.
  ·5· cutouts are these --                                              ·5· · · ·Q.· ·Okay.· And so y'all had --
  ·6· · · · · · · · ·MR. SWALLOW:· Can I -- can I highlight on          ·6· · · ·A.· ·That's a hazard.
  ·7· this, if I highlighted on this?· Madam Court Reporter,            ·7· · · ·Q.· ·And so you're looking -- we talked about
  ·8· if I highlight on this, is that okay?                             ·8· insulation a little bit earlier.· For the jury, the --
  ·9· · · · · · · · ·THE REPORTER:· Yes.                                ·9· the -- you're talking about on the black wires, you can
  10· · · ·Q.· ·(BY MR. SWALLOW)· I'm going to draw three -- 10· see some cracking?
  11· just -- just -- maybe just one is enough.· But do you             11· · · ·A.· ·Yeah.
  12· see where I just drew a -- a circle around there?                 12· · · ·Q.· ·Okay.· I can zoom in a little bit there.· Is
  13· · · ·A.· ·Yes.                                                    13· that -- is that what you're referring to?
  14· · · ·Q.· ·Is that the cutout?                                     14· · · ·A.· ·Yes.
  15· · · ·A.· ·Yes.                                                    15· · · ·Q.· ·Okay.· And -- and this -- did you and Mr. Cude
  16· · · ·Q.· ·And there's -- there's another one up here?             16· take this picture recently?
  17· · · ·A.· ·Right.                                                  17· · · ·A.· ·Yes.
  18· · · ·Q.· ·Okay.· And then there's another one here.· All          18· · · ·Q.· ·And this is Exhibit 13, and does that fairly
  19· right.                                                            19· and accurately represent what you observed?
  20· · · · · · · · ·Real quick, does this fairly and                   20· · · ·A.· ·Yes.
  21· accurately represent what y'all observed?                         21· · · ·Q.· ·Okay.· This is Exhibit 14 I've pulled up for
  22· · · ·A.· ·Yes.                                                    22· you.· Is this another one of the pictures y'all took?
  23· · · ·Q.· ·And that...                                             23· · · ·A.· ·Yes.
  24· · · · · · · · ·THE REPORTER:· All right.· Are you going           24· · · ·Q.· ·And is this of the Arrowhead subdivision?
  25· to send that to me now with the circles on it?                    25· · · ·A.· ·Yes.


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  ·1· · · ·Q.· ·And what are we looking at here?                           ·1· · · ·Q.· ·In fact, who's responsible for inspecting the
  ·2· · · ·A.· ·A burnt pole.                                              ·2· electrical boxes and electrical --
  ·3· · · ·Q.· ·Okay.· Any idea what might have caused that?               ·3· · · ·A.· ·Well, I inspected this myself.· Well, I
  ·4· · · ·A.· ·Power line would be more my guess.                         ·4· installed it myself.· As far as having an official come
  ·5· · · ·Q.· ·Okay.· And, again, this is -- this is near --              ·5· out here, there is no electrical inspector that comes
  ·6· how far do you think this is from Mr. Cude's former                  ·6· out to this area.· Corpus Christi has got electrical
  ·7· residence on Vista Lane?                                             ·7· inspectors.· George West has got electrical inspectors.
  ·8· · · ·A.· ·It's within a mile radius.                                 ·8· Jim Wells in town has got their electrical inspectors.
  ·9· · · ·Q.· ·Okay.· Does this fairly and accurately                     ·9· They do not have one out here.
  10· represent the power pole -- the conditions that you                  10· · · ·Q.· ·Okay.· So there's no requirement that you call
  11· observed?                                                            11· the city or the county to come out and inspect this when
  12· · · ·A.· ·Yes.                                                       12· you did the installation?
  13· · · ·Q.· ·I want to go back real quick to Exhibit 2,                 13· · · ·A.· ·Right.
  14· which was the -- the power box.· Can you see that on                 14· · · ·Q.· ·There's no requirement of a permit?
  15· your screen?                                                         15· · · ·A.· ·No.
  16· · · ·A.· ·Yes.                                                       16· · · ·Q.· ·Is the master electrician who does the
  17· · · ·Q.· ·Okay.· I didn't ask this before.· Does this                17· installation actually the person who's supposed to
  18· fairly and accurately represent -- I think I did ask                 18· inspect it?· Is that correct?
  19· what the condition of the -- the power box at the                    19· · · ·A.· ·That's correct.
  20· time -- I guess back in 2011 when you completed the                  20· · · ·Q.· ·And who was that?
  21· installation; is that correct?                                       21· · · ·A.· ·Me, myself.
  22· · · ·A.· ·Correct.                                                   22· · · ·Q.· ·So as far as you're concerned, you complied
  23· · · ·Q.· ·Okay.· Did -- did you -- and we were talking               23· when you did the installation, when you did the
  24· about the Arrowhead subdivision recently.· And can you 24· upgrades?
  25· describe -- is Arrowhead a fairly rural area?· What -- 25· · · ·A.· ·It's up to NEC standards, National Electric

                                                                 Page 70                                                                 Page 72
  ·1· · · ·A.· ·It's a rural area.                                         ·1· Code.
  ·2· · · ·Q.· ·Okay.· And you mentioned earlier that -- that              ·2· · · ·Q.· ·How about the county, county rules and
  ·3· y'all live in Sandia.· Do you actually live in Sandia or             ·3· regulations?
  ·4· outside of Sandia?                                                   ·4· · · ·A.· ·It's correct; it's up to their standards and
  ·5· · · ·A.· ·Well, that -- that's a weird setup there.· We              ·5· AEP standards.
  ·6· live in Live Oak County, but we've got a Jim Wells zip               ·6· · · ·Q.· ·Okay.· Thank you.
  ·7· code.· That don't make sense, but that's how it's set up             ·7· · · · · · · · ·I want to go back real quick.· We were
  ·8· out here.· We've got a Sandia in Jim Wells County and                ·8· talking about the Arrowhead subdivision.· It's kind of a
  ·9· then they call this out here Sandia also.                            ·9· rural area?
  10· · · ·Q.· ·Okay.· And is the Arrowhead subdivision                    10· · · ·A.· ·Right.
  11· actually an unincorporated area or an unincorporated                 11· · · ·Q.· ·Okay.· How would you compare it, you know,
  12· subdivision?                                                         12· to -- or -- or what is your opinion regarding the state
  13· · · ·A.· ·It's unincorporated.                                       13· of the electrical system in the Arrowhead subdivision at
  14· · · ·Q.· ·It is?                                                     14· the time of the incident -- incident?
  15· · · ·A.· ·It's not -- it's unincorporated.                           15· · · ·A.· ·Arrowhead's -- this area out here, it's rural
  16· · · ·Q.· ·Unincorporated, right.· And what does that                 16· and they don't maintain their equipment.· You go into
  17· mean?· Can you explain for the jury what that means?                 17· Corpus Christi and they maintain their equipment.
  18· · · ·A.· ·Well, there's no inspections to speak of.· The             18· · · ·Q.· ·Okay.· And so in comparing it to Corpus
  19· only inspections that actually comes out to this area is 19· Christi or other -- other subdivisions, what -- what --
  20· the health department.                                               20· what are your thoughts on that?
  21· · · ·Q.· ·Okay.· And so when you installed the -- the --             21· · · ·A.· ·We'd be a 1; Corpus Christi would be a 10.
  22· the power box, the service at Walt Cude's house back in              22· · · ·Q.· ·And what -- what you're saying is it's just
  23· 2011, did you need to get a permit from anybody to do                23· not as well maintained?
  24· that?                                                                24· · · ·A.· ·Correct.
  25· · · ·A.· ·No.· There was no inspection out here.                     25· · · ·Q.· ·Bill, I want to talk a little bit about the


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  ·1· investigation you did after the fire, and in particular,             ·1· look at here?
  ·2· for this case.· Can you -- can you tell the jury a                   ·2· · · ·A.· ·It was burnt in half, which it originated out
  ·3· little bit about how you went about investigating?                   ·3· in the middle of Walt Cude's residence, and that's all
  ·4· · · ·A.· ·I looked at the area around Walt Cude's house.             ·4· that was left of it at the time.· But a few days later
  ·5· I found a bunch of melted triplex on his driveway.· And              ·5· on that -- that particular -- that triplex, what's left
  ·6· he had a bend over on his weatherhead.· It used to have ·6· of it came up missing.· I don't know what happened to
  ·7· a triplex which was attached to it, and it was burnt in              ·7· it.
  ·8· half and later on it come up missing.· I don't know                  ·8· · · ·Q.· ·Okay.· And are you talking about the black
  ·9· where it went, have no idea about that.                              ·9· stuff here in --
  10· · · ·Q.· ·Okay.· I'm going to pull up what's been marked             10· · · ·A.· ·Right.
  11· as Exhibit 15 here.· Can you see that on your screen?                11· · · ·Q.· ·Okay.· And what -- you observed that -- you
  12· Are you able to see Exhibit 15 there, Bill?                          12· said you observed and it was -- what -- what was the
  13· · · ·A.· ·I -- I see it, yes.                                        13· term you used?
  14· · · ·Q.· ·Okay.· All right.· Is this Mr. Cude's                      14· · · ·A.· ·It was burnt in half.· It was just hanging
  15· residence at 1110 Vista 10 Lane after the fire?                      15· there.· And it was there and then it come up missing.
  16· · · ·A.· ·Correct.                                                   16· · · ·Q.· ·Uh-huh.
  17· · · ·Q.· ·Did you take this picture?                                 17· · · ·A.· ·I don't know what happened to it.· I have no
  18· · · ·A.· ·I don't take pictures.                                     18· idea.
  19· · · ·Q.· ·All right.· Do you know who took this picture?             19· · · ·Q.· ·I think you had -- you had said it was fused;
  20· · · ·A.· ·Walt Cude.                                                 20· is that correct?
  21· · · ·Q.· ·All right.· Do you belive -- does this picture             21· · · ·A.· ·The conductors was bonded together, melted
  22· fairly and accurately represent the -- you know, the                 22· together.
  23· residence after -- after the fire?                                   23· · · ·Q.· ·And you're talking -- the conductors, you're
  24· · · ·A.· ·Yes.                                                       24· talking about the triplex?
  25· · · ·Q.· ·Okay.· And you can actually -- I believe you               25· · · ·A.· ·Yes.

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  ·1· can see some -- still see some smoke in there.· Do you               ·1· · · ·Q.· ·Okay.· And so the triplex wire is the -- the
  ·2· know when this picture was taken?                                    ·2· wire that would have been -- the service drop from the
  ·3· · · ·A.· ·I think it'd be at least two or three days                 ·3· AEP pole to the residence?
  ·4· after that.· The fire department had to keep going --                ·4· · · ·A.· ·Yes.
  ·5· coming out and burning -- or putting out embers.                     ·5· · · ·Q.· ·Okay.· And you observed -- tell us what you
  ·6· · · ·Q.· ·Okay.· Were you with Walt when he took this                ·6· observed.· On the driveway, I think you said you
  ·7· picture?                                                             ·7· observed that that --
  ·8· · · ·A.· ·No.                                                        ·8· · · ·A.· ·I seen some melted aluminum.· I seen some
  ·9· · · ·Q.· ·Okay.· But would you agree that it fairly and              ·9· triplex that was melted.· I seen what was left of Walt
  10· accurately represents the condition of the -- you know,              10· Cude's truck, because the triplex coming from AEP's
  11· the residence and the scene --                                       11· transformer was still energized and it melted Walt
  12· · · ·A.· ·Yeah.                                                      12· Cude's truck down to the ground where there was nothing
  13· · · ·Q.· ·-- after -- okay -- a few days after the fire?             13· left of it.
  14· · · · · · · · ·I want to zoom in here real quick.· You               14· · · ·Q.· ·And what's the significance of the triplex
  15· were talking about the triplex and the weatherhead you 15· having been melted together?· What did -- what did that
  16· observed.· If I zoom in here, is this what you're                    16· indicate to you?
  17· talking about?                                                       17· · · ·A.· ·They told me that the fuse on the transformer
  18· · · ·A.· ·Yes.                                                       18· and the breaker, according to that nameplate on that
  19· · · ·Q.· ·Can you see that?· Okay.· Can you explain to               19· transformer, was not working correctly.
  20· the jury what we're looking at?· It looks like there's a             20· · · ·Q.· ·Okay.
  21· T post and then maybe kind of a -- a spiral staircase.               21· · · ·A.· ·There was no way to shut it down.· If it was
  22· And then to the right of that, what -- what are we --                22· fused correctly, it would have cut the power on it and
  23· what are we --                                                       23· Walt would still have his -- should have had his house
  24· · · ·A.· ·It's the triplex that was burnt.                           24· and his truck.
  25· · · ·Q.· ·Okay.· Anything in particular that we need to              25· · · ·Q.· ·And so what you're saying, the melted triplex


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  ·1· indicated to you that the transformer had not properly               ·1· the -- looked at the transformer, right, you've observed
  ·2· fused or shut off at the time of the fire.                           ·2· it?
  ·3· · · ·A.· ·Correct.                                                   ·3· · · ·A.· ·Yeah.
  ·4· · · ·Q.· ·And you mentioned -- why don't we go back to               ·4· · · ·Q.· ·At least from the ground.· I know you haven't
  ·5· it right now.· You mentioned a -- a plate?                           ·5· climbed up there.
  ·6· · · ·A.· ·There was a nameplate on that particular                   ·6· · · ·A.· ·Yes.
  ·7· transformer.· It's got details.· Where it's got a fuse               ·7· · · ·Q.· ·But based on what you observed and what this
  ·8· at the line side of that transformer, that's the power               ·8· plate says, I mean, do you -- do you agree that this
  ·9· coming in, that's got a breaker on the secondary side. ·9· is -- this is the transformer -- or that this -- this
  10· · · · · · · · ·And I -- I just pulled up on your screen              10· plate accurately describes the transformer?
  11· what's labeled Exhibit 21.· Do you see that,                         11· · · ·A.· ·Yes.
  12· Mr. Winkfein?                                                        12· · · ·Q.· ·Okay.· And -- and what -- tell us a little bit
  13· · · ·A.· ·I don't see that.                                          13· about the transformer.· What -- what other information
  14· · · ·Q.· ·Can you -- can you take a look at your                     14· were you able to obtain from this plate?
  15· computer screen?                                                     15· · · ·A.· ·There's two different plates.· You got --
  16· · · ·A.· ·I just see lunch meeting or something.                     16· well, there's -- there's one up there where it says
  17· · · ·Q.· ·Okay.· Hold on a second.                                   17· serial number.· First two numbers tells you when that
  18· · · · · · · · ·MR. SWALLOW:· You guys want to take a                 18· particular transformer was manufactured.· This is '64.
  19· break real quick to make sure we get this -- let me --               19· There you go.· That's when that was manufactured.
  20· let me try sharing again.                                            20· · · ·Q.· ·So this -- this -- this transformer was
  21· · · · · · · · ·Madam Court Reporter, what are you                    21· manufactured in 1964?
  22· seeing?                                                              22· · · ·A.· ·According to that, that's exactly what
  23· · · · · · · · ·THE REPORTER:· Nothing yet.                           23· happened.
  24· · · · · · · · ·THE WITNESS:· There it is.· There it is.              24· · · ·Q.· ·Okay.· And anything else on this?
  25· · · · · · · · ·MR. SWALLOW:· Okay.· That may have been               25· · · ·A.· ·It was made in Athens, Georgia.

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  ·1· Walt's.· Is that -- do y'all have a picture of Exhibit               ·1· · · ·Q.· ·Okay.· Fair enough.
  ·2· 21, then?                                                            ·2· · · · · · · · ·Now, based on -- okay.· Based on --
  ·3· · · · · · · · ·THE REPORTER:· Yes.                                   ·3· looking at the information on here, did you believe that
  ·4· · · ·Q.· ·(BY MR. SWALLOW)· Okay.· And Bill, are you                 ·4· the -- or do you believe -- is it your opinion that the
  ·5· able to see Exhibit 21?                                              ·5· transformer was hooked up correctly?
  ·6· · · ·A.· ·I can see it, but it needs to come -- there                ·6· · · ·A.· ·It was hooked up correctly, but that
  ·7· you go.· Just -- see at the bottom right-hand corner of              ·7· particular transformer didn't work correctly.
  ·8· that plate, it gives you a diagram how that transformer              ·8· · · ·Q.· ·Okay.· What's that based on?
  ·9· is supposed to work.· On the top of that it's showing a              ·9· · · ·A.· ·The diagram on that nameplate.
  10· fuse.· At the bottom of that circle it's showing a                   10· · · ·Q.· ·Okay.· And you're talking about the diagram
  11· breaker.· They did not work in this particular instance. 11· down here in the corner?
  12· · · ·Q.· ·Okay.· So this is the plate on Exhibit 1 that              12· · · ·A.· ·Yes.
  13· you're talking about?                                                13· · · ·Q.· ·And I'm going to try to zoom in on that.· And
  14· · · · · · · · ·Now, you weren't able to -- to actually               14· -- okay, so this is Exhibit 21 and there's a diagram --
  15· climb up on the pole and observe it.                                 15· · · ·A.· ·It says HVB, so that means high voltage beams.
  16· · · ·A.· ·No.· No, I'm too old for that.                             16· · · ·Q.· ·Okay.
  17· · · ·Q.· ·All right.· This is something that was                     17· · · ·A.· ·That's on your line side.
  18· provided to you.· Do you understand this -- where --                 18· · · ·Q.· ·Okay.
  19· where is this plate located, for the jury?                           19· · · ·A.· ·The bottom side, it says breaker.· That's down
  20· · · ·A.· ·It's on the transformer.                                   20· at the bottom.· That's your secondary side.
  21· · · ·Q.· ·Okay.· And -- and do you -- I mean, any reason             21· · · ·Q.· ·Okay.· And so where -- where -- explain that
  22· -- it's your understanding that this is the plate on the             22· to us a little bit.· Explain that to the jury -- I -- so
  23· AEP transformer?                                                     23· they -- they can understand.
  24· · · ·A.· ·Yes.· Walt took this picture.                              24· · · ·A.· ·You've got your main line, your power line,
  25· · · ·Q.· ·Okay.· And based on -- now, you've looked at               25· coming in on your high voltage.· It's got an insulator


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  ·1· on the outside of that transformer, and it's feeding                  ·1· · · ·A.· ·Where your little arrow you got up there.
  ·2· into that transformer.· It's got an internal fuse and                 ·2· · · ·Q.· ·Okay.· What am I -- that may be Walt -- that
  ·3· it's got an internal breaker.· Neither one of them                    ·3· may be on Walt -- Mr. Cude's screen.· I'm sorry.· That
  ·4· worked.                                                               ·4· may be on your screen.· Are you talking about right down
  ·5· · · ·Q.· ·And -- and what -- what are you basing that                 ·5· in here?
  ·6· on?                                                                   ·6· · · ·A.· ·Yes.
  ·7· · · ·A.· ·You got a constant power.                                   ·7· · · ·Q.· ·Okay.· The part I'm zooming in on here is the
  ·8· · · ·Q.· ·Okay.                                                       ·8· -- so that little kind of puddle of metal almost,
  ·9· · · ·A.· ·It did not shut off.                                        ·9· that's -- that's melted triplex?
  10· · · ·Q.· ·And because of the -- the fused triplex,                    10· · · ·A.· ·Yes.
  11· that's why you believe there was constant power?                      11· · · ·Q.· ·What you're saying, you wouldn't observe that
  12· · · ·A.· ·Yes.                                                        12· before a fault in the transformer?
  13· · · ·Q.· ·Okay.                                                       13· · · ·A.· ·I seen it when it was laying on his driveway.
  14· · · ·A.· ·That's -- the transformer is not designed to                14· · · ·Q.· ·And so this is similar to what -- you observed
  15· lighten this electrical service at Walt Cude's house,                 15· more of this in the driveway.
  16· it's not designed for that either [sic].                              16· · · ·A.· ·Yes.
  17· · · ·Q.· ·And if -- if I can summarize a little bit, if               17· · · ·Q.· ·Can you describe to us a little bit what --
  18· this transformer had been functioning correctly, you                  18· what you -- what you observed in the driveway?
  19· would not have seen melted triplex in the driveway; is                19· · · ·A.· ·Pretty much what you're looking at there.
  20· that -- is that basically --                                          20· It's all melted insulation on those conductors and some
  21· · · ·A.· ·That's correct, and you wouldn't have seen a 21· conductors with no more insulation left on them; it's
  22· burnt up house.                                                       22· burnt.
  23· · · ·Q.· ·Okay.· And I want to -- I pulled up what's                  23· · · ·Q.· ·Okay.· Was there any other explanation that
  24· labeled Exhibit 17.· Have you seen this picture before?               24· you could think of for having melted triplex?
  25· · · ·A.· ·Yes.                                                        25· · · ·A.· ·No, you just had a constant -- the voltage

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  ·1· · · ·Q.· ·Is this something you reviewed as part of your              ·1· coming out of that transformer which would not shut off,
  ·2· investigation?                                                        ·2· and that's what caused this.
  ·3· · · ·A.· ·Yes, that's melted fire (unintelligible).                   ·3· · · ·Q.· ·Okay.· And some of this melted triplex was
  ·4· · · ·Q.· ·Okay.· And so this is Exhibit 17.· What --                  ·4· away from the house, right?
  ·5· what are we looking at here?                                          ·5· · · ·A.· ·Yes.
  ·6· · · ·A.· ·This is triplex that is burned up from that                 ·6· · · ·Q.· ·Was away from the house fire and was going up
  ·7· surge, the power which would not shut off, and it just                ·7· the driveway, correct?
  ·8· melted it.· Nothing left of it.                                       ·8· · · ·A.· ·Correct.
  ·9· · · ·Q.· ·And does this fairly -- fairly and accurately               ·9· · · ·Q.· ·Okay.· And so can you think of anything else
  10· depict what you observed --                                           10· that could have caused that?
  11· · · ·A.· ·Yes.                                                        11· · · ·A.· ·No.· Only thing that caused that is bad
  12· · · ·Q.· ·-- this fire you inspected?                                 12· conductors.· The triplex is a bad conductor.· Like that
  13· · · ·A.· ·Yes.                                                        13· one transformer you had up earlier where the insulation
  14· · · ·Q.· ·Now -- now, these wires --                                  14· was coming off, electricity works the same principle as
  15· · · ·A.· ·Conductor, where your server is, that's where               15· a water hose.· You run your water hose for a period of
  16· these all bonded together.                                            16· time and certainly you're going to start getting leaks
  17· · · ·Q.· ·Uh-huh.                                                     17· in it, have leaks in it.· Electricity works exactly the
  18· · · ·A.· ·And you've got 120 -- well, actually, you've                18· same way.· You've got the power source going through it,
  19· got 240 volts now tied on with your grounded conductor. 19· and eventually it's going to start having leaks in it
  20· That's all going back into Walt Cude's home.· It's not                20· and that electricity is going to come to the surface and
  21· designed for that.                                                    21· that's what's called corona.· You have white raised
  22· · · ·Q.· ·And you said -- you referenced -- you said                  22· spots where the insulation is deteriorating.
  23· there's a circle there.· Are you talking about the --                 23· · · ·Q.· ·And have you observed corona around the
  24· the little kind of puddle of metal or circle of metal                 24· Arrowhead subdivision?
  25· down in --                                                            25· · · ·A.· ·I haven't observed any until this time.


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  ·1· · · ·Q.· ·Okay.· You observed some at Walt -- when you               ·1· wasn't there at the time.
  ·2· replaced the -- the service drop, though, the                        ·2· · · ·Q.· ·Okay.· And that's what I wanted to clarify.
  ·3· weatherhead at Walt Cude's residence, you observed some ·3· You weren't there on the night of the fire.
  ·4· corona?                                                              ·4· · · ·A.· ·No.
  ·5· · · ·A.· ·Not at that time, no.                                      ·5· · · ·Q.· ·Okay.· Do you know who took this picture?
  ·6· · · ·Q.· ·Okay.· All right.· I thought you had said on               ·6· · · ·A.· ·I have no idea.· It could have been Walt Cude.
  ·7· the power box on the internal wires that you replaced.               ·7· I don't know.· I don't know who took that picture.
  ·8· · · ·A.· ·Those -- that insulation on there, that's not              ·8· · · ·Q.· ·Okay.· Do -- and do you know what a picture --
  ·9· triplex going down that.                                             ·9· do you know what it is?· Is that -- what are we looking
  10· · · ·Q.· ·Okay.· But there was -- okay.· All right.                  10· at?
  11· Fair enough.· That was not the triplex, then.· I got                 11· · · ·A.· ·I think that's Walt Cude's house burned up.
  12· you.                                                                 12· · · ·Q.· ·Okay.· Do you see any arcing or sparking in
  13· · · · · · · · ·Does this fairly and accurately represent             13· this picture?
  14· what you observed with Mr. Cude, the wires you observed? 14· · · ·A.· ·I just see a -- what's a fire is all I see in
  15· · · ·A.· ·Yes.                                                       15· this particular picture.
  16· · · ·Q.· ·And these -- where did you locate these?                   16· · · ·Q.· ·Okay.· Did you see any -- okay, fair enough.
  17· These were from Mr. Cude's house?                                    17· · · · · · · · ·Who else -- who else did you talk to?
  18· · · ·A.· ·They was at Mr. Cude's house.                              18· You talked to Johnny Day.· And any- -- anybody else?
  19· · · ·Q.· ·Okay.· And he -- he had picked these up after              19· · · ·A.· ·Ron Meyer.· He's the one that works for the
  20· the incident?                                                        20· fire department.· He was out there.
  21· · · ·A.· ·Yes.                                                       21· · · ·Q.· ·And what did -- what did Ron -- what did you
  22· · · ·Q.· ·Okay.· What else did you do as part of your                22· discuss with Ron?
  23· investigation?· Did you interview any people?· Did you               23· · · ·A.· ·Trying to figure out how that fire originated,
  24· talk to any people around -- around the area?                        24· which he -- they had AEP come out, and AEP went to
  25· · · ·A.· ·His neighbor, I think, is Mr. Day.                         25· Walt's other neighbor's house where that -- that triplex

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  ·1· · · ·Q.· ·Okay.                                                      ·1· was arcing also.· And apparently they pulled the meter
  ·2· · · ·A.· ·He observed it where it was arcing at Walt                 ·2· out of that so that wouldn't burn his house down either.
  ·3· Cude's house and on his neighbor's house.                            ·3· And then in the meantime I think they got up with a
  ·4· · · ·Q.· ·Okay.· Explain that to us.· He observed                    ·4· bucket truck and they cut the lines loose feeding that
  ·5· arcing?· What -- what is arcing?                                     ·5· other house.
  ·6· · · ·A.· ·That's like sparks sort of stay -- coming off              ·6· · · ·Q.· ·Okay.· And so Ron -- this was -- Ron had
  ·7· the conductors, the triplex.                                         ·7· witnessed this on the evening of the fire?
  ·8· · · ·Q.· ·Okay.· What -- what else?· What's his                      ·8· · · ·A.· ·Yes.
  ·9· neighbor's name?                                                     ·9· · · ·Q.· ·Okay.· Did you talk to -- did you talk to Walt
  10· · · ·A.· ·Mr. Day.                                                   10· as well?
  11· · · ·Q.· ·Do you know his first name?                                11· · · ·A.· ·The next morning I talked to him.
  12· · · ·A.· ·I'm not for sure.· I think it's John.                      12· · · ·Q.· ·Okay.· And what did he observe the night of
  13· · · ·Q.· ·John Day?· And where does his neighbor live?               13· the fire?
  14· · · ·A.· ·Right across the road from Walt Cude.                      14· · · ·A.· ·What he told me, he said when he came out of
  15· · · ·Q.· ·On Vista Lane.· And so he -- what did he                   15· this burning house that those -- the triplex was arcing.
  16· tell you?· He was there the evening of the fire?                     16· · · ·Q.· ·Okay.· Can you explain to the jury when you
  17· · · ·A.· ·Yes.                                                       17· say arcing, is that -- you know, what -- what -- what
  18· · · ·Q.· ·And -- okay.· He observed -- I've got a                    18· would that look like?
  19· picture here, too.· It's -- I'll pull it up.· It's                   19· · · ·A.· ·Like a sparkler like kids use with all the
  20· called -- it's labeled Exhibit 16.· Have you seen this               20· sparks coming out.
  21· before?                                                              21· · · ·Q.· ·Okay.· And so if you have arcing like that,
  22· · · ·A.· ·I have seen -- I've observed this before.                  22· what -- what does that indicate to you?· In your
  23· · · ·Q.· ·Okay.· You -- you personally observed it or                23· opinion, what was happening?
  24· you had looked at the picture before?                                24· · · ·A.· ·You had the triplex going to Walt Cude's
  25· · · ·A.· ·I just looked at the picture, that's all. I                25· house, and I'm sure it went to ground, but there was no


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  ·1· place for it to shut off at the transformer.· It kept                  ·1· through the nipple from that meter box and it's going
  ·2· arcing in those conductors and they finally melted                     ·2· right back into Walt Cude's house.· That's all the
  ·3· together and they come down after the fact, which it had               ·3· ground wires, all the grounding conductors and the other
  ·4· already burned his house down and burned his truck down. ·4· conductors were all caught on fire.· There was no way to
  ·5· · · ·Q.· ·Okay.· Any -- anything else you did as part of               ·5· shut it down.· The insulation caught on fire and just
  ·6· your investigation?                                                    ·6· went on and on.
  ·7· · · ·A.· ·I walked around through it.· Some of the                     ·7· · · ·Q.· ·Okay.· And -- and if -- if -- I think if I'm
  ·8· ashes -- there wasn't nothing left of anything, you                    ·8· understanding you correctly, then -- then the power that
  ·9· know.                                                                  ·9· was surging into -- to Mr. Cude's residence would have
  10· · · ·Q.· ·Okay.· And what was your -- after -- after                   10· -- would have heated up the wires inside the walls
  11· doing -- after doing your investigation, what was your                 11· and --
  12· opinion, what was your conclusion you came up with?                    12· · · ·A.· ·Yes, and the insulation that's over the wires.
  13· · · ·A.· ·My conclusion was that transformer did not                   13· That -- that will start a fire just like getting a piece
  14· trip the power going through that pipe like                            14· of newspaper and put it on some hot charcoal in a
  15· (unintelligible) in Mr. Walt's house.· And that's where                15· barbecue grill; it catches on fire.· Insulation on a
  16· it started and that's where it ended.                                  16· conductor is doing the same thing.
  17· · · ·Q.· ·Is there anything that, in your opinion, your                17· · · ·Q.· ·And so if you've got -- if you've got the
  18· expert opinion, that -- that Mr. Cude could have done,                 18· extreme voltage, you know, coursing into the house and
  19· you know, or that would have caused the fire, that would               19· those wires get hot enough, they're going to get hot and
  20· have caused what -- you know, the arcing wires, melted                 20· they're going to catch the insulation, the plastic
  21· triplex, the things --                                                 21· insulation on the wire on fire as well as --
  22· · · ·A.· ·No.· No.                                                     22· · · ·A.· ·That's correct.
  23· · · ·Q.· ·Is this the sort of accident that would happen               23· · · ·Q.· ·-- the house is.· Okay.
  24· without some form of negligence?                                       24· · · · · · · · ·You know, and you -- you -- we -- we
  25· · · ·A.· ·It's an accident because of no maintenance.                  25· showed the -- the picture of the power box earlier and

                                                                   Page 90                                                                      Page 92
  ·1· · · ·Q.· ·I mean, the -- the -- the things that you                    ·1· you had done the installation on that.· I noticed there
  ·2· observed, though, in -- in the absence of some                         ·2· was a surge protector on there and there was a main
  ·3· negligence on behalf of one of the parties, is that --                 ·3· breaker, and I noticed that all the individual circuits
  ·4· is that something that, you know -- would the accident,                ·4· in the house also had breakers on them.
  ·5· you know, have occurred without some negligence?                       ·5· · · · · · · · ·Now, can you explain to me why -- why
  ·6· · · ·A.· ·The accident wouldn't have occurred if AEP                   ·6· didn't those breakers trip, why didn't -- why didn't
  ·7· maintained their triplex and their transformers.                       ·7· that stop -- stop the fire from -- from going into
  ·8· · · ·Q.· ·And I wanted to explain a little bit more for                ·8· Mr. Cude's residence?
  ·9· the jury.· What -- what do you believe to be the -- the                ·9· · · ·A.· ·You had a constant voltage going into that
  10· source of the fire?· You know, how did the fire, you                   10· panel box which could not be shut off at that
  11· know, get from the arcing triplex to Mr. Cude's                        11· transformer.· That should not happen; it's not designed
  12· residence?· How did -- how did it -- how did the fault                 12· for that.· You had a constant voltage until the trans-
  13· in the transformer and the ground wires, how did that                  13· or the triplex burned in half, but at the same time when
  14· translate into Mr. -- Mr. Cude's residence burning down?               14· that was going on we had that 240 volts of -- going
  15· · · ·A.· ·All the conductors in that triplex going to                  15· through Walt Cude's house and it was melting the wires.
  16· Mr. Cude's house, they all bonded together.· That's                    16· By that time that triplex burned in half, but meantime
  17· where you got two 120-volt lines which turns into                      17· it already caught Walt Cude's house on fire from the
  18· 240-volt lines, goes into the grounded conductor.· That                18· insulation.
  19· goes back into the meter.· On your meters you pulled                   19· · · ·Q.· ·Now, if -- what happened to the -- to the
  20· out, it's got two stab-ins, one for 120 on one side, 120               20· breakers?· And did you look around for the breakers and
  21· on the other side.· Your neutral or your grounded                      21· the contents of the box out there?
  22· conductor has got a solid bar that goes straight                       22· · · ·A.· ·There was nothing left.· It was all melted.
  23· through.· There's no place where you can disconnect                    23· · · ·Q.· ·And what would have happened to the breakers
  24· that.· That feeds through.· On that grounded conductor, 24· when -- when the --
  25· you've got 240 volts going through that and it's going                 25· · · ·A.· ·They all caught on fire.


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  ·1· · · ·Q.· ·Okay.· Would -- would the -- would the current             ·1· · · ·A.· ·Not what I've seen.
  ·2· have been such that it could jump the breakers or how --             ·2· · · ·Q.· ·Okay.· You couldn't -- you don't believe --
  ·3· can you explain to the jury how that happened?· I'm                  ·3· okay.· Fair enough.
  ·4· trying to understand how this conductor and the breakers             ·4· · · · · · · · ·I want to -- are you all right to keep
  ·5· didn't stop this fire.                                               ·5· going a little bit longer, Mr. Winkfein?
  ·6· · · ·A.· ·It could not -- could not have stopped that                ·6· · · ·A.· ·A little bit.
  ·7· fire.· You have a constant voltage that's going -- it's              ·7· · · ·Q.· ·All right.· I appreciate it.
  ·8· feeding your grounding conductors and your grounded                  ·8· · · · · · · · ·What -- what -- what sources, materials
  ·9· conductors.· It was going through there and it was going             ·9· did you rely upon?· Did you bring those with you today?
  10· up through the conductors going into Walt Cude's house. 10· · · ·A.· ·Just these wires I showed you earlier.
  11· In the meantime it's burning all the wires and                       11· · · ·Q.· ·Yeah, the wires, we looked at those.· How
  12· conductors in that panel and the breakers.· There was --             12· about -- I think you had a lineman's book and maybe a --
  13· there would have been no way to shut that off until that             13· · · ·A.· ·Oh, yes.
  14· triplex burned in half, or if that transformer would                 14· · · ·Q.· ·Do you have that stuff there with you?
  15· have worked, which was designed for it, it would have                15· · · · · · · · ·Okay.· Can you hold that up?· Can you
  16· tripped; this would not have happened.                               16· hold that up for the camera and show the jury?
  17· · · ·Q.· ·How about -- okay.· If there had been a fuse               17· · · ·A.· ·(Indicating).
  18· cutout, would that have protected the residence as well?             18· · · ·Q.· ·You got -- a little bit high.· That's pretty
  19· · · ·A.· ·Yes.                                                       19· good, okay.
  20· · · ·Q.· ·Okay.· And a fuse cutout -- and we looked at               20· · · · · · · · ·And that says the Lineman's & Cableman's
  21· those a lot earlier, we looked at the ones on the power              21· Handbook 8th Edition.· And is -- is that a source that
  22· poles and -- and -- and some of the power poles around               22· you relied upon in your investigation?
  23· the neighborhood.· Do those also -- they're not just --              23· · · ·A.· ·That was part of it, but I took a test on this
  24· they have an actual fuse on them, correct?· Is that --               24· years ago.· This was nationwide.· There's several
  25· · · ·A.· ·Yes.                                                       25· different electrical engineers and power companies got

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  ·1· · · ·Q.· ·And they're designed to cut out in -- in -- in             ·1· all their readings in it.
  ·2· this sort of circumstance?                                           ·2· · · ·Q.· ·Okay.· Did you -- any -- any other sources you
  ·3· · · ·A.· ·Yeah.                                                      ·3· relied upon for your investigation?
  ·4· · · ·Q.· ·Okay.· So is it in -- in your opinion, in your             ·4· · · ·A.· ·National Electric Code.
  ·5· professional opinion, if -- if there had been a cutout               ·5· · · ·Q.· ·Okay.· Do you have that with you too?· There
  ·6· fuse on the -- the supply side, would that have likely               ·6· you go.· And that's the 2011 Edition.
  ·7· had protected the house?                                             ·7· · · ·A.· ·Yeah.
  ·8· · · ·A.· ·That would -- that would have eliminated the               ·8· · · ·Q.· ·Okay.
  ·9· problem.                                                             ·9· · · ·A.· ·Only difference between this and a new one,
  10· · · ·Q.· ·Okay.· I want to ask a little bit too.· Any --             10· they just add different things to it.· They don't take
  11· anything else that would have fixed the problem?· We                 11· anything away from it.
  12· talked about the cutout.· How about if there had been                12· · · ·Q.· ·Gotcha.· So generally the -- the same -- those
  13· a -- a ground on -- the proper ground on the pole?                   13· should be the same provisions?
  14· Would that have helped?                                              14· · · ·A.· ·Yeah.
  15· · · ·A.· ·No.                                                        15· · · ·Q.· ·Okay.· And I'm going to pull up what's, let's
  16· · · ·Q.· ·No.· That wouldn't?· Okay.· All right.                     16· see, Exhibit 26 on -- do you have that?· Do you see that
  17· · · · · · · · ·Any other -- any other -- any other                   17· on your screen?
  18· faults you found in the AEP system that -- that you                  18· · · ·A.· ·Yes.
  19· believe contributed to the fire?                                     19· · · ·Q.· ·Okay.· Is that a -- is that a fair and
  20· · · ·A.· ·There was not fuse or breaker in that                      20· accurate representation of your -- your book that you
  21· transformer.· If there was, it was not working                       21· just showed us, I guess?
  22· correctly.                                                           22· · · ·A.· ·Yes.
  23· · · ·Q.· ·Okay.· Did you -- did you consider                         23· · · ·Q.· ·Okay.· And same thing, Exhibit 26 is a Lineman
  24· alternatives, other alternatives to what might have                  24· & Cableman's Code; that's the same one you relied upon?
  25· caused the fire?                                                     25· · · ·A.· ·Yes.


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  ·1· · · ·Q.· ·What did you -- from consulting those sources,            ·1· · · ·Q.· ·So in your -- in your opinion, then, the --
  ·2· did you -- what did they tell us about this incident or             ·2· the AEP was in violation of this standard?
  ·3· what -- what AEP maybe should have done in this case?               ·3· · · ·A.· ·Yes.
  ·4· · · ·A.· ·They should have a transformer that was                   ·4· · · ·Q.· ·Any -- any other standards you -- you believe
  ·5· functional.· They should be maintained periodically.                ·5· AEP violated?
  ·6· They should have a ground rod and a -- and a proper                 ·6· · · ·A.· ·Secondary over current protection.
  ·7· ground wire going to the ground rod, which the ground ·7· · · ·Q.· ·Is that in the -- that's in the same -- same
  ·8· rod is supposed to be 10 foot by five-eighths-inch                  ·8· table here.· Okay.· And how did they violate that
  ·9· ground rod.· And their particular ground wire, they --              ·9· provision?
  10· they used was all corroded up.· It looked like it's got             10· · · ·A.· ·There was no secondary protection on it.
  11· a kink in it.· That should have been tooken care of,                11· · · ·Q.· ·Okay.· And what is secondary protection?
  12· have a proper ground wire going to that ground wire.                12· · · ·A.· ·That's where your -- secondary is your triplex
  13· · · ·Q.· ·And had AEP done those things, had they                   13· coming out of that transformer feeding into Walt's
  14· properly maintained the -- the equipment, had to have a             14· house.
  15· cutout fuse, had to have proper ground rod --                       15· · · ·Q.· ·Okay.· And what kind of protection should they
  16· · · ·A.· ·They should have went out to the house and                16· have had on it?
  17· observed it just like I did, and apparently they did                17· · · ·A.· ·They should have a fuse or a breaker which
  18· not.                                                                18· should have been at least accessible outside that
  19· · · ·Q.· ·Had they done that, then you don't -- in                  19· transformer.
  20· your -- in your opinion, this -- this -- the fire would             20· · · ·Q.· ·And they didn't have that.· And are you
  21· not have occurred.                                                  21· talking about a cutout fuse?
  22· · · ·A.· ·That's right.                                             22· · · ·A.· ·No, I'm talking about a circuit break or fuse,
  23· · · ·Q.· ·Okay.· And I want to look at Exhibit 26 a                 23· something that you can get to to shut it off.
  24· little bit more here.· There's -- did you -- did you                24· · · ·Q.· ·I understand.· Was -- was there -- in -- in
  25· find any specific codes that were violated?· I think you            25· this transformer, was it internally fused?· Is that it?

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  ·1· may have referenced these in your report, but do you                ·1· · · ·A.· ·Yes.· According to the diagram on that
  ·2· remember them offhand?                                              ·2· nameplate, you have it internally fused and you have it
  ·3· · · ·A.· ·The NEC code, it's supposed to have a -- there            ·3· -- internally breaker on this particular transformer,
  ·4· you go right there.                                                 ·4· according to that nameplate, and neither one of them
  ·5· · · ·Q.· ·Which one?· This one right here?                          ·5· worked.
  ·6· · · ·A.· ·Yes.                                                      ·6· · · ·Q.· ·Now, would that have satisfied the provisions
  ·7· · · ·Q.· ·Okay.· And this is -- this is from the NEC.               ·7· of code?
  ·8· It's -- are we looking at table 450-3A; is that correct?            ·8· · · ·A.· ·No.· Well, it would have, yes, if they worked,
  ·9· · · ·A.· ·Correct.                                                  ·9· but they didn't.
  10· · · ·Q.· ·Okay.· What does the NEC code tell us?                    10· · · ·Q.· ·Okay.
  11· · · ·A.· ·It tells you how to protect on your primary               11· · · ·A.· ·This -- this is from bad maintaining, bad
  12· volts, primary protection over 600 volts.· It shows the             12· maintenance.
  13· circuit breaker and shows a fuse.· And that's your line 13· · · ·Q.· ·Okay.· Had they -- had they functioned
  14· side.· It's 300 percent that you go on your fuse sides              14· properly, then -- then that would have been -- but --
  15· of this.                                                            15· but the problem was, in your -- in your opinion, is that
  16· · · ·Q.· ·Okay.· So what -- what do we -- what is this              16· due to poor maintenance or the age of the transformer,
  17· table showing us?                                                   17· the 1964 transformer, that that -- that that fuse was so
  18· · · ·A.· ·That's what the primary site should have had              18· rusted up or not working that it failed to trip?
  19· for protection on that transformer.                                 19· · · ·A.· ·That's correct.
  20· · · ·Q.· ·Okay.                                                     20· · · ·Q.· ·Okay.· And -- and what do you base that on?
  21· · · ·A.· ·It says at the top, primary protection.· This             21· What facts support that conclusion?
  22· is over 600 volts.                                                  22· · · ·A.· ·Just from what I've observed around this area
  23· · · ·Q.· ·Okay.· So you're --                                       23· on their transformers, and around this area they're
  24· · · ·A.· ·That was a 7200 volt line.· So that exceeds               24· all rust buckets and need to be replaced and new ones
  25· 600 volts.                                                          25· installed.


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  ·1· · · ·Q.· ·Okay.· And beyond that, though, I'm talking                ·1· · · · · · · · ·MR. SWALLOW:· Yes, sir.
  ·2· about the specific transformer at Walt Cude's house --               ·2· · · · · · · · ·THE VIDEOGRAPHER:· This is the
  ·3· · · · · · · · ·(Simultaneous speaking.)                              ·3· videographer.· I was wondering if we can take a quick
  ·4· · · ·A.· ·I didn't strip it because --                               ·4· break.· I wanted to see if I can adjust something on my
  ·5· · · ·Q.· ·-- transformer didn't trip?                                ·5· laptop really quickly.
  ·6· · · ·A.· ·It didn't trip.                                            ·6· · · · · · · · ·MR. SCHAUER:· Yeah.· It's probably
  ·7· · · ·Q.· ·But how do we know that?· What facts support               ·7· lunchtime anyway.
  ·8· that?                                                                ·8· · · · · · · · ·THE VIDEOGRAPHER:· Okay.
  ·9· · · ·A.· ·Walt's burnt house and his melted truck.                   ·9· · · · · · · · ·MR. SCHAUER:· Why don't we just call it
  10· After the triplex melted in half, it was still                       10· quits for lunchtime.
  11· energized.                                                           11· · · · · · · · ·THE VIDEOGRAPHER:· Okay.· The time is
  12· · · ·Q.· ·Okay.· So what you're saying, after -- what                12· 12:17 p.m.· We are off the record.
  13· Walt observed, what the neighbors observed and -- and -- 13· · · · · · · · ·(Break from 12:17 to 1:17 p.m.)
  14· did you observe Walt's melted truck?· You referenced to              14· · · · · · · · ·THE VIDEOGRAPHER:· The time is 1:17 p.m.
  15· a melted truck.                                                      15· We are now on the record.
  16· · · ·A.· ·Yes.                                                       16· · · ·Q.· ·(By Mr. Swallow)· Mr. Winkfein, we are back on
  17· · · ·Q.· ·Can you tell us a little bit more about that?              17· the record.· You all right to continue?· I saw you --
  18· I don't think we -- we -- we told -- we discussed --                 18· you coughing there a little ways there.· Are you feeling
  19· · · ·A.· ·Triplex when it melted, it fell down on Walt's             19· okay?
  20· truck.· It melted that truck because it was still                    20· · · ·A.· ·I'm fine so far.
  21· energized, and it got to your gas tank, which that                   21· · · ·Q.· ·Okay.· You let us know.· If you need a break,
  22· caught on fire.· Gas and fire don't go together too                  22· let us know.· This is -- this is your show so just tell
  23· well.· And it just melted down even with the rims on                 23· us if you need a break and --
  24· that metal off.· Toolbox and everything in that truck                24· · · ·A.· ·All right.· I've been on shows before, real
  25· melted, even the engine.                                             25· shows.· I played -- I played on the Grand Old Opry years

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  ·1· · · ·Q.· ·And you personally observed a melted truck.                ·1· ago.
  ·2· · · ·A.· ·Yes.                                                       ·2· · · ·Q.· ·No kidding?· We're on the record so I'm not
  ·3· · · ·Q.· ·And so what you're saying is after the wires               ·3· sure that the jury wants to hear about the Grand Old
  ·4· burnt through because of the heat from either the -- you             ·4· Opry, but I would like to hear about that some day so --
  ·5· know, the -- the current or the heat from the fire, they             ·5· · · ·A.· ·Okay.
  ·6· continued to be live wires and then fell on to                       ·6· · · ·Q.· ·-- on a break, if you tell me about that.
  ·7· Mr. Cude's truck --                                                  ·7· · · · · · · · ·But at this point let's -- let's get
  ·8· · · ·A.· ·Yes.                                                       ·8· back -- if you don't mind, let's get back to the
  ·9· · · ·Q.· ·-- and it melted down Mr. Cude's truck?                    ·9· questions but --
  10· · · ·A.· ·Yes.· Well, it's got gasoline in it too.                   10· · · ·A.· ·Sure.
  11· Gasoline and fire don't go -- mix together.· Apparently 11· · · ·Q.· ·Yeah.· Yeah.· All right.
  12· the whole truck caught on fire from that line.                       12· · · · · · · · ·Did you -- did you review any of the
  13· · · ·Q.· ·Okay.· It seems that there should be some                  13· expert reports that were produced by AEP's experts in
  14· safety precaution.· I think that's -- if I understand                14· this case?
  15· you right, what you're saying is, is that transformer,               15· · · ·A.· ·I haven't talked to AEP personally, no.
  16· had it been operating and properly maintained that there             16· · · ·Q.· ·Okay.· Did you know -- did you -- they -- they
  17· should have been a fuse trip when, you know --                       17· designated a couple experts in this case.· Did you have
  18· · · ·A.· ·Sure.                                                      18· a chance to review their reports at all?
  19· · · ·Q.· ·-- at some point.· It should not have                      19· · · ·A.· ·No.
  20· continued --                                                         20· · · ·Q.· ·Okay.· And let's -- and I just have a couple
  21· · · ·A.· ·No.                                                        21· questions.· One -- one of their -- one of their experts,
  22· · · ·Q.· ·-- to melt down the truck.· Okay.                          22· I believe his name is Ricardo Torres, said that -- that
  23· · · ·A.· ·No.                                                        23· no scientific conclusion can be made as the origin and
  24· · · · · · · · ·THE VIDEOGRAPHER:· Mr. Swallow, excuse                24· cause of the fire.· Do you -- do you have an opinion as
  25· me.                                                                  25· to that?

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  ·1· · · ·A.· ·Yes, I do.                                                 ·1· originated in the triplex wires to the house, the energy
  ·2· · · ·Q.· ·Okay.· And what are your thoughts on that?                 ·2· would have been cut off when the wires separated and no
  ·3· · · ·A.· ·Well, that particular transformer had a                    ·3· further arc damage would have been found in the copper
  ·4· constant voltage coming out of it.· There was no way to ·4· conductors inside the structure.· I -- I don't know that
  ·5· trip it, which means turn the breaker or fuse off.· And              ·5· you had a chance to observe the copper conductors inside
  ·6· the voltage kept coming out, and that burnt my house                 ·6· the structure.
  ·7· down plus Walt's truck down.· There wasn't no way to                 ·7· · · ·A.· ·There was nothing left of it.
  ·8· shut it off.· And that does not go back to that                      ·8· · · ·Q.· ·Okay.· If -- do you agree with his assessment
  ·9· substation.· Those particular instruments or                         ·9· that if -- if the -- if the electricity or if the -- the
  10· transformers, they're not designed for that.· They're                10· fault -- that the fire had originated in the triplex
  11· supposed to have a -- supposed to be fused.· That's                  11· wires, do you agree that -- that it -- you know, that
  12· where it cuts off.· But you'll get the -- it goes back               12· would not have caused any damage to the house?
  13· through that grounded conductor.· Every house down                   13· · · ·A.· ·That would be correct.
  14· through the street is going to collect the same thing.               14· · · ·Q.· ·Okay.· So you think -- and let me -- let me --
  15· · · ·Q.· ·And you're talking about the -- the -- the                 15· let me be -- I want you to be careful on this one.· But
  16· middle wire, the neutral wire --                                     16· if -- why don't you just -- can you -- can you explain
  17· · · ·A.· ·Right.                                                     17· that a bit more to the jury?· How is that?
  18· · · ·Q.· ·-- on the conductor.· And so in your opinion,              18· · · ·A.· ·Installation on the triplex bonded together
  19· if I can summarize just a little bit, what should have               19· after the installation went off.· Wouldn't have been a
  20· happened is the breaker or the -- the fuse on the -- the             20· fuse on that transformer or a breaker.· That power
  21· transformer should have tripped and sent it into the                 21· shouldn't have been shut down, and nothing would have
  22· ground wire down at the bottom of the pole.· Is that --              22· come about, would happen.
  23· is that --                                                           23· · · ·Q.· ·Okay.· But in your -- in your opinion, though,
  24· · · ·A.· ·That's correct.                                            24· the fire did originate in the triplex or -- I'm not sure
  25· · · ·Q.· ·Okay.· Based on what you witnessed on the                  25· if I'm saying that right.

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  ·1· interviews that you conducted, on the evidence you                   ·1· · · ·A.· ·Yeah, it originated on the triplex.
  ·2· looked at, and -- and your knowledge and your background ·2· · · ·Q.· ·And then it moved into the house, the wires in
  ·3· in electrical engineering and electrical installations,              ·3· the house heated up and caused the additional fire.
  ·4· would an internal fault or short in the -- in the                    ·4· · · ·A.· ·Right.
  ·5· residences in Mr. Cude's electrical system have caused               ·5· · · ·Q.· ·Okay.· So I think what Mr. Torres is saying,
  ·6· the arcing, another thing that was witnessed by -- was               ·6· and I haven't had the chance to take his deposition yet,
  ·7· witnessed by Mr. Cude and -- and -- and the -- the                   ·7· but I believe what he's saying is if the fire had
  ·8· firefighters and other people out there?                             ·8· originated in the triplex wires as -- as I believe
  ·9· · · ·A.· ·No.                                                        ·9· you're saying, that -- that those wires merely would
  10· · · ·Q.· ·Okay.· And what's the basis of that?· Do you               10· have separated and -- and that would have been the end
  11· have a -- if there had been a -- if there had been an                11· of it.
  12· electrical issue inside Mr. -- Mr. Cude's, you know,                 12· · · ·A.· ·No.
  13· residence --                                                         13· · · ·Q.· ·Okay.· And why -- why do you disagree with
  14· · · ·A.· ·It would have tripped the breakers.                        14· that?
  15· · · ·Q.· ·Go ahead.                                                  15· · · ·A.· ·The insulation on the conductors on the
  16· · · ·A.· ·It would have tripped the breakers.                        16· triplex melted together and they bonded together.· And
  17· · · ·Q.· ·Okay.                                                      17· if that transformer would have been fused or had a
  18· · · ·A.· ·Main breaker.· That wouldn't fit back through              18· breaker on correctly, that would not have happened.· It
  19· that meter feeding back to the triplex.                              19· was still energized when it come down on Walt Cude's
  20· · · ·Q.· ·So what you're saying is it wouldn't have seen             20· truck.
  21· the melted triplex, the wires on fire, the arcing, the               21· · · ·Q.· ·Bear with me for one second here.· I wanted
  22· sparks, that sort of stuff?                                          22· to -- I want to pull up one -- one other exhibit here.
  23· · · ·A.· ·No.                                                        23· It's Exhibit 24.· I just wanted to see if you recognize
  24· · · ·Q.· ·I want to read you one more statement from                 24· this, if you remember writing it.· Can you -- can you
  25· Mr. Torry's (ph.) report.· It says that if the fire had              25· see this on your screen, Mr. Winkfein?


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  ·1· · · ·A.· ·Yes.                                                    ·1· their own installation guidelines?
  ·2· · · ·Q.· ·Okay.· And do -- what -- what did -- can you            ·2· · · ·A.· ·Yes, they did.
  ·3· tell the jury what this is, Exhibit 24?                           ·3· · · ·Q.· ·In what way?
  ·4· · · ·A.· ·This is telling what I installed on Walt                ·4· · · ·A.· ·Well, besides grounding conductor, about
  ·5· Cude's house.                                                     ·5· maintaining that particular transformer, which should
  ·6· · · ·Q.· ·Uh-huh.                                                 ·6· have shut it down.· It all basically goes down to
  ·7· · · ·A.· ·It's a nude 200-amp cover hammer main power ·7· maintenance.
  ·8· breaker.· The main means it's got a main breaker on it ·8· · · ·Q.· ·Okay.· So the -- the transformer was an issue.
  ·9· and...                                                            ·9· Any -- anything else with the ground that was an issue
  10· · · ·Q.· ·Okay.· Was it -- was it -- is this a statement          10· or that was inconsistent with the installation
  11· that you -- you -- you made?                                      11· guidelines?
  12· · · ·A.· ·Yes.                                                    12· · · ·A.· ·Just the ground wire.· It was a little small.
  13· · · ·Q.· ·Okay.· And what -- do you remember when you             13· It should have been a number 4, which AEP required of
  14· made this?                                                        14· each service.· Any residents should be a number 4
  15· · · ·A.· ·Not approximately, no, I don't.· It was after           15· ground, and they should have had a number 4 of theirs,
  16· the house fire.                                                   16· and the ground rod was supposed to be about three foot
  17· · · ·Q.· ·Do you agree -- do you still agree with your            17· away from that pole.
  18· conclusions?                                                      18· · · ·Q.· ·Are you familiar, having lived in the
  19· · · ·A.· ·Yes, I do.                                              19· Arrowhead subdivision for -- for a number of years, are
  20· · · ·Q.· ·I pulled up what's labeled as Exhibit 27 and            20· you familiar with any other AEP customers and residents
  21· it's called AEP's or American Electric Power Guide For            21· in that area that have had problems with their
  22· Electric Service and Meter Installations.· Is this                22· electrical installations for AEP?
  23· something you also reviewed as part of your                       23· · · ·A.· ·Yes, I do.· They've had electric poles just
  24· investigation research into this?                                 24· fall down because there's rock.
  25· · · ·A.· ·That particular program there is for the                25· · · ·Q.· ·Can you -- can you provide us some --

                                                             Page 110                                                                 Page 112
  ·1· people that work for AEP.                                         ·1· some instances of that?
  ·2· · · ·Q.· ·Okay.· And did you -- did you find any faults           ·2· · · ·A.· ·This friend of mine, her name is Renee Berry,
  ·3· with the system or -- or I guess violations of AEP                ·3· they lost all their service.· Because of the electric
  ·4· manual with the -- with Mr. Cude's system?                        ·4· poles, power poles, they just fell down and they're just
  ·5· · · ·A.· ·Well, Mr. Cude's system was fine.· He was up ·5· rotten.· They're not maintaining their equipment.
  ·6· to their standards.                                               ·6· · · ·Q.· ·Okay.· How about any -- any instances of, you
  ·7· · · ·Q.· ·Okay.· Fair enough.· I got it.· How about with          ·7· know, lights flickering, that sort of stuff that you --
  ·8· AEP's electrical installations?                                   ·8· · · ·A.· ·I've had that at my house two or three times
  ·9· · · ·A.· ·Their installation was incorrect.· It's just            ·9· I've had to call them out, and they had loose
  10· poor maintenance.                                                 10· connections on their transformers.
  11· · · ·Q.· ·Okay.· Poor maintenance.· And I'm going to              11· · · ·Q.· ·Okay.· And -- and when was -- when did that
  12· flip through here.· Did you -- did you have a chance to           12· occur?
  13· review these?                                                     13· · · ·A.· ·That happened last summer.
  14· · · ·A.· ·No, I did not.                                          14· · · ·Q.· ·And had you come out and serviced the
  15· · · ·Q.· ·You did not.· Okay.· So you're not familiar             15· transformer?
  16· with this -- with this guide then.                                16· · · ·A.· ·Yes, they resolved it.
  17· · · ·A.· ·No.                                                     17· · · ·Q.· ·Any other -- any other instances of, you know,
  18· · · ·Q.· ·Okay.· All right.· Fair enough.                         18· lights flickering, that sort of stuff?
  19· · · ·A.· ·I'm familiar with what they -- they need or             19· · · ·A.· ·I've had a couple of other friends of mine
  20· require at each service.                                          20· that's had the same thing, and I already -- I checked
  21· · · ·Q.· ·Okay.· Are you familiar with the requirements,          21· their panel boxes and everything was tight.· I called
  22· then, that would be in the AEP installation guide?                22· the power company and they came out and found, like,
  23· · · ·A.· ·Yeah.                                                   23· loose wires on the transformers.
  24· · · ·Q.· ·Okay.· And -- and did you -- were there any --          24· · · ·Q.· ·And do you know their names?· Can you provide
  25· did -- did they fail to follow -- did AEP fail to follow          25· a little bit more detail on that?


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  ·1· · · ·A.· ·One of them's name was Sarry Walker.· And                    ·1· · · ·A.· ·Yes, I did.
  ·2· another one was Pat McGill, which he passed away, and ·2· · · ·Q.· ·Any other reasons you can think of why -- why
  ·3· then just myself.                                                      ·3· the neighbor's house would not have been affected by the
  ·4· · · ·Q.· ·And do you remember when -- do you remember                  ·4· fire?
  ·5· those instances when they occurred?                                    ·5· · · ·A.· ·They -- they got out there in time and saved
  ·6· · · ·A.· ·It's been a couple of years ago.                             ·6· it.
  ·7· · · ·Q.· ·Now, another -- another thing that I wanted to               ·7· · · ·Q.· ·Okay.
  ·8· ask you about.· Mr. Cude on -- had another -- there was                ·8· · · ·A.· ·They replaced that triplex going to that
  ·9· another -- he had a neighbor who was also connected to                 ·9· neighbor's house too.
  10· the same transformer, I believe.· And are you -- are you               10· · · ·Q.· ·After the fire.
  11· familiar with that?                                                    11· · · ·A.· ·Right.
  12· · · ·A.· ·Yeah, Walt had told me something about that.                 12· · · ·Q.· ·Okay.· Do you -- do you remember when that
  13· · · ·Q.· ·Do you know the neighbor's name or do you know               13· occurred?
  14· the neighbor?                                                          14· · · ·A.· ·I think it was within a day or the same day as
  15· · · ·A.· ·I think his name is Donnie King.                             15· Walt Cude's house was burning.
  16· · · ·Q.· ·Okay.· Is his house still -- still located on                16· · · ·Q.· ·Uh-huh.· And I -- I -- I want to ask you real
  17· Vista Drive there?                                                     17· quick.· I -- I pulled up on the screen here what's
  18· · · ·A.· ·Yes.                                                         18· called -- what's been labeled Exhibit 22.· Did you
  19· · · ·Q.· ·And if -- now, my question is, and -- and I                  19· review this photograph as part of your investigation?
  20· think this may have come -- come up in your                            20· · · ·A.· ·I have seen it up there but I haven't really
  21· investigation.· But can you -- can you explain to the                  21· reviewed it.
  22· jury why -- you know, why the neighbor's house was                     22· · · ·Q.· ·Okay.· Can you tell us what -- what Exhibit 22
  23· affected -- or maybe it wasn't affected -- where                       23· is?· What -- what is that a picture of?
  24· Mr. Cude's, you know, ended up burning down?· Can you                  24· · · ·A.· ·It's a -- a -- a pole and a transformer.
  25· explain if -- if the fault was in the transformer in the               25· · · ·Q.· ·And when you -- yeah.

                                                                  Page 114                                                              Page 116
  ·1· ground, as you explained, why didn't -- you know, why                  ·1· · · ·A.· ·Secondary lines coming off of it.
  ·2· didn't Walt's neighbor, who was also connected to the                  ·2· · · ·Q.· ·And where is that pole located?· Is that the
  ·3· transformer, burn down on the -- the night of November                 ·3· transformer outside of Walton Cude's former residence?
  ·4· 19th, 2017, or the morning I guess it was?                             ·4· · · ·A.· ·Yes.
  ·5· · · ·A.· ·Well, power company came out and apparently                  ·5· · · ·Q.· ·Okay.· So this is the -- the defective
  ·6· they went over and pulled the meter out of the                         ·6· transformer that we've been talking about?
  ·7· neighbor's house and cut the wires loose at the                        ·7· · · ·A.· ·Right.
  ·8· transformer.· And that's why he didn't have any damage                 ·8· · · ·Q.· ·Okay.· Do you know when this picture was
  ·9· at his particular house.· Part of that power pole, just                ·9· taken?
  10· on the inside of his property, it was just a brace to                  10· · · ·A.· ·No, I don't.
  11· hold the wire up.· About every hundred feet you need to                11· · · ·Q.· ·Okay.· Do you believe it fairly and accurately
  12· set up a power pole to hold up the conductors that have 12· represents the power pole that -- the -- the -- I know
  13· that power poles burnt.                                                13· you didn't take the picture, but is -- is -- do you
  14· · · ·Q.· ·So it appeared that there was some fire                      14· think that's a fair and accurate representation?
  15· damage --                                                              15· · · ·A.· ·Yes.
  16· · · ·A.· ·Yes.                                                         16· · · ·Q.· ·All right.· And I pulled up here what's --
  17· · · ·Q.· ·-- to the power pole.                                        17· what's called Exhibit 23.· Can you -- can you tell us
  18· · · · · · · · ·Do you know what that -- was that power                 18· what this is?
  19· pole grounded at all?                                                  19· · · ·A.· ·That's so they -- piece of equipment
  20· · · ·A.· ·That particular one didn't have to have a                    20· installed, a new power pole at Walt Cude's house.
  21· ground on.· There was no transformer or any equipment 21· · · ·Q.· ·Okay.· And do you know why -- why were they
  22· installed on that.· That was just a brace to hold the                  22· installing a new power pole?
  23· wires up.                                                              23· · · ·A.· ·The other one was rotten, about to fall down.
  24· · · ·Q.· ·Okay.· But you did -- did observe some -- some               24· · · ·Q.· ·Okay.· Do you know when they installed this
  25· scorching or some burning on that power pole.                          25· power pole?

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  ·1· · · ·A.· ·It was right after that hurricane Harvey come                 ·1· · · ·A.· ·Correct.
  ·2· through.                                                                ·2· · · ·Q.· ·And what would -- what would be the effect of
  ·3· · · ·Q.· ·Okay.· Sometime -- so this would have been                    ·3· overstretching those lines or potential effect?· How did
  ·4· before the fire, correct?                                               ·4· that -- how do you think that that led to the fire?
  ·5· · · ·A.· ·It would have been before, yes.                               ·5· · · ·A.· ·Well, the conductors just haven't been -- the
  ·6· · · ·Q.· ·All right.· If I tell you it was probably -- I                ·6· triplex hasn't been replaced --
  ·7· mean, if hurricane Harvey happened in August 2017, does                 ·7· · · · · · · · ·THE REPORTER:· Wait a minute.· Wait a
  ·8· that sound about right?                                                 ·8· minute.· Start that answer over, please.
  ·9· · · ·A.· ·Yeah.                                                         ·9· · · ·A.· ·The triplex has not been replaced in several
  10· · · ·Q.· ·Okay.· Now, I think in your report you had                    10· years according to that transformer, and that
  11· discussed, if I'm not mistaken, that you thought that                   11· installation is corroded from the electricity flowing
  12· the installation of this power pole may have also                       12· through the conductors and the sunlight on those
  13· contributed to -- to the -- to the fire.                                13· conductors.· That will make it crack after a period of
  14· · · ·A.· ·What they did, they just -- they did not                      14· time.· The insulation falls off, you'll have a hot
  15· replace the triplex going to Mr. Cude's house.· They                    15· touching on a neutral conductor or a grounded conductor
  16· just transport those conductors onto the new pole.· They 16· and that will cause a fire.
  17· pulled them a little bit too tight.· They should have a                 17· · · ·Q.· ·Okay.· Would -- would weather contribute to --
  18· little bit of loop in them, about two foot dip in it, so                18· to -- to that as well?
  19· to speak, where it was sagging just the two feet.· But                  19· · · ·A.· ·Yes, the sunlight will.
  20· they pulled them too tight and these have play because                  20· · · ·Q.· ·The sunlight.· How about -- how about wind,
  21· of the wind and the environments in this area.                          21· water?
  22· · · ·Q.· ·Okay.· And -- and if you can for the jury, can                22· · · ·A.· ·Wind can do it.
  23· you -- can you explain to them a little bit in -- in                    23· · · ·Q.· ·Okay.
  24· Exhibit 23, which one is the -- we -- we saw a service                  24· · · ·A.· ·And once the insulation comes off those
  25· drop before that was installed by AEP that was too                      25· conductors that are energized, that water is conductive

                                                                   Page 118                                                                  Page 120
  ·1· loose, and in this case what you're saying is the                       ·1· and they go across from the energized conductor to the
  ·2· service -- the service drop -- there is no drop, I                      ·2· grounded conductor.· They will start arcing and the
  ·3· guess.· You're saying it's too tight?                                   ·3· whole thing is energized.
  ·4· · · ·A.· ·It's too tight once they transport those lines                ·4· · · ·Q.· ·And is that -- based on your interviews, is
  ·5· to that new pole.                                                       ·5· that what was observed the night of the fire?
  ·6· · · ·Q.· ·Okay.· And -- and do you -- what -- can you --                ·6· · · ·A.· ·That's what I observed after the fire.
  ·7· can you explain to the jury where the -- where the                      ·7· · · ·Q.· ·But you observed the triplex.· But the
  ·8· service entrance or service drop is to -- to Mr. Cude's                 ·8· witnesses you talked to also said they -- they observed
  ·9· residence?                                                              ·9· arcing and sparking that was --
  10· · · ·A.· ·It's not on this picture, but it's to the left                10· · · ·A.· ·Yes.
  11· of the picture.                                                         11· · · ·Q.· ·-- with your analysis.
  12· · · ·Q.· ·Okay.· All right.· So to the left of the                      12· · · ·A.· ·Yes.
  13· picture those -- those lines that are --                                13· · · ·Q.· ·If it was a dark and stormy night with the
  14· · · ·A.· ·One's going to Walt Cude's house and the other 14· wind and rain, would that also contribute --
  15· one is going to his neighbor's house.                                   15· · · ·A.· ·Sure.
  16· · · ·Q.· ·Okay.· And those are the lines on left side of                16· · · ·Q.· ·-- to the arcing and the sparking that was
  17· the picture; is that correct?                                           17· observed?
  18· · · ·A.· ·Right.                                                        18· · · ·A.· ·Yes.
  19· · · ·Q.· ·Okay.· And so those lines -- correct me if I'm                19· · · ·Q.· ·Okay.· Mr. Winkfein, is there anything else,
  20· wrong here, but it's your opinion that those -- that                    20· any other -- anything else that we haven't talked about
  21· those lines were stretched too tight --                                 21· that you -- you think is important?
  22· · · ·A.· ·Yes.                                                          22· · · ·A.· ·No.· I think we pretty much established
  23· · · ·Q.· ·-- when this installation was done.· Okay.                    23· everything.
  24· · · · · · · · ·And the fire, if I'm not mistaken,                       24· · · ·Q.· ·Yeah, I have to ask, are you being compensated
  25· occurred shortly after this, correct?                                   25· for your testimony today in any way?


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  ·1· · · ·A.· ·No.                                                        ·1· · · ·Q.· ·And when did that happen?
  ·2· · · ·Q.· ·What did you do to prepare for your deposition             ·2· · · ·A.· ·That's been within the last month or two.
  ·3· today?                                                               ·3· · · ·Q.· ·Okay.· And how did you get over to his house
  ·4· · · ·A.· ·Just from back knowledge.                                  ·4· today?
  ·5· · · ·Q.· ·All right.· I'm going to take a quick, short               ·5· · · ·A.· ·I drove over there myself.
  ·6· break, if you don't mind.· And I think I -- I think I'm              ·6· · · ·Q.· ·Okay.· And did you get there what time?
  ·7· done for now, but I just want to look back at -- look at             ·7· · · ·A.· ·I probably got to his house about 10 minutes
  ·8· my notes and -- I may some follow-up questions as well.              ·8· to 9.
  ·9· I believe Don -- I'm guessing Don has some questions for ·9· · · ·Q.· ·Okay.· So you were there a little over an hour
  10· you, but if you guys will give me just a couple minutes,             10· before we started.
  11· I would appreciate it.                                               11· · · ·A.· ·Correct.
  12· · · ·A.· ·Okay.                                                      12· · · ·Q.· ·Okay.· How about any of his attorneys, have
  13· · · ·Q.· ·All right.                                                 13· you spoken to any of his attorneys about this
  14· · · · · · · · ·THE VIDEOGRAPHER:· Off the record, Mr.                14· deposition?
  15· Swallow?                                                             15· · · ·A.· ·I talked to him previously, yes.
  16· · · · · · · · ·MR. SWALLOW:· Yes, sir, just give me a                16· · · ·Q.· ·And when was the last time you talked to
  17· couple minutes off the record.                                       17· him?
  18· · · · · · · · ·THE VIDEOGRAPHER:· Okay.· The time is 1               18· · · ·A.· ·I talked to him yesterday.
  19· -- the time is 1:41 p.m.· We are off the record.                     19· · · ·Q.· ·Okay.· What did you talk about?
  20· · · · · · · · ·(Break from 1:41 to 1:53 p.m.)                        20· · · ·A.· ·What we were reviewing over today.
  21· · · · · · · · ·THE VIDEOGRAPHER:· The time is 1:53 p.m.              21· · · ·Q.· ·Okay.· Did they tell you about the questions
  22· We are now on the record.                                            22· they were going to ask you today?
  23· · · · · · · · · · · · · EXAMINATION                                  23· · · ·A.· ·Pretty much.
  24· BY MR. SCHAUER:                                                      24· · · ·Q.· ·How much -- long did you spend with him?
  25· · · ·Q.· ·Mr. Winkfein, are you ready to continue?                   25· · · ·A.· ·Oh, I'd say about two or three hours.

                                                                Page 122                                                           Page 124
  ·1· · · ·A.· ·Yes.                                                       ·1· · · ·Q.· ·Okay.· Did you spend with -- any time with him
  ·2· · · ·Q.· ·Okay.                                                      ·2· before yesterday?
  ·3· · · ·A.· ·Oh, another one.                                           ·3· · · ·A.· ·Yes.
  ·4· · · ·Q.· ·I'm sorry?                                                 ·4· · · ·Q.· ·Okay.· And how -- how much time did you spend
  ·5· · · ·A.· ·Let's do it.                                               ·5· with him before and when was that?
  ·6· · · ·Q.· ·Okay.· Well, my name is Don Schauer. I                     ·6· · · ·A.· ·It's approximately -- approximately about the
  ·7· represent AEP Texas in this case.· I have a few                      ·7· same amount of time.· It's probably been -- well, I'd
  ·8· questions for you today.                                             ·8· say about a month ago.
  ·9· · · ·A.· ·Sure.                                                      ·9· · · ·Q.· ·Okay.· About two or three hours you spent with
  10· · · ·Q.· ·Now, a while ago Mr. Swallow asked you what                10· him then too?
  11· you had done to prepare for your deposition, and you                 11· · · ·A.· ·Yeah.
  12· said something and I got to tell you, my hearing is not              12· · · ·Q.· ·Okay.· Any time before that?
  13· great.· What did you tell him?                                       13· · · ·A.· ·I think that's pretty much it.
  14· · · ·A.· ·As far as a deposition, I'm just going through             14· · · ·Q.· ·Okay.· So you spent a total of about four to
  15· my back knowledge from all the experience I've had                   15· six hours with him getting ready for the deposition; is
  16· throughout the years.                                                16· that right?
  17· · · ·Q.· ·Okay.· But did you -- did you look at any                  17· · · ·A.· ·Correct.
  18· documents before you got here today to remind yourself               18· · · ·Q.· ·Okay.· Let me get some information about you.
  19· what -- what had happened?                                           19· What is your date of birth?
  20· · · ·A.· ·No, I've already seen them.                                20· · · ·A.· ·8-16-1948.
  21· · · ·Q.· ·Okay.· Okay.· Who did you speak to before you              21· · · ·Q.· ·Okay.· So that makes you about 72?
  22· did your deposition today?· Did you speak -- I know you              22· · · ·A.· ·Correct.
  23· spoke with Mr. Cude because you rode around with him and 23· · · ·Q.· ·Okay.· All right, sir.· I think you've told us
  24· took photos, right?                                                  24· your address.· You said you've lived there about 11
  25· · · ·A.· ·Correct.                                                   25· years in that subdivision; is that correct?

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  ·1· · · ·A.· ·Correct.                                                    ·1· · · ·Q.· ·And I think you were asked when you wrote it
  ·2· · · ·Q.· ·Okay.· Now, you told us about the work you did              ·2· and you couldn't remember, but Jonathan, if you'll
  ·3· for Mr. Cude on this house.· Had you ever done any work ·3· scroll down to the bottom.
  ·4· for him before you worked on that house?                              ·4· · · ·A.· ·That's the paper I signed.
  ·5· · · ·A.· ·No.                                                         ·5· · · ·Q.· ·Yeah.· Well, you see it's notarized on October
  ·6· · · · · · · · ·MR. SCHAUER:· Okay.· Now, Jonathan, if                 ·6· 30th, 2019.· Do you see that?
  ·7· you'll pull up Exhibit Number 1.                                      ·7· · · ·A.· ·Yes.
  ·8· · · · · · · · ·THE VIDEOGRAPHER:· Sure, just a moment.                ·8· · · ·Q.· ·Does that re- -- kind of refresh your memory
  ·9· · · · · · · · ·MR. SCHAUER:· Okay.                                    ·9· as to when you signed this?
  10· · · · · · · · ·THE VIDEOGRAPHER:· Ah.· Okay, there we                 10· · · ·A.· ·Yes, I remember signing that.
  11· go.· Okay.· Can you guys see that okay?                               11· · · ·Q.· ·Okay.· Who prepared this document?
  12· · · · · · · · ·MR. SCHAUER:· Yeah, I can.                             12· · · ·A.· ·I think Mr. Cude did.
  13· · · · · · · · ·And, Sandy, I don't know how you want to               13· · · ·Q.· ·Mr. Cude typed it up for you?
  14· do this.· I guess you could just do this Defense Exhibit              14· · · ·A.· ·Yes.· I don't type.
  15· 1.· I don't know.                                                     15· · · ·Q.· ·Okay.· And do you know the reason you -- you
  16· · · · · · · · ·THE REPORTER:· Yes, that would be fine.                16· signed this document on October 30, 2019?· What was the
  17· · · · · · · · ·MR. SCHAUER:· Okay.                                    17· purpose?
  18· · · ·Q.· ·(BY MR. SCHAUER)· Mr. Winkfein, this is a                   18· · · ·A.· ·This -- what's going on today, this
  19· cross-notice of your deposition with a subpoena attached 19· deposition.
  20· to it.· Have you ever seen this document?                             20· · · ·Q.· ·Well, did -- well, did Mr. Cude tell you that
  21· · · ·A.· ·I can't say that I have.                                    21· at the time the lawsuit had not been filed?
  22· · · ·Q.· ·Okay.· Jonathan, if you'll scroll down to                   22· · · ·A.· ·I thought it was already being filed.· I have
  23· the -- the page that's attached.· Keep going.· There you              23· no recollection of that.
  24· go.                                                                   24· · · ·Q.· ·Okay.· But was your understanding you were
  25· · · · · · · · ·Mr. Winkfein, this is a list of documents              25· doing this because of a lawsuit?

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  ·1· that you were asked to bring with your deposition today               ·1· · · ·A.· ·Yes.
  ·2· or supply before your deposition.· Have you ever                      ·2· · · ·Q.· ·Okay.· So I think --
  ·3· reviewed this list?                                                   ·3· · · · · · · · ·MR. SCHAUER:· Okay.· Jonathan, could you
  ·4· · · ·A.· ·Let me look here just a minute.                             ·4· come back up to the body of it, please?· Okay.· That's
  ·5· · · ·Q.· ·Sure.                                                       ·5· good.· That's good.· That's good.
  ·6· · · ·A.· ·I think I signed some paper for this one time.              ·6· · · ·Q.· ·Okay.· So I want to go through this -- this
  ·7· · · ·Q.· ·Okay.· You were asked to bring these documents ·7· first one you have here.· It says, of course, that when
  ·8· today.· As far as you know, have you brought everything               ·8· he purchased the house.· Now, you've told us you did
  ·9· that's listed in this list?                                           ·9· this work in 2011; is that correct?
  10· · · ·A.· ·I don't have anything like that on me                       10· · · ·A.· ·Correct.
  11· personally, no.                                                       11· · · ·Q.· ·Had he just purchased the house in 2011?
  12· · · ·Q.· ·Okay.· But when you say personally, you don't               12· · · ·A.· ·It was -- he had -- it was in 2011 but it was
  13· have it with you right there at Mr. Cude's house, but is              13· prior to when this happened.
  14· some of this stuff you think could be at your home?                   14· · · ·Q.· ·Wait a minute.· I'm not sure I understand.
  15· · · ·A.· ·I don't have it in my home.                                 15· Oh, he -- you mean to tell me he had purchased the house
  16· · · ·Q.· ·You don't have anything in your home?                       16· before 2011?
  17· · · ·A.· ·No.                                                         17· · · ·A.· ·Well, he had purchased the house before I even
  18· · · · · · · · ·MR. SCHAUER:· Okay.· All right.· Okay.                 18· went over to his house to install that new service.
  19· Let's go to -- let's go to Exhibit 2, Jonathan, please.               19· · · ·Q.· ·Yeah.· Well, I know -- you told us you did
  20· · · · · · · · ·THE VIDEOGRAPHER:· Okay.· Just a second. 20· that new service at -- at what time?
  21· Okay.· Here it is.                                                    21· · · ·A.· ·It was after that time when he bought that
  22· · · ·Q.· ·Okay.· Now, Mr. Winkfein, I think we looked at              22· house, whenever he bought the house.· I don't know
  23· this a while ago.· This is your first report.· Do you                 23· exactly what the date was when he bought that house.
  24· remember this?                                                        24· · · ·Q.· ·Okay.· When you first went over there to -- to
  25· · · ·A.· ·Yes.                                                        25· do the work, what did the house look like?


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  ·1· · · ·A.· ·The electrical panel -- panel outside, the                  ·1· · · ·Q.· ·Why was it necessary to install a 200-amp
  ·2· service was a mess.                                                   ·2· rather than a 100-amp?
  ·3· · · ·Q.· ·Okay.· Had somebody lived there before him                  ·3· · · ·A.· ·Everything in that house and things he was
  ·4· lately?                                                               ·4· projected to add onto that house.
  ·5· · · ·A.· ·I think there was somebody there prior to                   ·5· · · ·Q.· ·Okay.· So he told you what his future plans
  ·6· that, yes.                                                            ·6· were and it was going to necessitate something greater
  ·7· · · ·Q.· ·Was he living in the house at the time you                  ·7· than a hundred-amp box?
  ·8· went over there to look at it the first time?                         ·8· · · ·A.· ·Yes.
  ·9· · · ·A.· ·Well, Cude was.                                             ·9· · · ·Q.· ·Did he tell you what he intended to put in
  10· · · ·Q.· ·Okay.· So he didn't have the house that you're              10· there?
  11· sitting in right now at the time or did he?                           11· · · ·A.· ·Just a bunch of equipment for woodworking and
  12· · · ·A.· ·The house I'm sitting in right now, he did                  12· sanding and things of that type.
  13· have this house.                                                      13· · · ·Q.· ·Okay.· Now, it says that the panel was
  14· · · ·Q.· ·Okay.· So he had the one you're sitting in and              14· grounded according to Texas code to a ground rod.· And
  15· he had the one that burned down, both, correct?                       15· when you say Texas code, you're talking about the
  16· · · ·A.· ·Correct.                                                    16· National Electric Code, right?
  17· · · ·Q.· ·Did they -- did he buy them at the same time,               17· · · ·A.· ·Right.
  18· or do you know?                                                       18· · · ·Q.· ·Okay.· Now, tell us, what's the purpose of the
  19· · · ·A.· ·He didn't buy them at the same time.· He                    19· ground rod?
  20· bought the one I'm sitting in first.                   20· · · ·A.· ·It takes ground fault that you have -- if you
  21· · · ·Q.· ·Okay.· And did you know him before he bought 21· have ground faults in your house, it takes your grounds
  22· that second house?                                                    22· to the ground.
  23· · · ·A.· ·Excuse -- excuse me -- excuse -- excuse me 23· · · ·Q.· ·In other words, the power is directed into the
  24· just a minute.                                       24· ground rather than the house?
  25· · · · · · · · ·(Phone interruption.)                                  25· · · ·A.· ·Correct.

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  ·1· · · ·A.· ·Sure.· My nurse.                                            ·1· · · ·Q.· ·Okay.· What section of the NEC, National
  ·2· · · ·Q.· ·Okay.                                                       ·2· Electric Code, governs the grounding of a panel like
  ·3· · · ·A.· ·Yeah, I knew him -- I knew him when he had                  ·3· that with a ground rod?
  ·4· this house, and I knew him when he bought that house.                 ·4· · · ·A.· ·Article 250.
  ·5· · · ·Q.· ·Okay.· Did -- did you -- did you go down and                ·5· · · ·Q.· ·Okay.· What type of rod is required?
  ·6· look at that house before he purchased it?                            ·6· · · ·A.· ·A 5/8 by 8 foot ground rod.
  ·7· · · ·A.· ·No.                                                         ·7· · · ·Q.· ·And where is it supposed to be installed?
  ·8· · · ·Q.· ·Okay.· When you went down there to work on it,              ·8· · · ·A.· ·Right below the meter.
  ·9· when he asked you to do the work on it, did you go                    ·9· · · ·Q.· ·Did the old service entrance have a ground rod
  10· inside the house?                                                     10· installed?
  11· · · ·A.· ·Yes.                                                        11· · · ·A.· ·I don't think it did.· It's got one now, or it
  12· · · ·Q.· ·What did it look like in there?                             12· did have one.· But it's still in the ground.
  13· · · ·A.· ·It's just a house that's been sitting there                 13· · · ·Q.· ·Well, that's what I was going to ask you.· Did
  14· for quite awhile.· I don't think anybody has lived in                 14· you install a new -- a new ground rod?
  15· there in a while, but there was people that was living                15· · · ·A.· ·Yes.
  16· in it.· I think they was wrestlers, according to                      16· · · ·Q.· ·Okay.· So you put in a new panel in the same
  17· Mr. Cude.· I don't know that far back.· And we went                   17· location as the old one; is that correct?
  18· around looking at the inside, outside.· And I told him                18· · · ·A.· ·Correct.
  19· he needed to replace that outside panel because that     19· · · ·Q.· ·Okay.· Did you use the same weatherhead and
  20· was -- something -- a very bad panel box which needed to 20· the same riser, or did you install new ones?
  21· be corrected.                                                         21· · · ·A.· ·Installed new.
  22· · · ·Q.· ·Okay.· Now, you say in your report here that                22· · · ·Q.· ·Okay.· How about the meter enclosure, did you
  23· you installed a 200-amp Cutler hammer main panel,                     23· reuse the one that was there or you instill a new meter
  24· correct?                                                              24· enclosure?
  25· · · ·A.· ·Correct.                                                    25· · · ·A.· ·New -- new one.

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  ·1· · · ·Q.· ·Okay.· Was the meter still inserted in the                  ·1· is that correct?
  ·2· meter enclosure when you started working on it?                       ·2· · · ·A.· ·That's correct.
  ·3· · · ·A.· ·It was removed from AEP.                                    ·3· · · ·Q.· ·Okay.· Now, you were talking about installing
  ·4· · · ·Q.· ·So you're telling me AEP had come out and                   ·4· the ground rod.· Tell us how you installed and where you
  ·5· removed the meter?                                                    ·5· installed that ground rod.
  ·6· · · ·A.· ·Right.                                                      ·6· · · ·A.· ·Right below that meter.
  ·7· · · · · · · · ·MR. SCHAUER:· Okay.· Now, let me ask.                  ·7· · · ·Q.· ·And how do you install it?· What do you attach
  ·8· Jonathan, will you go to Exhibit 3, please?                           ·8· to it?
  ·9· · · · · · · · ·THE VIDEOGRAPHER:· Yes, just a second.                 ·9· · · ·A.· ·I attached the ground wire that's coming out
  10· · · ·Q.· ·(BY MR. SCHAUER)· Okay.· Do you remember, 10· of that meter, and I take it to a piece of conduit
  11· we've looked at this Mr. Winkfein, correct?                           11· fastened to the wall, and the ground rod itself I used
  12· · · ·A.· ·Correct.                                                    12· like I used for fence post drivers.· I'd drive it down
  13· · · ·Q.· ·And this is a photo that Mr. Cude took of his               13· so far with that and I use a sledge hammer to get it
  14· panel, right?                                                         14· down, within a couple inches of the service, and I
  15· · · ·A.· ·Right.                                                      15· attach a ground flat to that ground wire to the ground.
  16· · · ·Q.· ·Okay.· Can you tell if this -- right after you              16· · · ·Q.· ·Okay.· The ground wire you attached to the
  17· installed it, or was it taken later, or do you know?                  17· ground rod underneath the meter enclosure, we can't see
  18· · · ·A.· ·I don't know when he took that picture.                     18· that in this photo, can we?
  19· · · ·Q.· ·Okay.· Well, just so we can get oriented for                19· · · ·A.· ·No.
  20· the folks on the jury, the meter -- the meter enclosure               20· · · ·Q.· ·Okay.· Now, the two black wires we talked
  21· or some people call the meter can, is over here on the                21· about that go up to the top of the meter and loop
  22· right-hand side, correct?                                             22· around, those are inserted into that surge protector; is
  23· · · ·A.· ·Correct.                                                    23· that correct?
  24· · · ·Q.· ·And so you're telling me that at the time you               24· · · ·A.· ·That's going into a main 200-amp breaker.· The
  25· put this in -- well, there's no meter because you put in              25· surge protector is going off another breaker inside that

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  ·1· a new meter enclosure, right?                                         ·1· panel.
  ·2· · · ·A.· ·Right.                                                      ·2· · · ·Q.· ·Okay.· Well, the surge protector is that thing
  ·3· · · ·Q.· ·Okay.· So the whole house was de-energized by               ·3· with the blue and red at the top, correct?
  ·4· that time, right?                                                     ·4· · · ·A.· ·That top breaker is the main breaker for that
  ·5· · · ·A.· ·Right.                                                      ·5· panel.
  ·6· · · ·Q.· ·Do you know when the matter was pulled?                     ·6· · · ·Q.· ·Okay.
  ·7· · · ·A.· ·I think it was about the same day I put this                ·7· · · ·A.· ·That's not a surge protector.
  ·8· on.· Just made a phone call and they come out and pulled ·8· · · ·Q.· ·Where is the surge protector located?
  ·9· it.                                                                   ·9· · · ·A.· ·It's probably at the bottom of that panel box.
  10· · · ·Q.· ·Okay.· So AEP came out and pulled the meter                 10· · · ·Q.· ·Oh, we can't see that either?
  11· because the meter belongs to them, right?                             11· · · ·A.· ·No.
  12· · · ·A.· ·Right.                                                      12· · · ·Q.· ·Okay.
  13· · · ·Q.· ·But everything else over here belongs to the                13· · · · · · · · ·MR. SCHAUER:· Jonathan, can you scroll
  14· customer, correct?                                                    14· up?· Other way.
  15· · · ·A.· ·Right.                                                      15· · · ·Q.· ·(BY MR. SCHAUER)· I don't see anything in the
  16· · · ·Q.· ·Okay.· Now, if we look in the -- at the bottom              16· bottom there, Mr. Winkfein.
  17· we see there are three wires that are coming from the                 17· · · ·A.· ·It's there; you just can't see it.
  18· meter enclosure into the new breaker box you installed,               18· · · ·Q.· ·Well, you said it's on the bottom of the meter
  19· correct?                                                              19· -- excuse me, on the bottom of the breaker box?
  20· · · ·A.· ·Correct.                                                    20· · · ·A.· ·It was.· That -- that may have been installed
  21· · · ·Q.· ·The two black wires that go up to the very                  21· after that picture was taken.
  22· top, those are hot legs, right, those are hot wires.                  22· · · ·Q.· ·Okay.· But let's make sure I understand.· So
  23· · · ·A.· ·Right.                                                      23· if you'd -- you'd installed this surge protector at the
  24· · · ·Q.· ·And the green, this -- it's not very good on                24· bottom, you'd lay it on the bottom of the meter box?
  25· this, but I think it's a green wire, is the ground wire;              25· · · ·A.· ·No.

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  ·1· · · ·Q.· ·I'm sorry, the breaker box.                                ·1· back to Exhibit 2 which is the photo of the breaker box.
  ·2· · · ·A.· ·It'd be under the breaker box.                             ·2· · · · · · · · ·THE VIDEOGRAPHER:· Okay.· Just a second.
  ·3· · · ·Q.· ·Okay.                                                      ·3· This is Exhibit 2.· I don't see a box in here.
  ·4· · · ·A.· ·Your breaker is -- it goes to a breaker inside             ·4· · · · · · · · ·MR. SCHAUER:· And I was wrong.· That's --
  ·5· that panel.                                                          ·5· that's the one I want.· That's the one I want.· I'm
  ·6· · · ·Q.· ·And is it connected to the wires that are                  ·6· sorry.
  ·7· coming in from the meter can?                                        ·7· · · · · · · · ·THE VIDEOGRAPHER:· Okay, no problem.
  ·8· · · ·A.· ·No.· It just goes onto the bus bar inside that             ·8· · · ·Q.· ·(BY MR. SCHAUER)· Okay.· Okay.· So I'm going
  ·9· panel.                                                               ·9· to go a little further down here now.· The second
  10· · · ·Q.· ·Okay.· And so how does the -- how does the                 10· paragraph, Mr. Winkfein.· You said while inspecting the
  11· surge protector work?                                                11· house after the fire, I discussed discovered melted
  12· · · ·A.· ·If you have any kind of surge, it is supposed              12· triplex wires laying across the driveway.· Said triplex,
  13· to trip that main breaker.                                           13· it also landed upon one vehicle causing it to explode
  14· · · ·Q.· ·Okay.· And the main -- tripping the main                   14· and burn as well, along with a large wooden fence.
  15· breaker cuts all the electricity to the household,                   15· · · · · · · · ·When you observed this, was the triplex
  16· correct?                                                             16· still attached to the home?
  17· · · ·A.· ·Correct.                                                   17· · · ·A.· ·They had a short piece where it had burned in
  18· · · ·Q.· ·Okay.                                                      18· half.
  19· · · · · · · · ·MR. SCHAUER:· Jonathan, with you bring up             19· · · ·Q.· ·So you're telling me it was not attached to
  20· Exhibit 5, please?                                                   20· the home because it burnt in half, correct?
  21· · · · · · · · ·THE VIDEOGRAPHER:· Just a second.· Okay. 21· · · ·A.· ·It was attached to the home, but it burned in
  22· · · ·Q.· ·(BY MR. SCHAUER)· Now, Mr. Winkfein, this is               22· half when it had the fire from that triplex.
  23· some information I got off of Eaton's website, and it's              23· · · ·Q.· ·And that's what I'm trying to understand.
  24· talking about their whole house surge protectors.                    24· When you went there and saw it the next day or whenever
  25· That's what you installed, correct?                                  25· you went, I think you said a couple of days, the triplex

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  ·1· · · ·A.· ·That's correct.                                            ·1· was no longer attached to the home, correct?
  ·2· · · ·Q.· ·And it says here in yellow, the Eaton surge                ·2· · · ·A.· ·Correct.
  ·3· products are designed to provide protection at the point             ·3· · · ·Q.· ·Okay.· It -- but it was still attached to the
  ·4· of entrance to the home.· Excuse me.                                 ·4· -- the service pole, correct?
  ·5· · · · · · · · ·Protection at this location can reduce                ·5· · · ·A.· ·Part of it.
  ·6· surges entering the home to an acceptable level for your ·6· · · ·Q.· ·Well, it was coming down the service pole and
  ·7· home electronics and appliances.· Is that what that                  ·7· hanging on the ground, wasn't it?
  ·8· says?                                                                ·8· · · ·A.· ·Yeah.
  ·9· · · ·A.· ·That's exactly what it says.                               ·9· · · ·Q.· ·Okay.· Now, when you went over there to
  10· · · ·Q.· ·And the next one says, Installation of these               10· inspect the house, why did you go over there?· Did
  11· devices at the service entrance panel, which is where                11· Mr. Cude ask you to do that?
  12· you installed it, correct?                                           12· · · ·A.· ·I just went over to see what the damage was.
  13· · · ·A.· ·Correct.                                                   13· · · ·Q.· ·Okay.· Did you take any evidence or anything
  14· · · ·Q.· ·Will provide surge protection for your entire              14· from the fire scene?
  15· home.· Right?                                                        15· · · ·A.· ·No.
  16· · · ·A.· ·Right.                                                     16· · · ·Q.· ·Okay.· Were you with Mr. Cude when he took the
  17· · · ·Q.· ·Okay.· So that was your intent for putting                 17· breaker panel from the fire scene?
  18· this in, was to protect that home from any electrical                18· · · ·A.· ·No.
  19· surges that came into the box, correct?                              19· · · ·Q.· ·And you were asked about what happened to the
  20· · · ·A.· ·Correct.                                                   20· individual breakers.· You said they just burned up?
  21· · · ·Q.· ·Okay.· Let me ask you, did you suggest that to             21· · · ·A.· ·Yes.
  22· Mr. Cude, or did Mr. Cude request you put that in?                   22· · · ·Q.· ·But when you were there that day the first
  23· · · ·A.· ·He requested that.                                         23· time, was the breaker panel there, or had he already
  24· · · ·Q.· ·Okay.                                                      24· taken it or do you remember?
  25· · · · · · · · ·MR. SCHAUER:· Jonathan, if you'll go now              25· · · ·A.· ·I don't see him taking it that particular day,


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  ·1· and I wasn't looking -- I didn't see that panel laying           ·1· · · ·Q.· ·But you told him it was stretched too tight
  ·2· there at the time.                                               ·2· you just told us.
  ·3· · · ·Q.· ·Okay.                                                  ·3· · · ·A.· ·Yes.· And he told me the same thing his self.
  ·4· · · ·A.· ·I was mainly in the part that burned down just ·4· · · ·Q.· ·So he knew at that time right after the
  ·5· looking around through the rubble.                               ·5· replacement of the pole that there could have been
  ·6· · · ·Q.· ·Okay.· And I -- I guess I'm not sure what you          ·6· something wrong with the triplex.· Is that what you're
  ·7· said.· You didn't look for the breaker panel so you              ·7· telling me?
  ·8· don't know if it was still there that day?                       ·8· · · ·A.· ·He's telling me that something is wrong with
  ·9· · · ·A.· ·I don't know if it was or not.                         ·9· the triplex because it was stretched too long.
  10· · · ·Q.· ·Okay.· All right.· So we're going down a               10· · · ·Q.· ·Okay.· All right.
  11· little further and it says, When the service pole was            11· · · · · · · · ·MR. SCHAUER:· Jonathan, if you'll go back
  12· replaced some two months prior to the fire, the aerial           12· now to Exhibit 3, which is that photo, please.
  13· triplex was mechanically stretched beyond its limits.            13· · · · · · · · ·THE VIDEOGRAPHER:· Okay.
  14· Okay?                                                            14· · · ·Q.· ·(BY MR. SCHAUER)· All right.· We're back at
  15· · · ·A.· ·Okay.                                                  15· Exhibit 3.· We're looking at this -- this breaker box
  16· · · ·Q.· ·Did you see the service pole being replaced            16· that you installed, Mr. Winkfein.
  17· after the hurricane Harvey?                                      17· · · · · · · · ·Now, the two black wires that are going
  18· · · ·A.· ·Yes.                                                   18· in the top here, okay --
  19· · · ·Q.· ·You were there when they were actually                 19· · · ·A.· ·Correct.
  20· replacing it?                                                    20· · · ·Q.· ·-- are those Number 4?
  21· · · ·A.· ·Yes.                                                   21· · · ·A.· ·These two ought wires.
  22· · · ·Q.· ·And you were there when he was taking the              22· · · ·Q.· ·Okay.· Two ought.· Okay.· The voltage between
  23· photos?· Was that Mr. Cude taking the photos?                    23· one of those black wires and a ground is 120 volts,
  24· · · ·A.· ·Correct.                                               24· right?
  25· · · ·Q.· ·Okay.· So you were there when it was being             25· · · ·A.· ·Right.

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  ·1· replaced, and you're saying they replaced it, the one            ·1· · · ·Q.· ·The voltage between the two black wires is
  ·2· that was there, because that one was there was rotten,           ·2· 240, right?
  ·3· or was it because of the hurricane had damaged it?               ·3· · · ·A.· ·Right.
  ·4· · · ·A.· ·I think a little of both.                              ·4· · · · · · · · ·MR. SCHAUER:· Jonathan, will you scroll
  ·5· · · ·Q.· ·Okay.· So were you there when they finished            ·5· up to the bottom, please?
  ·6· replacing the pole and re-putting up the triplex?                ·6· · · · · · · · ·THE VIDEOGRAPHER:· Sure.
  ·7· · · ·A.· ·I was there when they had the pole installed.          ·7· · · ·Q.· ·(BY MR. SCHAUER)· Now, do you see those white
  ·8· I come over there after they had the triplex already             ·8· -- white wires down here in the corner, in the bottom?
  ·9· stretched out.                                                   ·9· · · ·A.· ·Yeah.
  10· · · ·Q.· ·Okay.· You came over there later.· How many            10· · · ·Q.· ·What circuit in the house is that for?
  11· days later after the pole was installed?                         11· · · ·A.· ·They used to go to an air conditioner, and
  12· · · ·A.· ·He installed about two or three days.                  12· they're not -- they wouldn't splay [sic] that particular
  13· · · ·Q.· ·Okay.· Did you notice anything unusual about           13· air conditioner anymore, so they just rolled up.
  14· the triplex at that time?                                        14· · · ·Q.· ·Well, are they going anywhere into the house
  15· · · ·A.· ·It was stretched too tight.                            15· or not?
  16· · · ·Q.· ·Did you tell anything -- did you tell Mr. Cude         16· · · ·A.· ·No, it was -- they was going to the outside
  17· about that?                                                      17· air conditioning unit around that conduit.· It was
  18· · · ·A.· ·Yes.                                                   18· disconnected.
  19· · · ·Q.· ·What did he say?                                       19· · · ·Q.· ·So you're not -- you aren't using these wires
  20· · · ·A.· ·Nothing to me.· I don't know if he got back            20· for anything in his house after that.
  21· the day he came or not.                                          21· · · ·A.· ·No.
  22· · · ·Q.· ·Okay.· Would you have expected him to if he            22· · · ·Q.· ·Okay.· All right.· Just so we know that the
  23· had found a problem?                                             23· greatest voltage you can get into this house is 240
  24· · · ·A.· ·If he ever found a problem and know what he's 24· volts, right?
  25· looking at, he would have called AEP.                            25· · · ·A.· ·Well, 240 volts is a flex (unintelligible) the


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  ·1· curve.· It will go up a little bit and then come down a              ·1· it up and you signed it; is that correct?
  ·2· little bit.                                                          ·2· · · ·A.· ·That's correct.
  ·3· · · ·Q.· ·Well, it's 240 volts nominal.· It may go up a              ·3· · · ·Q.· ·Okay.· It doesn't have a date on it so I'm --
  ·4· little bit, you know, five volts either way, correct?                ·4· I'm wondering if you know when you signed this.
  ·5· · · ·A.· ·Correct.                                                   ·5· · · ·A.· ·This has probably been -- this may not -- I'd
  ·6· · · ·Q.· ·But we're not going to get much over 240, 245              ·6· probably say about a year, two years ago.
  ·7· volts, right?                                                        ·7· · · · · · · · ·MR. SCHAUER:· Okay.· Jonathan, can you
  ·8· · · ·A.· ·That's the way it should be.                               ·8· scroll -- scroll down a little bit, please?· All right.
  ·9· · · ·Q.· ·And that's because that's the service --                   ·9· Right there.· That's correct.· Stop.· Please.· Thank
  10· that's what comes from the transformer, right?                       10· you.
  11· · · ·A.· ·Right.                                                     11· · · ·Q.· ·(BY MR. SCHAUER)· Now, this last paragraph on
  12· · · ·Q.· ·Okay.                                                      12· this first page -- and I think you've told us you
  13· · · · · · · · ·MR. SCHAUER:· Okay.· Jonathan, will you               13· inspected this whole house inside and out, correct?
  14· go to Exhibit Number 6, please?                                      14· · · ·A.· ·Correct.
  15· · · · · · · · ·THE VIDEOGRAPHER:· Yes.· Okay.                        15· · · ·Q.· ·And you replaced -- I thought you said you
  16· · · ·Q.· ·(BY MR. SCHAUER)· Okay.· You remember this -- 16· replaced some of the switches and some of the
  17· this photograph that we looked at earlier, Mr. Winkfein?             17· receptacles.· Did you replace every one of them?
  18· · · ·A.· ·Yes.                                                       18· · · ·A.· ·No.
  19· · · ·Q.· ·Okay.· And I think this photo was taken by                 19· · · ·Q.· ·Okay.· So this is -- this is not -- this is
  20· Mr. Cude; is that correct?                                           20· not correct then, correct?
  21· · · ·A.· ·That would be correct.                                     21· · · ·A.· ·Well, some of them did not need replacing.
  22· · · ·Q.· ·Okay.· Now, this is part of a distribution                 22· Some of them did.
  23· system, correct?                                                     23· · · ·Q.· ·Okay.· But you didn't replace all of them in
  24· · · ·A.· ·Correct.                                                   24· the house, right?
  25· · · ·Q.· ·Is this a delta or a Y distribution system?                25· · · ·A.· ·Right.

                                                                Page 146                                                                  Page 148
  ·1· · · ·A.· ·Y.                                                         ·1· · · ·Q.· ·Okay.· And it says here you put in the surge
  ·2· · · ·Q.· ·And it's Y because what?                                   ·2· protector at the request of Mr. Cude; is that correct?
  ·3· · · ·A.· ·It's just got one line going to it that you                ·3· · · ·A.· ·That's correct.
  ·4· don't have no piling on this particular transformer.                 ·4· · · ·Q.· ·Okay.· All right.· Now, you didn't replace any
  ·5· · · ·Q.· ·But it's also got a ground, doesn't it?                    ·5· of the Romex in the walls, right?
  ·6· · · ·A.· ·Yes.                                                       ·6· · · ·A.· ·Right.
  ·7· · · ·Q.· ·And that's what makes it a Y distribution                  ·7· · · ·Q.· ·Okay.· So you used the same wiring, correct?
  ·8· system rather than a delta, correct?                                 ·8· · · ·A.· ·Correct.
  ·9· · · ·A.· ·That and the windings in that transformer.                 ·9· · · ·Q.· ·Okay.· Did -- did he pay for all the material,
  10· · · ·Q.· ·Okay.· But this has -- this particular setup               10· or did you have to buy it and get money back from him?
  11· is a Y distribution system with a ground, right?                     11· · · ·A.· ·I bought the wire at my supply house and Walt
  12· · · ·A.· ·Right.                                                     12· reimbursed me on it.
  13· · · ·Q.· ·Okay.· I want to go to your second report now.             13· · · ·Q.· ·It says at the very last sentence, I also
  14· · · · · · · · ·MR. SCHAUER:· Jonathan, would you pull up             14· installed a Cutler hammer sub panel for the shop area.
  15· Exhibit Number 7?                                                    15· And we -- we've sort of talked about that, haven't we?
  16· · · · · · · · ·THE VIDEOGRAPHER:· Okay, just a second.               16· · · ·A.· ·Yeah.
  17· Okay.                                                                17· · · ·Q.· ·Okay.· Why was the subpanel needed?
  18· · · ·Q.· ·(BY MR. SCHAUER)· Okay.· Mr. Winkfein, this is 18· · · ·A.· ·As far as work area, he was going to install
  19· your second report, correct?                                         19· some of the scenery in that area.· The only thing I did
  20· · · ·A.· ·I recall seeing this, yes.                                 20· out there was hooked up an air compressor and added two
  21· · · ·Q.· ·Okay.· Well, actually, when did you write                  21· or three receptacles in that area where he can plug in
  22· this?· Do you know?                                                  22· extension cords.
  23· · · ·A.· ·I didn't write it.· I think Mr. Cude wrote                 23· · · ·Q.· ·Well, I guess the question is why would he
  24· this and typed it up.                                                24· have needed a subpanel?· Why couldn't he have just used
  25· · · ·Q.· ·Okay.· So he typed -- he -- he wrote it, typed             25· the receptacles in the house?


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  ·1· · · ·A.· ·He had equipment.· He was going to have like   ·1· inspect the house?
  ·2· bandsaws, tablesaws.· That's something you use outside. ·2· · · ·A.· ·They just check all the service is what they
  ·3· You don't normally take that inside of a house.          ·3· do down at the meter.· That's the only thing they
  ·4· · · ·Q.· ·Are you -- are you telling us the load was     ·4· inspect.
  ·5· going to be heavier out there?                           ·5· · · ·Q.· ·You're saying the only thing they inspect is
  ·6· · · ·A.· ·No, I'm telling you that you just don't use    ·6· at the meter.· Is that what you just said?
  ·7· that type of equipment inside of a house.· You work --   ·7· · · ·A.· ·Correct.
  ·8· you use that out -- out in an area where it's not inside ·8· · · ·Q.· ·Okay.· And everything else beyond that you
  ·9· the house.· There's too much metal or dust lying around. ·9· inspected, correct?
  10· · · ·Q.· ·Okay.· And you said that you hooked up an air  10· · · ·A.· ·Correct.
  11· compressor and a bandsaw?                                11· · · ·Q.· ·Okay.· Were you there when they plugged the
  12· · · ·A.· ·Only thing I hooked up in that moment was a    12· meter in?
  13· air compressor and a couple of receptacles where he can 13· · · ·A.· ·No, I wasn't.
  14· plug an extension in for his grills.· That's the only    14· · · ·Q.· ·Okay.· Do you know what the tariff is?
  15· thing that was installed in that.                        15· · · ·A.· ·Tariff?
  16· · · ·Q.· ·Did -- did you see a kiln in there?            16· · · ·Q.· ·Have you ever heard of the tariff, utility
  17· · · ·A.· ·There was one there but it was not installed   17· tariff?
  18· or hooked up.                                            18· · · ·A.· ·Not right offhand, no.
  19· · · ·Q.· ·Okay.· Do you know why there was a kiln in     19· · · ·Q.· ·Okay.· Okay.· And I think you told us that
  20· there?                                                   20· Live Oak County does not have an inspector for out in
  21· · · ·A.· ·He had bought a (unintelligible).· He was      21· the rural areas; is that correct?
  22· selling a lot of things since he moved.                  22· · · ·A.· ·That's correct.
  23· · · ·Q.· ·Okay.· Was the kiln an electric kiln?          23· · · ·Q.· ·So no one inspected your work, right?
  24· · · ·A.· ·It was electric.                               24· · · ·A.· ·Right.
  25· · · ·Q.· ·Was everything in the house electric?          25· · · ·Q.· ·Okay.· Now, the second sentence says, I

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  ·1· · · ·A.· ·Yes.                                                     ·1· further inspected the existing meter panel.· You mean
  ·2· · · ·Q.· ·Was there any provision for any type of                  ·2· the meter enclosure?
  ·3· natural gas or propane?                                            ·3· · · ·A.· ·Yes.
  ·4· · · ·A.· ·I don't think so.                                        ·4· · · ·Q.· ·Is that what that is?· Okay.
  ·5· · · ·Q.· ·Okay.                                                    ·5· · · · · · · · ·And determined that the wires inside
  ·6· · · · · · · · ·MR. SCHAUER:· Jonathan, if you'll scroll            ·6· protruding into the weatherhead had been present for
  ·7· up, please.· No, I'm sorry, down.· I'm sorry, Jonathan.            ·7· many years and showed signs of corona.· Do you see that?
  ·8· Right there.· No, no.· I just want to get to the top.              ·8· · · ·A.· ·Yes.
  ·9· That -- okay, that's good, right there.                            ·9· · · ·Q.· ·Now, we talked about the maximum voltage
  10· · · ·Q.· ·(BY MR. SCHAUER)· Right there.· Right there.             10· gradient in these areas is 240 volts face-to-face,
  11· Okay.· Now, you say in this -- in this first full                  11· correct?
  12· paragraph that -- that AEP inspected the wiring and                12· · · ·A.· ·Correct.
  13· installed a new meter into the structure.· Do you see              13· · · ·Q.· ·Is it your testimony that corona effects occur
  14· that?                                                              14· at these voltages?
  15· · · ·A.· ·Yeah.                                                    15· · · ·A.· ·They affected any voltage.
  16· · · ·Q.· ·Well, you know AEP doesn't inspect the                   16· · · ·Q.· ·Any voltage.· Doesn't have to be high voltage.
  17· customer's equipment, correct?                                     17· It's your testimony that corona can be established at
  18· · · ·A.· ·Correct.                                                 18· any voltage; is that correct?
  19· · · ·Q.· ·So all AEP does is they come out, they make              19· · · ·A.· ·That's correct.
  20· sure their meter can looks good for the new meter and              20· · · ·Q.· ·Okay.· Now, you say you replaced the wiring
  21· they plug the new meter in, correct?                               21· from the meter up through the weatherhead.
  22· · · ·A.· ·That and they take -- make sure it's grounded 22· · · ·A.· ·Right.
  23· right.                                                  23· · · ·Q.· ·And this is before the meter was installed,
  24· · · ·Q.· ·Well, they don't inspect it.· How are they               24· correct?
  25· going to -- how are they going to do that if they don't            25· · · ·A.· ·Correct.


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  ·1· · · ·Q.· ·Okay.· And then you talk about reconnecting               ·1· · · ·Q.· ·(BY MR. SCHAUER)· So I want to focus now on
  ·2· the wires coming out of the weatherhead with the                    ·2· that -- on that top paragraph here.· While inspecting
  ·3· triplex; is that correct?                                           ·3· the house after the fire, I discovered melted triplex
  ·4· · · ·A.· ·That's correct.                                           ·4· wires laying across the lawn and the driveway.· I also
  ·5· · · ·Q.· ·So when you did that, you're connecting                   ·5· saw the triplex which was connected to this weatherhead
  ·6· energized wires into the weatherhead, correct?                      ·6· melted, broken, and bent over what was left of his
  ·7· · · ·A.· ·Correct.                                                  ·7· house.
  ·8· · · ·Q.· ·Do you always do that?· Do you always connect             ·8· · · · · · · · ·Now, you told us before that the triplex
  ·9· the customer's wiring directly to the utility's hot                 ·9· melted in two, correct?
  10· lines?                                                              10· · · ·A.· ·Correct.
  11· · · ·A.· ·On some occasions I do.· And other cases I                11· · · ·Q.· ·So you've got half of it laying over by the
  12· don't.                                                              12· pole and half of it laying over by his weatherhead; is
  13· · · ·Q.· ·Okay.· Is it ever -- anyone ever pointed out              13· that correct?
  14· to you that you're not supposed to touch the utility's              14· · · ·A.· ·That is correct.
  15· lines?                                                              15· · · ·Q.· ·Okay.· And then when you stay that the triplex
  16· · · ·A.· ·It just depends what I'm working on at the                16· melted and fell from the house and on his vehicle,
  17· time.· I'll get their permission from the power company. 17· you're talking about the part of the triplex that was
  18· · · ·Q.· ·Did you get your permission from AEP in                   18· still connected to the service pole, correct?
  19· this -- in this case?                                               19· · · ·A.· ·It was connected to AEP's pole, yes.
  20· · · ·A.· ·Yes.                                                      20· · · ·Q.· ·Because otherwise, the rest of the house is
  21· · · ·Q.· ·Who did you talk to?                                      21· not energized anymore, correct?
  22· · · ·A.· ·I can't recall.                                           22· · · ·A.· ·Correct.
  23· · · ·Q.· ·You got on the phone and you called AEP and               23· · · ·Q.· ·Now, I think you told us you didn't take any
  24· said, I'm going to hook your lines up to this house?                24· photos.· All the photos we've seen were Mr. Cude's,
  25· · · ·A.· ·Yes.· I don't know who I talked to.                       25· right?

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  ·1· · · ·Q.· ·And was the meter already installed?                      ·1· · · ·A.· ·Right.
  ·2· · · ·A.· ·I didn't have -- it was installed at the time.            ·2· · · ·Q.· ·Were you there when he -- the first day you
  ·3· I didn't pull the meter out.                                        ·3· were there after the fire, was he there?
  ·4· · · ·Q.· ·Well, you told us the meter had been pulled               ·4· · · ·A.· ·Yes.
  ·5· before you did all your upgrades, correct?                          ·5· · · ·Q.· ·Did you suggest to him that he hire a fire
  ·6· · · ·A.· ·Yes.· And that's when I -- they came out and              ·6· expert to determine the cause and origin of the fire?
  ·7· pulled the meter out.· They didn't disconnect the lines             ·7· · · ·A.· ·No.
  ·8· up on top.· Could hardly see what the wires looked like. ·8· · · ·Q.· ·So let me ask you again.· Explain to us how
  ·9· · · ·Q.· ·But you said you disconnected them, correct?              ·9· the fire actually started.
  10· · · ·A.· ·I disconnected them, correct.                             10· · · ·A.· ·The wire -- the fire started in that triplex.
  11· · · ·Q.· ·And then you correct -- and the meter is now              11· It was on the wire.· The insulation was coming off
  12· in the meter can, correct?                                          12· with -- appears to me, and they all bonded together.
  13· · · ·A.· ·Not at that time.                                         13· And you had 240 volts going into each 120-volt line.· It
  14· · · ·Q.· ·Well, how -- how -- how much later after you              14· melted that meter out of there, because those are
  15· connected those wires at the top of the weatherhead did             15· plug-in heaters, but the neutral wire had 240 volts
  16· the meter get reinstalled?                                          16· going through it.· That's a solid bar that goes through
  17· · · ·A.· ·I think that same day.                                    17· that and it goes into that panel box.· That ignited
  18· · · ·Q.· ·But you didn't ask the people from AEP to                 18· everything inside that panel box and burned everything.
  19· disconnect or unconnect -- excuse me -- disconnect or               19· It was sending electric through all those conductors,
  20· reconnect the triplex to the weatherhead wires.· Is that            20· ran circuits going throughout his house.
  21· what you're telling us?                                             21· · · ·Q.· ·Okay.· So did you determine that the fire
  22· · · ·A.· ·That is correct.                                          22· started in the breaker panel?
  23· · · · · · · · ·MR. SCHAUER:· Okay.· Jonathan, if you'll             23· · · ·A.· ·No, it started out in the yard.
  24· scroll down a little bit this time.· There you go.                  24· · · ·Q.· ·Okay.· It didn't start inside the house.
  25· Right there.· Right there.· That's okay.                            25· · · ·A.· ·Correct.


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  ·1· · · ·Q.· ·It started in -- in -- in -- in the -- in the                 ·1· also when you're talking about the stretching of the --
  ·2· yard.· Is that what you're telling us?                                  ·2· of the triplex, that it was plain to see from the
  ·3· · · ·A.· ·Yeah.                                                         ·3· photographs Mr. Cude showed me.
  ·4· · · ·Q.· ·Okay.· And that -- and you said that's because                ·4· · · · · · · · ·Now, is one of those photographs the one
  ·5· the triplex wires arc between themselves, correct?                      ·5· we looked at a little while ago where the guys are up
  ·6· · · ·A.· ·Correct.                                                      ·6· there installing a new pole?
  ·7· · · ·Q.· ·Which means the insulation on the wires had to                ·7· · · ·A.· ·Correct.
  ·8· have been broken down and allow the wires to arc, right? ·8· · · ·Q.· ·And -- and the way -- and so you're telling me
  ·9· · · ·A.· ·Right.                                                        ·9· from that -- from that shot you can see the wires --
  10· · · · · · · · ·MR. SCHAUER:· Okay.· So if you'll scroll                 10· excuse me, the insulation cracked on that triplex?
  11· down again now, Jonathan, please.· Okay, right there.                   11· · · ·A.· ·I can't see that, no, I can't.
  12· Good.· Okay.                                                            12· · · ·Q.· ·Okay.· So from those photographs, what gives
  13· · · ·Q.· ·(BY MR. SCHAUER)· Okay.· So you say in the                    13· you the impression that they were stretched to the point
  14· first paragraph here that the arcing started about 20                   14· that they had actually cracked or fallen off the
  15· feet from the connection, I guess to the weatherhead; is                15· insulation?
  16· that correct?                                                           16· · · ·A.· ·They was stressed too tight.· That distance
  17· · · ·A.· ·That's correct.                                               17· should have at least a two-inch -- or two-foot loop in
  18· · · ·Q.· ·And how did you determine that?                               18· that thing where it was drooping down, going in not a
  19· · · ·A.· ·Just where the triplex come down at -- what                   19· straight shot because of the wind in this area.
  20· was left of it.                                                         20· · · ·Q.· ·Are you talking about a sag?
  21· · · ·Q.· ·Okay.· And -- and then -- again, this is where                21· · · ·A.· ·Yes.
  22· you talk about it was replaced two months before the                    22· · · ·Q.· ·Okay.· But I want to make sure we understand.
  23· fire and it was stretched and while replacing the                       23· The only reason you think that this triplex was cracked
  24· existing wires from the old pole to the new pole it --                  24· and the insulation might have been falling off was
  25· it stretched and I guess cracked the wires?                             25· because in those photos you see it -- you see it

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  ·1· · · ·A.· ·That wire has been there since I don't know                   ·1· stretched pretty tight, correct?
  ·2· when.· According to the transformer, the transformer was ·2· · · ·A.· ·Correct.
  ·3· built in 1964.· And I don't know how long that triplex                  ·3· · · ·Q.· ·That wasn't a problem until two months later
  ·4· has been there.· I have no data on that.                                ·4· and I think you mean the night of the fire, correct?
  ·5· · · ·Q.· ·Well, do you know when the transformer was set                ·5· · · ·A.· ·Correct.
  ·6· on that pole?                                                           ·6· · · ·Q.· ·Okay.· And you say that because the night of
  ·7· · · ·A.· ·I have no idea.· I didn't live here at that                   ·7· the fire there were gale force winds beginning to blow,
  ·8· time.                                                                   ·8· correct?
  ·9· · · ·Q.· ·Okay.· What makes you think they didn't                       ·9· · · ·A.· ·I wasn't up at that hour.
  10· replace the triplex at the time they replaced the pole?                 10· · · ·Q.· ·Well, I guess my question is how do you know
  11· · · ·A.· ·Walt Cude was here when they replaced it, the                 11· gale force winds were blowing?
  12· pole, but they did not replace the triplex.                             12· · · ·A.· ·I have no idea about that.· I wasn't up at
  13· · · ·Q.· ·Have you seen -- I'm sorry, go ahead.                         13· that time of day.· I never said there was gale force
  14· · · ·A.· ·He was watching them when they was doing it.                  14· winds up there.
  15· · · ·Q.· ·Have you seen the -- the records that have                    15· · · ·Q.· ·Well, let's look at this paragraph here, the
  16· been produced by AEP concerning the replacement of the                  16· second paragraph on the screen.· It says, The moment two
  17· pole?                                                                   17· months later when gale force winds began blowing the
  18· · · ·A.· ·No.                                                           18· wires around, the faults in the wire/insulation suddenly
  19· · · ·Q.· ·If they had a bill of material that listed the                19· affected themselves and began to arc and spark.
  20· triplex in there, would you agree -- would you agree                    20· · · · · · · · ·Now that's in your -- that's in your
  21· with me that they replaced the triplex then?                            21· report that you signed.· Are you telling me today you
  22· · · ·A.· ·I would agree with you, but I haven't seen                    22· have no idea of any -- how strong the winds were that
  23· anything.                                                               23· night?
  24· · · ·Q.· ·That's fair enough.· I understand.                            24· · · ·A.· ·I don't know how strong those winds are at
  25· · · · · · · · ·Now, you -- you told us in this report                   25· night.


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  ·1· · · ·Q.· ·Okay.· And you told us that Mr. Cude wrote                ·1· · · ·Q.· ·Well, let me ask you, did this arc on the
  ·2· this for you to sign, correct?                                      ·2· triplex occur between an energized phase in the
  ·3· · · ·A.· ·Yes.                                                      ·3· neutral --
  ·4· · · ·Q.· ·Did you read this before you signed it?                   ·4· · · ·A.· ·Yes.
  ·5· · · ·A.· ·I pretty much went through everything.                    ·5· · · ·Q.· ·-- or between two -- or between two energized
  ·6· · · ·Q.· ·Well, did you tell him that's not true, I                 ·6· phases?
  ·7· don't know anything about gale force winds?                         ·7· · · ·A.· ·All three of them.
  ·8· · · ·A.· ·I don't know about the gale force winds part.             ·8· · · ·Q.· ·Simultaneously or one -- did one happen
  ·9· I just skimmed through it all.                                      ·9· first?
  10· · · ·Q.· ·Okay.· All right.                                         10· · · ·A.· ·One probably started first and it got the
  11· · · ·A.· ·He's speaking of the gale force winds when                11· other one ignited.· They was all bonded together.
  12· hurricane Harvey came through.                                      12· · · ·Q.· ·Okay.· So if you know the impedance, you know
  13· · · ·Q.· ·Well, that was two months prior, correct?                 13· the voltage, you can calculate the amperage, correct?
  14· · · ·A.· ·I don't know specifically what date that was.             14· · · ·A.· ·Correct.
  15· · · ·Q.· ·Okay.· So let me make sure I understand.· So              15· · · ·Q.· ·Did you try to do that?
  16· the -- so the -- the winds didn't have anything to do               16· · · ·A.· ·No.
  17· with your theory that the arcing occurred in the                    17· · · ·Q.· ·Okay.· So you have no idea what current was
  18· triplex; is that correct?                                           18· flowing to the ground and through that breaker panel,
  19· · · ·A.· ·That's correct.                                           19· correct?
  20· · · ·Q.· ·Now, this fire started about 4 a.m. in the                20· · · ·A.· ·Correct.
  21· morning, correct?                                                   21· · · ·Q.· ·So let me ask you this.· If the electricity
  22· · · ·A.· ·That's what I was told.                                   22· went into Cude's house through the meter and through the
  23· · · ·Q.· ·Okay.· Do you know what the wind speed was at 23· breaker panel that you installed, why didn't the surge
  24· 4 o'clock in the morning that day?                      24· protector do its job and save the house?
  25· · · ·A.· ·I don't know.                                             25· · · ·A.· ·It all burned up.· You had 240 volts going

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  ·1· · · ·Q.· ·Okay.                                                     ·1· into that house.· Amperage didn't have a -- anything to
  ·2· · · ·A.· ·I don't get up at that time of day.                       ·2· do with this.· It was the voltage.
  ·3· · · ·Q.· ·Okay.· And then you say here that the arcing              ·3· · · ·Q.· ·I'm going to ask it again.· Why didn't the
  ·4· caused the electricity to go to the nearest ground, and             ·4· surge protector do its job?
  ·5· you said that was Cude's ground rod; is that correct?               ·5· · · ·A.· ·It was on fire from 240 volts coming from the
  ·6· · · ·A.· ·That is correct.                                          ·6· triplex and AEPs feeding into that panel box, and it
  ·7· · · ·Q.· ·Okay.· What kind of amperage are we talking               ·7· burned -- melted everything in that box.
  ·8· about that was now flowing?                                         ·8· · · ·Q.· ·Well, did you install the surge protector
  ·9· · · ·A.· ·You've got approximately 240 volts going to               ·9· correctly?
  10· ground, and it's going to that main which is -- I'm                 10· · · ·A.· ·Yes.
  11· pretty much sure that tripped that main breaker, but the            11· · · ·Q.· ·Could it have malfunctioned?
  12· transformer was not -- that was a constant power going              12· · · ·A.· ·No.
  13· to that.· That transformer did not trip.· He had a                  13· · · ·Q.· ·Did you look at it after the fire?
  14· constant power going into that meter and that panel box 14· · · ·A.· ·There was nothing left of anything.
  15· and that's what caused that fire.                                   15· · · ·Q.· ·Okay.· Well, you told us earlier that this was
  16· · · ·Q.· ·Well, you didn't answer my question.· What                16· a surge in electricity that went into his house,
  17· kind of amperage, not voltage, amperage are we talking              17· correct?
  18· about and that arcing being -- causing?                             18· · · ·A.· ·Correct.
  19· · · ·A.· ·I don't think he was using that much amperage             19· · · ·Q.· ·And we looked at all the information on the
  20· at that time of night.                                              20· surge protector, and it said it's there to protect the
  21· · · ·Q.· ·Well, let me ask you, did you calculate what              21· house from that.
  22· amperage it would have taken?                                       22· · · ·A.· ·That's on two phases that plugs in -- two
  23· · · ·A.· ·There wasn't no amperage really involved.· And            23· phases that's on like a too full 50-amp breaker.· It's
  24· I think the only thing he had going on at the time was a            24· on two phases of that, in that panel box.· But you've
  25· heater.                                                             25· got that voltage going through that -- from that meter


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  ·1· going into that panel box.· Everything is on fire.· Then                ·1· transformer, it's got a fuse inside the transformer in a
  ·2· it seeped through the 110 circuits that was plugged into                ·2· breaker, and it did not have a cutout fuse on that
  ·3· that circuit box.· And it just melted everything.                       ·3· transformer.
  ·4· · · ·Q.· ·Well, let's -- let's do this.· We can agree on                ·4· · · ·Q.· ·Well, we're going to talk about that in a
  ·5· this:· The surge protector did nothing to protect the                   ·5· minute, but do you know what a CSP transformer is?
  ·6· house, correct?                                                         ·6· · · ·A.· ·They got different types of transformers.
  ·7· · · ·A.· ·Apparently not.                                               ·7· · · ·Q.· ·No, I'm asking a specific, a CSP, do you know
  ·8· · · ·Q.· ·Okay.· Now, can you tell me what methodology                  ·8· what that stands for?
  ·9· you have used to determine the cause of this fire?                      ·9· · · ·A.· ·No, I don't.
  10· · · ·A.· ·I've already said it started on the triplex.                  10· · · ·Q.· ·Okay.· It stands for completely
  11· · · ·Q.· ·No.· I understand you gave us your                            11· self-protected.
  12· explanation.· But can you describe what you went through                12· · · ·A.· ·All right.
  13· to get there?                                                           13· · · ·Q.· ·Have you ever had to deal with a CSP
  14· · · ·A.· ·I seen what was left of the triplex that was                  14· transformer before?
  15· melted down at Walt's house that burned down, and I seen 15· · · ·A.· ·Yes, I have.
  16· what happened to Walt's truck in the driveway.· That was                16· · · ·Q.· ·Where?
  17· melted triplex.                                                         17· · · ·A.· ·It was in an establishment.· It was an
  18· · · ·Q.· ·Are you familiar with NFPA 921?                               18· industrial establishment.· I think it was in Houston.
  19· · · ·A.· ·I haven't looked at it recently, no.                          19· · · ·Q.· ·Okay.· So you're -- you're talking about some
  20· · · ·Q.· ·Do you know what it is?                                       20· -- some customer had a CSP transformer?
  21· · · ·A.· ·You tell me.                                                  21· · · ·A.· ·Yes.
  22· · · ·Q.· ·No, I want -- I want to know if you know what                 22· · · ·Q.· ·Okay.· So now you know what a CSP transformer
  23· it is.· If you don't, just tell me you don't know what                  23· is; is that correct?
  24· it is.                                                                  24· · · ·A.· ·Yes.
  25· · · ·A.· ·I know what NEC is.                                           25· · · ·Q.· ·Okay.· First of all let me ask, you've never

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  ·1· · · ·Q.· ·No, sir, I'm talking about NFPA 921.                          ·1· worked for an electric utility, have you?
  ·2· · · ·A.· ·No.                                                           ·2· · · ·A.· ·No.
  ·3· · · ·Q.· ·Okay.· How did you eliminate other causes of                  ·3· · · ·Q.· ·Okay.· Have you ever installed a CSP
  ·4· the fire?                                                               ·4· transformer?
  ·5· · · ·A.· ·Because it was still energized when it come                   ·5· · · ·A.· ·I've installed them for customers but that was
  ·6· down on Walt's truck, and that transformer did not trip.                ·6· bars and grills.
  ·7· · · ·Q.· ·Well, my question, though, is, what did you do                ·7· · · ·Q.· ·Well, you installed them for a customer on a
  ·8· to eliminate other causes, or did you just decide when                  ·8· private piece of property, correct?
  ·9· you saw the evidence, that's how it happened?                           ·9· · · ·A.· ·Correct.
  10· · · ·A.· ·When I looked at the evidence, when I seen                    10· · · ·Q.· ·Okay.· So CSP transformer has an internal
  11· aftereffects, that's when I decided that was the triplex                11· fuse, correct?
  12· that caused that.· If that transformer would have                       12· · · ·A.· ·It's got an internal fuse on the line side and
  13· tripped, there would have been no -- that triplex                       13· it's got a breaker on the secondary side.
  14· wouldn't have no -- wouldn't have been energized and it 14· · · ·Q.· ·Right.· It's also got a lightning arrestor
  15· would not have burned his truck down.                                   15· mounted externally on the tank on the high side,
  16· · · ·Q.· ·So observing that morning the fire scene, you                 16· correct?
  17· decided that that is what caused the fire --                            17· · · ·A.· ·Correct.
  18· · · ·A.· ·That's what I --                                              18· · · ·Q.· ·Where is the closest line fuse feeding that
  19· · · ·Q.· ·-- without really going and eliminating                       19· transformer?· Since you and Mr. Cude have driven the
  20· anything else; is that correct?                                         20· lines, where is it?
  21· · · ·A.· ·That's correct.                                               21· · · ·A.· ·I can't find one.
  22· · · ·Q.· ·Okay.· Now, you say in your report that the                   22· · · ·Q.· ·Okay.· Let me ask you, how far is South Vista
  23· transformer didn't have a fuse, but you know that's                     23· Drive and Buffalo Trail from that location?
  24· wrong, correct?                                                         24· · · ·A.· ·It's probably about three-quarters of a
  25· · · ·A.· ·According to the nameplate on that                            25· mile.

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  ·1· · · ·Q.· ·Okay.· And are you telling us you didn't see a            ·1· · · ·Q.· ·Okay.· So you're telling us, first of all,
  ·2· line fuse down there?                                               ·2· that the wire that -- that ground wire is the wrong
  ·3· · · ·A.· ·That's what I'm telling you.                              ·3· size?
  ·4· · · ·Q.· ·Okay.· So it's either there or it's not.                  ·4· · · ·A.· ·It's the wrong size.
  ·5· That's pretty easy to find.· But, okay, if it's there,              ·5· · · ·Q.· ·All right.· How can you -- how can you prove
  ·6· then it would have been protected by a cutout, correct?             ·6· to us it's the wrong size?
  ·7· · · ·A.· ·Yes, it should have a line or printout on that            ·7· · · ·A.· ·There's two wires.· This is a number 8 wire.
  ·8· transformer itself.                                                 ·8· This is a number 4 wire.· AEP requires all the service
  ·9· · · ·Q.· ·No, sir, that's on a regular transformer, not             ·9· to be done with a number 4 gauge wire.· See the
  10· on a CSP transformer.· Or do you know that?                         10· difference in sizes?
  11· · · ·A.· ·A CPS, what you're saying, that should have               11· · · ·Q.· ·Well, let me ask you a question.· Is that
  12· protected that transformer.                                         12· stranded wire or hard-drawn copper?
  13· · · ·Q.· ·But a CSP has its own internal cutout, doesn't            13· · · ·A.· ·It's stranded.
  14· it?                                                                 14· · · ·Q.· ·Stranded, correct?
  15· · · ·A.· ·That's correct.· At this point, apparently did            15· · · ·A.· ·That's correct.
  16· not work.                                                           16· · · ·Q.· ·Okay.· Where do you get that AEP requires it's
  17· · · ·Q.· ·Well, we'll get to that in a minute.· But you             17· got to be a number 4 wire?
  18· said that it wasn't protected by a fuse, but it was, not            18· · · ·A.· ·It says that in there, what they require.
  19· only inside the tank but also down at three-quarters                19· · · ·Q.· ·Are you talking about the meter installation
  20· mile a way that was a fuse cutout, wasn't there?                    20· manual?
  21· · · ·A.· ·I did not see one at the time.                            21· · · ·A.· ·That's correct.
  22· · · ·Q.· ·Okay.· All right.· You also say that the                  22· · · ·Q.· ·The meter installation manual applies to the
  23· transformer wasn't grounded, but you know that's wrong, 23· customer's ground, right?
  24· correct?                                                            24· · · ·A.· ·Right, and also --
  25· · · ·A.· ·I know the transformer was grounded, but it               25· · · ·Q.· ·Up to -- up to the utility ground, right?

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  ·1· was grounded incorrectly.                                ·1· · · ·A.· ·If you look at the NEC grounding, it will also
  ·2· · · ·Q.· ·Okay.· First of all, it's grounded to the      ·2· say a number 4.
  ·3· system neutral, correct?                                 ·3· · · ·Q.· ·You know what, let's go to the NEC right now.
  ·4· · · ·A.· ·Yes.                                           ·4· Have you got your NEC with you?
  ·5· · · ·Q.· ·Are you saying that's -- that's incorrect?     ·5· · · ·A.· ·I think I do.
  ·6· · · ·A.· ·That wire, that ground wire was wrong size     ·6· · · ·Q.· ·You have the whole thing?
  ·7· ground wire.· And that ground wire that they had on that ·7· · · ·A.· ·I think I do.
  ·8· was all corroded up; it wasn't making a good ground.     ·8· · · ·Q.· ·All right.· I want you to go to the
  ·9· · · ·Q.· ·Well, let's -- let's -- let's back up.· You're ·9· introduction which is Article 90.· Tell me when you get
  10· talking about the ground wire that goes down the pole,   10· there.
  11· correct?                                                 11· · · ·A.· ·I am here at Article 90.
  12· · · ·A.· ·Ground wire going down the pole, correct.      12· · · ·Q.· ·You see 90.-2 which says scope?
  13· · · ·Q.· ·What I said was, the transformer is connected  13· · · ·A.· ·Yes.
  14· to the system neutral at the top of the pole, correct?   14· · · ·Q.· ·Do you see A says covered?
  15· · · ·A.· ·It's bonded together, yes.                     15· · · ·A.· ·Yes.
  16· · · ·Q.· ·Right.· And it's actually -- goes in and       16· · · ·Q.· ·And B says not covered.· Do you see that?
  17· attaches to the system neutral.                          17· · · ·A.· ·Yes.
  18· · · ·A.· ·Yes.                                           18· · · ·Q.· ·And B says this code does not cover -- go over
  19· · · ·Q.· ·And that's through the secondary neutral       19· to number 5 and read that for us.
  20· ground strap, correct?                                   20· · · ·A.· ·Mandatory rules, permissive rules, and
  21· · · ·A.· ·Yes.                                           21· (unintelligible) material.
  22· · · ·Q.· ·Okay.· And then the transformer case is also   22· · · ·Q.· ·You're on -- you're on --
  23· attached to the ground wire you're talking about that    23· · · ·A.· ·That's 90.5.
  24· runs down to the bottom of the pole, correct?            24· · · ·Q.· ·No, no, no, 90-2B5.· You're still in number B
  25· · · ·A.· ·Correct.                                       25· which is this code does not cover.

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  ·1· · · ·A.· ·Installations under this exclusive control of               ·1· · · ·Q.· ·(BY MR. SCHAUER)· Okay.· Mr. Winkfein, we took
  ·2· an electrical utility for such installations.                         ·2· a break, and one of the things you talked about at
  ·3· · · ·Q.· ·That's right.· It says right here in the first              ·3· length is your opinion that the transformer
  ·4· part of the NEC, this code does not cover installations               ·4· malfunctioned because you've seen these -- the
  ·5· under the exclusive control of electric utilities.                    ·5· parking -- it looks like evidence of parking on the
  ·6· That's what it says, doesn't it?                                      ·6· triplex, correct?
  ·7· · · ·A.· ·That's what it says.                                        ·7· · · ·A.· ·Correct.
  ·8· · · ·Q.· ·The NEC has absolutely nothing to do with AEP ·8· · · ·Q.· ·Okay.· Well, let me ask you a question.· Let's
  ·9· and its equipment, does it?                             ·9· say some guy had decided to have a party out there and
  10· · · ·A.· ·It's supposed to go by the NEC.· There's --                 10· he built him a big fire underneath that triplex, and he
  11· should be going by their requirements.                                11· lit that sucker and the flames started licking the
  12· · · ·Q.· ·No.· This thing says it doesn't cover the                   12· triplex.· What's going to happen?
  13· utilities installation, doesn't it?                                   13· · · ·A.· ·It's going to burn that triplex.
  14· · · ·A.· ·It also says in here it's got the authority of              14· · · ·Q.· ·Well, it's going to burn through the
  15· the jurisdiction.                                                     15· insulation first, right?
  16· · · ·Q.· ·No, sir.· The NEC, the book itself says it is               16· · · ·A.· ·Right.
  17· not -- does not cover the utilities installation.                     17· · · ·Q.· ·And then the insulation, once it's gone, those
  18· · · ·A.· ·That's incorrect.                                           18· conductors are going to start arcing, correct?
  19· · · ·Q.· ·Well, I thought you just read it for us.                    19· · · ·A.· ·Correct.
  20· · · ·A.· ·I just read that, but it's still not correct                20· · · ·Q.· ·And you're going to have arcing like you
  21· the way it's been installed.                                          21· described until that thing finally melts in two and
  22· · · ·Q.· ·Well, it's not installed according to the NEC,              22· separates, correct?
  23· is it?                                                                23· · · ·A.· ·Correct.
  24· · · ·A.· ·Nope.                                                       24· · · ·Q.· ·Okay.· If -- if something like that would
  25· · · ·Q.· ·Okay.· So how do you know it's incorrect,                   25· happen, in that case the damaged triplex would have been

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  ·1· then, if it doesn't even have to comply with the NEC?                 ·1· a result of the fire, not the cause of the fire,
  ·2· · · ·A.· ·It was properly installed.· This is by what                 ·2· correct?
  ·3· I've seen and what I've -- basically what I've seen.                  ·3· · · ·A.· ·Well --
  ·4· · · ·Q.· ·But you're saying that because you're                       ·4· · · ·Q.· ·Well, how would it be the cause if the fire
  ·5· comparing that with the requirements of the NEC,                      ·5· underneath if melted it?
  ·6· correct?                                                              ·6· · · ·A.· ·If -- well, first place, there wasn't no fire
  ·7· · · ·A.· ·Correct.                                                    ·7· underneath of it.
  ·8· · · ·Q.· ·And we know now that the NEC itself says it                 ·8· · · ·Q.· ·No, I told you to assume that for me. I
  ·9· doesn't cover electrical utility installations.                       ·9· didn't -- I didn't -- I'm not arguing with you.· I'm
  10· · · ·A.· ·Well, that's what it's saying there in Article              10· just saying assume that.· What would happen if that --
  11· 90.                                                                   11· if that occurred?· And I think you told me the fire
  12· · · ·Q.· ·Okay.                                                       12· would melt the triplex insulation and you would have a
  13· · · · · · · · ·MR. SWALLOW:· Hey, Don, why don't we take              13· bunch of arcing, right?
  14· a quick break?                                                        14· · · ·A.· ·That's correct.
  15· · · · · · · · ·MR. SCHAUER:· Well, let me -- let me just              15· · · ·Q.· ·Okay.· Now, I asked you earlier what magnitude
  16· finish this part.· Okay?                                              16· of amperage would it have taken to start this fire, and
  17· · · · · · · · ·MR. SWALLOW:· All right.· Bill, are you                17· you told me you didn't know and you didn't try to
  18· feeling all right?                                                    18· calculate it.· Correct?
  19· · · · · · · · ·THE WITNESS:· I'm ready for a break.                   19· · · ·A.· ·Correct.
  20· · · · · · · · ·MR. SCHAUER:· Okay, let's take a break.                20· · · ·Q.· ·So if that's true, how do you know that the
  21· · · · · · · · ·THE VIDEOGRAPHER:· The time 2:55 p.m.· We 21· amperage got high enough to open the fuses in the
  22· are off the record.                                                   22· transformer or on the lines?
  23· · · · · · · · ·(Break from 2:55 to 3:13 p.m.)                         23· · · ·A.· ·Because the voltage.
  24· · · · · · · · ·THE VIDEOGRAPHER:· The time is 3:13 p.m.               24· · · ·Q.· ·Okay.· Let's talk about that.· What causes a
  25· We are now on the record.                                             25· breaker to open, voltage or amperage?

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  ·1· · · ·A.· ·Both.                                                      ·1· · · ·Q.· ·But you told me you don't know how much
  ·2· · · ·Q.· ·Voltage you said?                                          ·2· current was flowing, right?
  ·3· · · ·A.· ·Voltage and amperage.                                      ·3· · · ·A.· ·No, I don't.
  ·4· · · ·Q.· ·Well, the amperage, the flow of the amperage               ·4· · · ·Q.· ·And so the breakers and the fuses are all
  ·5· is what causes a breaker to trip, correct?                           ·5· rated to open at a certain current, correct?
  ·6· · · ·A.· ·That's normally, unless it's got a fault.                  ·6· · · ·A.· ·At a certain current or you have a ground
  ·7· · · ·Q.· ·Well, what's -- what's written on a breaker?               ·7· fault.
  ·8· Just take a regular breaker in everybody's house.                    ·8· · · ·Q.· ·Well, a ground fault is what causes the
  ·9· What's it say?                                                       ·9· current to flow, right?
  10· · · ·A.· ·It says it -- like on single pole, 20-amp                  10· · · ·A.· ·Unless you have a ground going across a hot
  11· breakers.                                                            11· wire, it will open up that ground wire regardless if you
  12· · · ·Q.· ·20 amps, that -- that's current, right, that's             12· got amperage going through it or not.
  13· amperage?                                                            13· · · ·Q.· ·Well, no.· If you have a -- if you have a wire
  14· · · ·A.· ·That's amperage.                                           14· touching a neutral, that's a direct fault, isn't it?
  15· · · ·Q.· ·And so what happens is, if the amperage gets               15· · · ·A.· ·That is correct.
  16· higher than 20 or the current gets higher than 20 amps, 16· · · ·Q.· ·And that's going to cause a lot of current to
  17· that thing is supposed to open up and kill the power,                17· flow, correct?
  18· right?                                                               18· · · ·A.· ·That's what's going to happen is they're going
  19· · · ·A.· ·That's correct, unless you have a ground                   19· to have a hot wire and a ground touching together, and
  20· fault.                                                               20· that's going to make a ground fault and it will open it
  21· · · ·Q.· ·Well, the same thing with a fuse, an external              21· up.
  22· fuse.· What makes a fuse blow is excess amperage,                    22· · · ·Q.· ·That's right, because there's a lot of current
  23· correct?                                                             23· flowing through a direct fault?
  24· · · ·A.· ·Amperage and ground fault.                                 24· · · ·A.· ·It doesn't need any current.· It just has to
  25· · · ·Q.· ·Well, the voltage has nothing to do with it.               25· touch together.

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  ·1· You could have 100,000 volts across it, but if there's               ·1· · · ·Q.· ·Okay.· Let me make sure I understand for our
  ·2· no amps going through the fuse, it's never going to open             ·2· other experts.· You're telling us that the current
  ·3· up, is it?                                                           ·3· doesn't open up the breaker or the fuse, has nothing to
  ·4· · · ·A.· ·It will open up, have a ground fault.                      ·4· do with that.· Is that right?
  ·5· · · ·Q.· ·Well, if there's a ground fault, that means                ·5· · · ·A.· ·That's not what I'm saying.· I'm saying the
  ·6· there's going to be amperage and current going through               ·6· amperage will open up that breaker, that's correct.· But
  ·7· the fuse, correct?                                                   ·7· if you have a ground fault where your hot wire is
  ·8· · · ·A.· ·You'll have some and it doesn't take much.                 ·8· touching to a ground wire, that will also open up that
  ·9· · · ·Q.· ·Well, that's what it takes to open the fuse                ·9· breaker.
  10· and the breaker is the amperage, correct?                            10· · · ·Q.· ·That's because the amperage that occurs --
  11· · · ·A.· ·It will open up that except for ground fault,              11· · · ·A.· ·No, no, no.
  12· will open -- close that -- open up that breaker.                     12· · · ·Q.· ·Okay.· Good enough.· I just wanted to make
  13· · · ·Q.· ·Well, the ground fault causes the flow of                  13· sure you're going to tell us that it's not the current
  14· current, correct?                                                    14· that opens up the breaker or the fuse.
  15· · · ·A.· ·Correct.                                                   15· · · ·A.· ·I'm not saying that.· I'm saying the current
  16· · · ·Q.· ·And it's the current that opens up the breaker             16· and the voltage will do both of -- both of them will do
  17· or the fuse, correct?                                                17· the same thing.
  18· · · ·A.· ·That's correct.                                            18· · · ·Q.· ·And you're saying the voltage will do it
  19· · · ·Q.· ·Okay.· How do you know there was enough                    19· whether there's current going through it or not.
  20· current in the system to open up the fuse or the                     20· · · ·A.· ·That's correct.
  21· breaker?                                                             21· · · ·Q.· ·Okay.· That's all I wanted to make sure you
  22· · · ·A.· ·You had a bad ground fault.                                22· said.· Okay.
  23· · · ·Q.· ·But you don't --                                           23· · · · · · · · ·Now, we -- we talked about the evidence
  24· · · ·A.· ·Those conductors at the time was connected to 24· you have that the transformer malfunctioned, and I
  25· that service at the time.                                            25· thought you said your evidence is the fact that the


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  ·1· house burned down; is that correct?                                   ·1· · · ·Q.· ·Oh, it wasn't?· You don't think the fire from
  ·2· · · ·A.· ·That's correct.                                             ·2· Mr. Cude's house was blowing into that line?
  ·3· · · ·Q.· ·Okay.· Now, if there had been some malfunction              ·3· · · ·A.· ·No.
  ·4· in the transformer, wouldn't you have expected the same               ·4· · · ·Q.· ·Okay.· Good enough.
  ·5· types of problems to occur to the neighbor's house?                   ·5· · · · · · · · ·You just think it arced over by itself
  ·6· · · ·A.· ·It was happening at the neighbor's house.                   ·6· also, correct?
  ·7· · · ·Q.· ·Okay.· So the same thing would have happened                ·7· · · ·A.· ·It was going through that same line.· They was
  ·8· to the neighbor's house that was happening to Mr. Cude's              ·8· both coming out of that transformer.
  ·9· house, correct?                                                       ·9· · · ·Q.· ·Okay.· And then if the AEP guy wasn't even
  10· · · ·A.· ·Correct.                                                    10· there, why didn't the neighbors house burn down?
  11· · · ·Q.· ·Okay.· How about all the other residences on                11· · · ·A.· ·He was just taking a long time to get down to
  12· that circuit?· Would they have had to experience the                  12· the neighbor's house, making a trail?
  13· same problem?                                                         13· · · ·Q.· ·It was taking a long time.· What's the speed
  14· · · ·A.· ·On that particular instance, this is just                   14· of electricity?· Do you know?
  15· going through the line side, and if it would have kept                15· · · ·A.· ·I have no clue.
  16· on going, the neighbors would have had the same problem. 16· · · ·Q.· ·Do you know what the speed of light is?
  17· His one neighbor was fixing to have a problem, but AEP                17· · · ·A.· ·No.
  18· come out, pulled out the meter in his neighbor's house,               18· · · ·Q.· ·Okay.· But you're telling me if we waited long
  19· and cut the wires on it.· So that stopped, eliminated                 19· enough, it would have burned down the neighbor's house?
  20· that problem.                                                         20· · · ·A.· ·It would have.
  21· · · ·Q.· ·Okay.· Let's talk about that.· How do you know              21· · · ·Q.· ·Okay.· Let me -- let me talk about your
  22· that?                                                                 22· background.· Okay?
  23· · · ·A.· ·That's just what I been -- was told.· I wasn't              23· · · ·A.· ·All right.
  24· there at the time.                                                    24· · · ·Q.· ·You -- I think you told us that you had -- you
  25· · · ·Q.· ·Who told you that?                                          25· had taken courses at the University of Tennessee; is

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  ·1· · · ·A.· ·The fire department.                                        ·1· that correct?
  ·2· · · ·Q.· ·Who in the fire department?                                 ·2· · · ·A.· ·That is correct.
  ·3· · · ·A.· ·Ron Meyers.                                                 ·3· · · ·Q.· ·And I thought you told us you got a Master's
  ·4· · · ·Q.· ·So if we depose Ron Meyers, he's going to tell              ·4· license at the University of Tennessee?
  ·5· us that before they could even start fighting the fire,               ·5· · · ·A.· ·Yes.
  ·6· AEP was over there pulling the meter on the neighbor's                ·6· · · ·Q.· ·Okay.· Well, that's different than a Master's
  ·7· house?                                                                ·7· in electrical engineering, isn't it?
  ·8· · · ·A.· ·They was out there at approximately the same                ·8· · · ·A.· ·That's a Master's in electrical engineering I
  ·9· time.                                                                 ·9· did at University of Tennessee.
  10· · · ·Q.· ·That's what you've been told?                               10· · · ·Q.· ·You're telling me you got a bachelor's and a
  11· · · ·A.· ·That's what I was told.                                     11· Master's in electrical from the University of Tennessee
  12· · · ·Q.· ·Have you looked at any of the evidence that's               12· in four years?
  13· been provided in this case about when the AEP guy even 13· · · ·A.· ·I went to college approximately 10 years
  14· got to the scene?                                                     14· altogether.
  15· · · ·A.· ·I have no idea when they got to the scene.                  15· · · ·Q.· ·Okay.· So you have these degrees that are up
  16· · · ·Q.· ·Well, if he got to the scene two hours after                16· on your wall and a diploma from the University of
  17· the fire started, then he didn't pull the meter to save               17· Tennessee?
  18· the neighbor's house, correct?                                        18· · · ·A.· ·I've got them in a cardboard box somewhere.
  19· · · ·A.· ·What I seen out there, the pole in the                      19· · · ·Q.· ·Okay.· So if you -- if I asked you to show me
  20· neighbor's yard after it was burnt, and the neighbor,                 20· your degree in electrical engineering from the
  21· Mr. Day, said that neighbor's yard, triplex is arcing                 21· University of Tennessee, could you provide that with the
  22· also.                                                                 22· deposition?
  23· · · ·Q.· ·You're right because it was in the path of the              23· · · ·A.· ·Sure.
  24· fire, wasn't it?                                                      24· · · ·Q.· ·Okay.· Well, I would request that, that you
  25· · · ·A.· ·No.                                                         25· shows us the diplomas, okay?

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  ·1· · · ·A.· ·Sure.                                                       ·1· whole book memorized.· I don't study it that often
  ·2· · · ·Q.· ·And we'll make those the next deposition                    ·2· anymore.
  ·3· exhibits.                                                             ·3· · · ·Q.· ·But you must have forgotten about Section 90,
  ·4· · · · · · · · ·Okay.· So let me ask you, did you ever                 ·4· correct?
  ·5· work as a electrical engineer?                                        ·5· · · ·A.· ·Correct.
  ·6· · · ·A.· ·I've done some of it for about, I would say,                ·6· · · ·Q.· ·Okay.· Do you consider yourself an expert in
  ·7· about three months.· But the suit and tie routine wasn't ·7· the NESC, which is the National Electrical Safety Code?
  ·8· my bag.                                                               ·8· · · ·A.· ·Yes.
  ·9· · · ·Q.· ·Oh, okay.· Who did you work for?                            ·9· · · ·Q.· ·You do?
  10· · · ·A.· ·I can't recall.· It's been too many years ago.              10· · · ·A.· ·I do --
  11· · · ·Q.· ·Have you ever been a registered professional                11· · · ·Q.· ·Huh?
  12· engineer?                                                             12· · · ·A.· ·National Electric Code tells you all the
  13· · · ·A.· ·No.                                                         13· requirements throughout the nation, but each
  14· · · ·Q.· ·Okay.· You ever worked as a firefighter?                    14· jurisdiction has got their own little things that they
  15· · · ·A.· ·No.                                                         15· want to add to it and don't add to it.
  16· · · ·Q.· ·You have any certification on fire                          16· · · ·Q.· ·Did you -- did you understand my question?
  17· investigations?                                                       17· The National Electrical Safety Code, not the National
  18· · · ·A.· ·No.                                                         18· Electronic Code.
  19· · · ·Q.· ·Have you ever worked for an electric utility?               19· · · ·A.· ·Oh, the safety code.· No, I haven't went
  20· · · ·A.· ·No.                                                         20· through that.
  21· · · ·Q.· ·Do you know what the point of delivery is on a              21· · · ·Q.· ·So you don't consider yourself an expert in
  22· residential service?                                                  22· that, correct?
  23· · · ·A.· ·Point of delivery, what do you mean?                        23· · · ·A.· ·Correct.
  24· · · ·Q.· ·Well, there's a definition specifically in the              24· · · ·Q.· ·Okay.· Do you know the difference between the
  25· utility industry about what the point of service is on a              25· NEC and NESC?

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  ·1· residence.· I just wondered if you know what it is.                   ·1· · · ·A.· ·Well, you got the -- the only part on the
  ·2· · · ·A.· ·Well, the point of delivery is out there                    ·2· National Electric Code, you got the fire code inside of
  ·3· coming from the transformer to the weatherhead on the                 ·3· that also.· They're the ones that designed that
  ·4· structure.                                                            ·4· particular book.
  ·5· · · ·Q.· ·Well, as it turns out it's the weatherhead.                 ·5· · · ·Q.· ·Yeah, but I'm asking you if you know the
  ·6· Did you know that, at the connection to the weatherhead?              ·6· difference between the NEC and the NESC.
  ·7· · · ·A.· ·I just said that.                                           ·7· · · ·A.· ·No.
  ·8· · · ·Q.· ·Okay.· Well, you said something about the                   ·8· · · ·Q.· ·Okay.· I think you told -- told us earlier,
  ·9· transformer.· Transformer --                                          ·9· this was the first time you've ever been deposed,
  10· · · ·A.· ·That's where the power is originating from,                 10· correct?
  11· and then it goes to the weatherhead.· And that goes back 11· · · ·A.· ·Correct.
  12· into the meter and goes to the residence.                             12· · · ·Q.· ·Okay.· Have you ever testified as an expert in
  13· · · ·Q.· ·Right.· But did you know the point of                       13· a case before?
  14· delivery --                                                           14· · · ·A.· ·No.
  15· · · ·A.· ·Yes.                                                        15· · · ·Q.· ·Okay.· Now, I think you told us that you were
  16· · · ·Q.· ·-- was the weatherhead?                                     16· testifying today for free; is that correct?
  17· · · ·A.· ·Yes.                                                        17· · · ·A.· ·Tested for what?
  18· · · ·Q.· ·Okay, you knew that.· Okay.                                 18· · · ·Q.· ·That you're testifying for free; you're not
  19· · · · · · · · ·Everything past that is the customer's,                19· charging.
  20· correct?                                                              20· · · ·A.· ·Correct.
  21· · · ·A.· ·Correct.                                                    21· · · ·Q.· ·Have you been promised anything in this case
  22· · · ·Q.· ·Okay.· Do you consider yourself an expert in                22· if there's any money exchanged hands?
  23· the NEC?                                                              23· · · ·A.· ·No.
  24· · · ·A.· ·Pretty much I used to be.· I don't go through               24· · · ·Q.· ·Okay.· Now, when you were telling us how the
  25· that book as much as I used to.· I used to have that                  25· ground -- the ground wire at the pole was wrong, is that


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  ·1· based on the requirements of the National Electric                   ·1· · · ·Q.· ·I'm sorry, I'm going through all the notes
  ·2· Code?                                                                ·2· here to try to get finished.
  ·3· · · ·A.· ·Yes.                                                       ·3· · · · · · · · ·Now, you were asked a question and I
  ·4· · · ·Q.· ·Okay.· We've already discussed that, about                 ·4· don't remember what -- I don't remember what exhibit it
  ·5· what the code says about the utility installations,                  ·5· was but it was this.· It was the -- the meter -- the
  ·6· correct?                                                             ·6· meter manual.· Do you remember that?
  ·7· · · ·A.· ·Correct.                                                   ·7· · · ·A.· ·Yeah.
  ·8· · · ·Q.· ·Okay.· Now, Mr. Swallow went through a bunch               ·8· · · ·Q.· ·Okay.· And I think you said that the meter
  ·9· of photographs with you, that you drove around with                  ·9· manual was for AEP people; is that correct?
  10· Mr. Cude and took photos in the Arrowhead subdivision, 10· · · ·A.· ·That's correct.
  11· correct?                                                             11· · · ·Q.· ·Okay.· Well, let me read from you from page 5
  12· · · ·A.· ·Correct.                                                   12· in the introduction.· This informational booklet is
  13· · · ·Q.· ·Are there any other utilities that serve the               13· issued by American Electric Power Company for the
  14· Arrowhead subdivision?                                               14· guidance of customers, engineers, architects,
  15· · · ·A.· ·No, it's all AEP.                                          15· contractors and other interested parties planning
  16· · · ·Q.· ·You don't think San Patricio Electric Co-op                16· electrical installations for residential buildings and
  17· has any lines and equipment out there?                               17· small commercial establishments.· Did you know that?
  18· · · ·A.· ·Not in Arrowhead.· They go into Lagardo, and 18· · · ·A.· ·That's part of the law.
  19· then they've got San Pavalec (ph.).                                  19· · · ·Q.· ·That says that this booklet, this meter guide
  20· · · ·Q.· ·Okay.· Does NEC have anything out there?                   20· is for the public and people like you, correct?
  21· · · ·A.· ·Not that I'm aware of.                                     21· · · ·A.· ·That would be correct, but AEP has got to
  22· · · ·Q.· ·Okay.· So there were -- there were photographs             22· follow the same rules.
  23· of transformers that were rusted, things of that nature.             23· · · ·Q.· ·No, sir, this has to do with the meter
  24· We went through a bunch of that kind of stuff.· My                   24· installations on the customer's equipment, right?
  25· question to you is, does that have anything to do with               25· · · ·A.· ·That's correct.· And if I don't install it

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  ·1· the starting of this fire?                                           ·1· correctly, then AEP will not energize that building.
  ·2· · · ·A.· ·Well, all that's telling you -- telling me,                ·2· · · ·Q.· ·But AEP doesn't inspect it, do they?· They
  ·3· that AEP does not maintain their equipment.                          ·3· wait for you --
  ·4· · · ·Q.· ·I understand what your argument is, but my                 ·4· · · ·A.· ·They do -- out here they do.
  ·5· question is, did that have anything, those photographs               ·5· · · ·Q.· ·What?
  ·6· have anything to do with the actual cause of this fire?              ·6· · · ·A.· ·They do here.
  ·7· · · ·A.· ·No.                                                        ·7· · · ·Q.· ·Oh, tell me who's done it for you.
  ·8· · · ·Q.· ·You know, we did -- we got -- we saw the                   ·8· · · ·A.· ·The people that's been coming out installing
  ·9· transformer plate.· Do you remember that?                            ·9· meters for hooking up new service, they inspect if it's
  10· · · ·A.· ·Yes.                                                       10· got the service is grounded or not grounded and properly
  11· · · ·Q.· ·Okay.· What do you think the transformer plate             11· or what.
  12· was telling us?                                                      12· · · ·Q.· ·They don't -- but you told me --
  13· · · ·A.· ·It was telling you that internally that had a              13· · · ·A.· ·That's what they inspect.· That's the only
  14· fuse on the line side and had a secondary breaker on the 14· thing they inspect.
  15· secondary side.                                                      15· · · ·Q.· ·Well, they inspect the meters enclosure,
  16· · · ·Q.· ·And it tells you what the settings are,                    16· correct?
  17· doesn't it?                                                          17· · · ·A.· ·Correct.
  18· · · ·A.· ·Yes.                                                       18· · · ·Q.· ·Because they're going to put their meter in.
  19· · · ·Q.· ·Okay.· Do you have any way to determine                    19· · · ·A.· ·Correct.
  20· whether or not those settings are correct in that                    20· · · ·Q.· ·But they don't inspect the customer's
  21· transformer?                                                         21· equipment and wiring, do they?
  22· · · ·A.· ·I'd have to look at it again.                              22· · · ·A.· ·No, just the wire going into that meter.
  23· · · ·Q.· ·I guess my question is, you don't have any                 23· · · ·Q.· ·Okay.· You know what, I think that's all I
  24· evidence that the settings are incorrect, correct?                   24· have at the moment unless Mr. Swallow asks you something
  25· · · ·A.· ·Correct.                                                   25· that I want to follow up on.· I appreciate your time.


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  ·1· · · ·A.· ·Yes, sir.                                                   ·1· fire started and then slowly sizzled somewhere, but this
  ·2· · · · · · · · · · · · ·EXAMINATION                                    ·2· -- the fire almost started everywhere at once?
  ·3· BY MR. SWALLOW:                                                       ·3· · · ·A.· ·Pretty much.
  ·4· · · ·Q.· ·I've got a few.· Are you all right to go for a              ·4· · · ·Q.· ·Okay.· Now, Mr. Schauer was asking whether you
  ·5· little bit longer, Mr. Winkfein?                                      ·5· had any ideas about the winds that night.· And I did ask
  ·6· · · ·A.· ·I'll try it a little bit longer.                            ·6· you ask a question about that, and I think my question
  ·7· · · ·Q.· ·Okay.· I don't think I'll take very long.                   ·7· was not whether -- whether it was blowing that night,
  ·8· · · · · · · · ·Mr. Schauer talked a little bit about 240              ·8· but is that -- if it were blowing that night, is that
  ·9· volts being the maximum that can go into -- to the                    ·9· something that could have contributed to the -- the
  10· residence from the AEP service in -- in this case.· Do                10· wires arcing coming into contact with each other?
  11· you remember that?                                                    11· · · ·A.· ·It could have had, depending if those wires
  12· · · ·A.· ·Yes.                                                        12· was damaged.· They could -- the wind swinging those
  13· · · ·Q.· ·Is that -- what do people normally weld with?               13· conductors, that could have entered -- that's what could
  14· Is that normally 240 volts?                                           14· have started off the arcing right there.
  15· · · ·A.· ·It's usually 240 volts.                                     15· · · ·Q.· ·And the same question -- all right -- I had
  16· · · ·Q.· ·And I'm trying to come up here -- come up with              16· asked you a similar question.· With the moisture or
  17· an example that -- that -- illustrative to the jury.                  17· rain, is that something else that can --
  18· You know, and a welder creates an incredible amount of 18· · · ·A.· ·That's conductive.
  19· heat, right?· Is that the --                                          19· · · ·Q.· ·Would contribute to -- if it were.· And I
  20· · · ·A.· ·Like this.                                                  20· understand you weren't -- you weren't up at 4 a.m. when
  21· · · ·Q.· ·Did you ever do any welding?                                21· the fire started.· But if those were the conditions that
  22· · · ·A.· ·I'm not a welder.                                           22· night, could that have contributed to it?
  23· · · ·Q.· ·Okay.· All right.· 240 volts, though, is --                 23· · · ·A.· ·Sure.· Dew can cause that too on the lines.
  24· would you agree is sufficient to create enough heat to                24· · · ·Q.· ·Okay.· Now, I actually asked you during --
  25· start a fire?                                                         25· during my questioning, and I want to -- I want to pull

                                                                 Page 194                                                                Page 196
  ·1· · · ·A.· ·Yes.                                                        ·1· up on my share screen something -- I've labeled this
  ·2· · · ·Q.· ·Okay.· And -- and I want to the ask you a      ·2· Exhibit 28.
  ·3· follow-up.· Mr. Schauer is asking where specifically you ·3· · · · · · · · ·Are you familiar with the intersection of
  ·4· thought the fire started, whether it was on the --       ·4· Buffalo and South Vista Drive?
  ·5· whether on the triplex or inside the house.· And -- and               ·5· · · ·A.· ·Yes.
  ·6· my thought on this, or -- and I don't know whether you                ·6· · · ·Q.· ·Okay.· And have you -- do you recall whether
  ·7· agree or not, but this would have -- this would have                  ·7· there's a fuse cutout there or not?
  ·8· been a pretty energetic reaction when it occurred.                    ·8· · · ·A.· ·I don't recall there was.
  ·9· Would you agree with that?                                            ·9· · · ·Q.· ·Okay.
  10· · · ·A.· ·Correct.                                                    10· · · ·A.· ·I haven't looked up on it, so I don't know. I
  11· · · ·Q.· ·I mean, was this a slow fizzling fire when it               11· never paid no attention.· We drove around but I didn't
  12· would have started, or electrical fires like this, when               12· see a cutout anywhere.
  13· you have -- when you -- when you have those, the                      13· · · ·Q.· ·Is it possible that the cutout was installed
  14· neutrals come into contract with the hot wire, the two                14· recently or after the fire?
  15· hot wires come together, is that a fairly energetic                   15· · · ·A.· ·I would say probably after the fire.· That's
  16· reaction?                                                             16· what Mr. Cude had said.
  17· · · ·A.· ·Yes.                                                        17· · · ·Q.· ·Okay.· And I pulled up on -- can you see
  18· · · ·Q.· ·Okay.· And, I mean, how long -- the -- the --               18· the -- can you see the screen here?· It's Exhibit 28.
  19· the -- I guess what I'm trying to get at is the reaction              19· · · ·A.· ·Yes.
  20· would have occurred both outside on the -- on the line                20· · · ·Q.· ·Okay.· Is that -- is that South Vista Drive
  21· and inside on the wires.· Would that have occurred                    21· and Buffalo Street?
  22· fairly rapidly?                                                       22· · · ·A.· ·That could be right there, yes.
  23· · · ·A.· ·Very rapidly.                                               23· · · ·Q.· ·Okay.· You're not sure.
  24· · · ·Q.· ·Okay.· And -- and maybe a better way to -- to               24· · · · · · · · ·And -- well, I'm not going -- I'll
  25· think about it for the jury is that it's not that the                 25· represent to you that this is -- this is a Google image


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  ·1· from April 2011 that was pulled up on the Internet, and             ·1· particular wire looked too small for that.· That's a
  ·2· I don't see any -- any cutout there.· But I guess --                ·2· solid number 8.· It's got a kink in it too.
  ·3· · · ·A.· ·There's not one.· Yeah, that is this thing,               ·3· · · ·Q.· ·And I pulled up on the screen Exhibit 18
  ·4· Buffalo.                                                            ·4· again, and this is the ground wire you had identified at
  ·5· · · ·Q.· ·And I don't know specifically what pole it's              ·5· Mr. Cude's -- the transformer of Mr. Cude's former
  ·6· been installed on, if it -- if it is there, but it's                ·6· residence, correct?
  ·7· possible that the cutout was installed after the fire,              ·7· · · ·A.· ·Correct.
  ·8· correct?                                                            ·8· · · ·Q.· ·Okay.· And -- and -- you've been -- you've
  ·9· · · ·A.· ·That's correct.                                           ·9· been a master electrician for many years.· Can you
  10· · · ·Q.· ·And if -- if that were -- were the case,                  10· recognize the difference between 4 and 8 ground wires?
  11· then -- then there would not have been a cutout on                  11· · · ·A.· ·Pretty much.· Pretty much.
  12· Mr. Cude's line at the time of the fire.                            12· · · ·Q.· ·Okay.
  13· · · ·A.· ·There was no cutout at the time.                          13· · · ·A.· ·They're real similar.
  14· · · ·Q.· ·Now, Mr. Schauer talked a little bit about                14· · · ·Q.· ·And you inspected this wire.
  15· the -- I believe it was the NE -- NEC and whether AEP               15· · · ·A.· ·Yes.
  16· had to follow those guidelines.· In your experience,                16· · · ·Q.· ·Can you tell the jury what size is this wire?
  17· does -- does AEP still have to follow industry standards 17· · · ·A.· ·I would say it's -- looks like a number 8.
  18· and practices?                                           18· · · ·Q.· ·Okay.· And any other problems with this wire?
  19· · · ·A.· ·They're supposed to.                                      19· · · ·A.· ·Looks like it's got a kink in it and it's all
  20· · · ·Q.· ·Okay.· And what's your opinion as -- as --                20· corroded up.
  21· with regard to maintenance of AEP?· Is it within                    21· · · ·Q.· ·Would that also be -- be a cause for concern?
  22· industry standards and practices?                                   22· · · ·A.· ·Yes.
  23· · · ·A.· ·No.                                                       23· · · ·Q.· ·Okay.· And -- and I want to go back because I
  24· · · ·Q.· ·Okay.· How about -- I think the -- the                    24· think this is important.· Even -- even if this had been
  25· question came with -- with regard to the size of a                  25· correctly installed, if the transformer fuse didn't

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  ·1· ground wire.· And -- and I'm going to pull that back up             ·1· work, hadn't been properly maintained, whether it was
  ·2· here just so the jury knows what we're talking about if             ·2· rusted, whether it was too old, whatever reason it
  ·3· you give me --                                                      ·3· didn't work, just having this ground wire being the
  ·4· · · ·A.· ·Look right here will tell pretty much                     ·4· proper gauge, would that have stopped the fire?
  ·5· everything you need about linemens and the grounding, ·5· · · ·A.· ·No.
  ·6· what they require.· This is nationwide.                             ·6· · · ·Q.· ·Okay.· So -- and my understanding from your
  ·7· · · ·Q.· ·Okay.· And is that -- is that an industry                 ·7· testimony earlier was that the -- the fault was in
  ·8· standard and practice that AEP --                                   ·8· the -- the fuse and the transformer, that was your
  ·9· · · ·A.· ·Yes.                                                      ·9· conclusion.· Do you agree with that?
  10· · · ·Q.· ·And -- and what does that tell us about ground            10· · · ·A.· ·Yes.
  11· wires?                                                              11· · · ·Q.· ·Okay.· And -- and that was based on, you know,
  12· · · ·A.· ·It tells you about all the grounding wires,               12· as I understood it, the fact that even after the wire
  13· tells you all about transformers, substations, and on               13· has melted through, the AEP wires continued to melt the
  14· and on and on, anything about a linemen's book.                     14· truck and -- and continued to be live wires.
  15· · · ·Q.· ·Okay.                                                     15· · · ·A.· ·Correct.
  16· · · ·A.· ·That's what a lineman has got to learn, what's            16· · · ·Q.· ·And wouldn't you agree with me, had -- had
  17· in that book.                                                       17· that fuse been properly working in the transformer, that
  18· · · ·Q.· ·And with regard to the installation, the AEP              18· should not have occurred.
  19· installation of Mr. Cude's house, what -- what is that              19· · · ·A.· ·That shouldn't have occurred.· It should have
  20· book, the linemen's book tell about?· Was it done                   20· actually went down through that grounding conductor and
  21· correctly?· Was it ground correct?· I mean, what were --            21· it should have opened up those breakers and the fuse.
  22· · · ·A.· ·Well, the grounding wire was not installed                22· · · ·Q.· ·Okay.· And so based on your -- your knowledge,
  23· correctly according to this particular book.· This                  23· your -- your experience, your background, the primary
  24· should have been in number 4.· And the ground rods                  24· cause of the fire you believe was the -- the fuse in the
  25· should have been about three foot from there, and this              25· AEP, or the malfunctioning fuse in the AEP transformer?


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  ·1· · · ·A.· ·Yes.                                                        ·1· was -- I was flipping through this.
  ·2· · · ·Q.· ·Okay.· And I -- I think I asked you this                    ·2· · · · · · · · ·And this preamble, this -- it talks about
  ·3· before; I just want to be clear.· Is -- is the -- the                 ·3· this is for -- for use by operating utilities, American
  ·4· things that you -- you observed or that Mr. -- you know               ·4· Electric Power System.· So that would be AEP.· That
  ·5· Mr. Cude and others observed at the fire, the -- the                  ·5· would be the installation of the distribution network,
  ·6· wires continuing to -- to serve electricity, is that --               ·6· correct?
  ·7· I mean, is that the sort of thing that you would have                 ·7· · · ·A.· ·Correct.
  ·8· seen without some sort of fault on behalf of AEP?                     ·8· · · ·Q.· ·So AEP employees should follow this manual and
  ·9· · · ·A.· ·That's not supposed to happen on AEP.· They                 ·9· the installation of -- of the transformer, ground wires,
  10· should have them properly fused and a breaker in this 10· things of that sort, correct?
  11· case.                                                                 11· · · ·A.· ·Correct.
  12· · · ·Q.· ·What's supposed to happen if -- if you have,                12· · · ·Q.· ·I'm going to try to highlight here, and you
  13· you know, live wires coming into contact, you know,                   13· tell me, I may be off base here, but I'm not an expert
  14· there -- there -- there comes a fault or they fall on a               14· on this stuff.· But I did notice that this looks like --
  15· pickup like that?· I mean, what should happen?                        15· can you -- what does this page look like?· Does this
  16· · · ·A.· ·It -- it should have went to ground and also                16· look like a page that explains installation of ground
  17· should have opened up that breaker in this particular                 17· rods to you?
  18· transformer.                                                          18· · · ·A.· ·Yes.
  19· · · ·Q.· ·Right.· So that should have never happened.                 19· · · ·Q.· ·Okay.· Can you read that?· And if not I can
  20· Regardless of all this other stuff, that should have                  20· zoom in a little bit.· I see they're talking about, I
  21· never happened.                                                       21· believe, the wire sizes there, the ground wires.
  22· · · ·A.· ·Right.· Amperage will open up a breaker and so 22· · · ·A.· ·Says number 4 copper.
  23· will current.                                                         23· · · ·Q.· ·Okay.· And is that general industry standard?
  24· · · ·Q.· ·Can you see on the screen I pulled up a new                 24· · · ·A.· ·Pretty much.
  25· exhibit, 29, and this is the Distribution Standards                   25· · · ·Q.· ·Okay.· And so you -- you'd expect AEP

                                                                 Page 202                                                                  Page 204
  ·1· Manual.· It's from AEP.                                               ·1· employees to follow the same standards, correct?
  ·2· · · ·A.· ·Okay.                                                       ·2· · · ·A.· ·Correct.
  ·3· · · ·Q.· ·Are you familiar with this at all?                          ·3· · · · · · · · ·MR. SWALLOW:· I think that's all I have
  ·4· · · ·A.· ·I haven't studied that book.                                ·4· for you, Mr. Winkfein, right now.· I really appreciate
  ·5· · · ·Q.· ·Okay.· You haven't studied this because this                ·5· your time today.
  ·6· is for AEP employees to study, correct?                               ·6· · · · · · · · ·THE WITNESS:· Thank you.
  ·7· · · ·A.· ·Right.                                                      ·7· · · · · · · · · · · · ·EXAMINATION
  ·8· · · ·Q.· ·Okay.· I mean, have you studied any of these                ·8· BY MR. SCHAUER:
  ·9· distribution standard manuals before?· Are you aware                  ·9· · · ·Q.· ·Let me ask real quick here.· I think you just
  10· generally what's in them?                                             10· said that amperage will open a breaker and so will
  11· · · ·A.· ·The only one that I looked at is this                       11· current.· Isn't that what you just said?
  12· particular book right here.· There's several different                12· · · ·A.· ·That's what I said.
  13· engineers and installers and power companies that design 13· · · ·Q.· ·They're the same thing, aren't they,
  14· this book.                                                            14· Mr. Winkfein --
  15· · · ·Q.· ·But generally what's in your lineman's manual,              15· · · ·A.· ·Well --
  16· should that be the same thing that's in the AEP manual?               16· · · ·Q.· ·-- amperage and current?
  17· · · ·A.· ·Pretty much.                                                17· · · ·A.· ·Well, amperage and voltage is what I meant.
  18· · · ·Q.· ·Is that because it's an industry standard?                  18· · · ·Q.· ·Oh.· So amperage and current you agree are the
  19· · · ·A.· ·Yeah.                                                       19· same thing, and you're telling us now you misspoke?
  20· · · ·Q.· ·Okay.· And I'll admit to -- to -- to you, I                 20· · · ·A.· ·Amperage and current is the same thing.
  21· haven't studied this whole AEP manual.· It's 500 some --              21· Voltage will open up a breaker too.
  22· some pages long.· I pulled the 18 pages here, and this                22· · · ·Q.· ·Yeah.· I know.· You've already told us that.
  23· was produced by AEP in this litigation.· And -- I -- I                23· Okay.
  24· understand you haven't reviewed it, and that's okay.                  24· · · · · · · · ·You -- you told us a while ago that even
  25· But I do want to just scroll down here a little bit. I                25· if -- if the transformer's breaker had functioned, the


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  ·1· ground wire would have made no difference, correct?                   ·1· then the ground wire wouldn't have made any difference?
  ·2· · · ·A.· ·It would have helped.                                       ·2· · · ·A.· ·Apparently this did not make a difference.
  ·3· · · ·Q.· ·Well, you said -- you told Mr. Swallow it                   ·3· · · ·Q.· ·Did you say it wouldn't have made a
  ·4· wouldn't have made any difference.                                    ·4· difference?
  ·5· · · ·A.· ·Well, this particular ground wire would                     ·5· · · ·A.· ·If that ground wire is correctly installed, it
  ·6· haven't made any difference.                                          ·6· wouldn't have made a difference.
  ·7· · · ·Q.· ·Okay.· And that's because why?                              ·7· · · ·Q.· ·That's not what you said a while ago.· You
  ·8· · · ·A.· ·It was all corroded up.                                     ·8· said it wouldn't have made any difference.
  ·9· · · ·Q.· ·Corroded?· It's made out of copper.· How is it              ·9· · · ·A.· ·Don't confuse me right now.
  10· going to corrode, sir?                                                10· · · ·Q.· ·I'm not trying to confuse you.· I'm trying to
  11· · · ·A.· ·Corroded -- it's corroded and it was kinked.                11· figure out what you're really trying to testify to.
  12· · · ·Q.· ·You're right, kinked.· You're talking about                 12· · · ·A.· ·If that ground wire was correctly installed
  13· a -- a wire of copper.· How is a kink going to diminish               13· you wouldn't have this Goddamn problem.
  14· at all --                                                             14· · · ·Q.· ·So you're saying if the ground wire was
  15· · · ·A.· ·It diminishes -- diminishes the amperage                    15· correct, none of this would have happened.
  16· effect, conductor's work.· That number wire is only good 16· · · ·A.· ·That would have helped a whole lot.
  17· for 50 amps.· That's number 8 wire.                                   17· · · ·Q.· ·Well, no, would it have helped a lot, or would
  18· · · ·Q.· ·You're telling us that because it's got a kink              18· it have solved the problem?
  19· in it or a bend in it, that --                                        19· · · ·A.· ·It would have solved the ducking problem.
  20· · · ·A.· ·Encroaches.                                                 20· · · ·Q.· ·Okay.· Good enough.
  21· · · ·Q.· ·What?                                                       21· · · · · · · · ·Now, we already talked a while ago about
  22· · · ·A.· ·Encroaches.· Up on the transformer you can see              22· the NEC, and he asked you about the NEC and how it
  23· where it's all rusted out too.                                        23· applied to AEP.· We went through the book, and you know
  24· · · ·Q.· ·Sir, copper doesn't rust, does it?                          24· that AEP doesn't have to comply to the NEC, correct?
  25· · · ·A.· ·It corrodes.                                                25· · · ·A.· ·That's what it said on that book.

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  ·1· · · ·Q.· ·It gets a -- it gets a green patina on it;                  ·1· · · ·Q.· ·Okay.· Now, have you ever served in a position
  ·2· that's it, right?                                                     ·2· as a lineman?
  ·3· · · ·A.· ·It gets that and it also corrodes, and that                 ·3· · · ·A.· ·No.
  ·4· transformer itself, that casing is metal, that's not                  ·4· · · ·Q.· ·Okay.· So you're talking about this lineman's
  ·5· copper.                                                               ·5· handbook.· Okay?
  ·6· · · ·Q.· ·Well, we're talking about the ground wire,                  ·6· · · ·A.· ·Right.
  ·7· aren't we?                                                            ·7· · · ·Q.· ·Do you -- are you sure that that applies to
  ·8· · · ·A.· ·Yeah, but going to the transformer, that's                  ·8· the law in Texas?
  ·9· metal, that is not copper.                                            ·9· · · ·A.· ·That applies to, like, the NEC, it goes
  10· · · ·Q.· ·I understand.· What's that have to do with                  10· nationwide.
  11· this case?                                                            11· · · ·Q.· ·That's the NEC.· We're talk -- you're talking
  12· · · ·A.· ·It wasn't going -- making good connection to 12· about the NEC again.
  13· that metal casing.· It was rusted.· That's corrosive.                 13· · · ·A.· ·I'm talking about NEC goes nationwide and also
  14· · · ·Q.· ·You're talking about where the ground wire                  14· that hand -- lineman's handbook goes nationwide.
  15· joins the casing?                                                     15· · · ·Q.· ·Okay.· Do you know that under Texas law AEP is
  16· · · ·A.· ·Right.                                                      16· governed by the National Electric Safety Code, which is
  17· · · ·Q.· ·You saw -- you saw -- we'll go back and look                17· the NESC?
  18· later.                                                                18· · · ·A.· ·That's fine.
  19· · · ·A.· ·I've seen pictures of it.                                   19· · · ·Q.· ·Well, I just wondered if you knew that.
  20· · · ·Q.· ·Well, we've got the pictures.                               20· · · ·A.· ·I don't know that for a fact.
  21· · · ·A.· ·Well, I got them too.                                       21· · · ·Q.· ·Okay.· Do you have any evidence that this
  22· · · ·Q.· ·Okay.· So we'll go back and look and see if                 22· system, the transformer, all of that, did not meet the
  23· there's rust at the connection; we can go do that.                    23· requirements of the NESC?
  24· · · · · · · · ·But did you not say if the breaker did                 24· · · ·A.· ·It didn't work.
  25· not work properly, the breaker inside the transformer,                25· · · ·Q.· ·That's not what I asked you.· Do you have any


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  ·1· evidence that it met -- it didn't meet the requirements             ·1· · · · · · · · · · CHANGES AND SIGNATURE

  ·2· of the NESC?                                                        ·2· WITNESS NAME:· BILL MARTIN WINKFEIN

  ·3· · · ·A.· ·According to this transformer, it was wired               ·3· DATE OF DEPOSITION:· OCTOBER 30, 2020

  ·4· correctly but it did not work.                                      ·4· PAGE· · · · · LINE· · · · ·CHANGE· · · · REASON

  ·5· · · ·Q.· ·Well, you say it malfunctioned, right?                    ·5· ___________· ·__________· ·____________________________

  ·6· · · ·A.· ·That's right.                                             ·6· ___________· ·__________· ·____________________________

  ·7· · · ·Q.· ·And I'm asking you if you know if that                    ·7· ___________· ·__________· ·____________________________

  ·8· malfunction had anything to do with the requirements of             ·8· ___________· ·__________· ·____________________________

  ·9· the National Electric Safety Code?                                  ·9· ___________· ·__________· ·____________________________

  10· · · ·A.· ·I don't think it had any fault for that.                  10· ___________· ·__________· ·____________________________

  11· · · ·Q.· ·Okay.· You're not aware of anything, right?               11· ___________· ·__________· ·____________________________

  12· · · ·A.· ·Right.                                                    12· ___________· ·__________· ·____________________________

  13· · · ·Q.· ·Okay.· The transformer that we've been talking            13· ___________· ·__________· ·____________________________

  14· about, okay, is it still out there on that pole?                    14· ___________· ·__________· ·____________________________

  15· · · ·A.· ·As far as I know.· I haven't been over there.             15· ___________· ·__________· ·____________________________

  16· · · ·Q.· ·If it is, it's still working serving the                  16· ___________· ·__________· ·____________________________

  17· neighbor's house, correct?                                          17· ___________· ·__________· ·____________________________

  18· · · ·A.· ·I don't know if they maintained it and fixed              18· ___________· ·__________· ·____________________________

  19· it or what.· I have no idea what they did to it.                    19· ___________· ·__________· ·____________________________

  20· · · ·Q.· ·Well, listen to my question.· If it's the same            20· ___________· ·__________· ·____________________________

  21· transformer sitting there, it's still serving that                  21· ___________· ·__________· ·____________________________

  22· neighbor's house, correct?                                          22· ___________· ·__________· ·____________________________

  23· · · ·A.· ·That's correct.· No one is living in that                 23· ___________· ·__________· ·____________________________

  24· house right now.                                                    24· ___________· ·__________· ·____________________________

  25· · · ·Q.· ·What?                                                     25· ___________· ·__________· ·____________________________


                                                               Page 210                                                            Page 212
  ·1· · · ·A.· ·There's no one living in that house at the                ·1· · · ·I, BILL MARTIN WINKFEIN, have read the foregoing
                                                                          ·2· deposition and hereby affix my signature
  ·2· moment.
                                                                          ·3· that same is true and correct, except as noted above.
  ·3· · · ·Q.· ·Well, if -- if it's got a malfunctioning
                                                                          ·4
  ·4· breaker inside, wouldn't you expect that neighbor's
                                                                          ·5· · · · · · · · · · · ____________________________________
  ·5· house to burn down?
                                                                          · · · · · · · · · · · · BILL MARTIN WINKFEIN
  ·6· · · ·A.· ·I would expect AEP to go out there and fix the            ·6
  ·7· problem in that transformer.                                        ·7
  ·8· · · ·Q.· ·Not what I asked you.· Wouldn't you expect the            ·8· STATE OF ______________________)

  ·9· neighbor's house to have burned down?                               ·9· COUNTY OF _____________________)

  10· · · ·A.· ·It would have.                                            10· · · ·BEFORE ME, ________________________, on this
                                                                          11· day personally appeared BILL MARTIN WINKFEIN,
  11· · · ·Q.· ·Okay.
                                                                          12· known to me (or proved to me under oath of ____________
  12· · · ·A.· ·If AEP wouldn't have fixed anything, they
                                                                          13· or through ________________________) (description of
  13· could have went in and fixed what was the problem with
                                                                          14· identity card or other document) to be the person whose
  14· that transformer.                                                   15· name is subscribed to the foregoing instrument and
  15· · · ·Q.· ·So it would burn down if the transformer                  16· acknowledged to me that they executed the same for the
  16· hasn't been repaired, correct?                                      17· purposes and consideration therein expressed.

  17· · · ·A.· ·Correct.                                                  18· · · ·Given under my hand and seal of office this

  18· · · · · · · · ·MR. SCHAUER:· Okay.· That's all I have.              19· ________ day of _____________________, _______.
                                                                          20
  19· · · · · · · · ·MR. SWALLOW:· Thank you, Mr. Winkfein.
                                                                          · · · · · · · · · · · · ____________________________________
  20· · · · · · · · ·THE VIDEOGRAPHER:· The time is 3:55 p.m.
                                                                          21· · · · · · · · · · · NOTARY PUBLIC IN AND FOR
  21· We are now off the record.
                                                                          · · · · · · · · · · · · THE STATE OF _______________________
  22· · · · · · · · ·(Deposition concluded at 3:55 p.m.)
                                                                          22· · · · · · · · · · · COMMISSION EXPIRES:· ______________
  23                                                                      23
  24                                                                      24· ____No Changes Made· ·_____Amendment Sheet(s) Attached
  25                                                                      25



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  · ·   · · · · · ·FOR THE SOUTHERN DISTRICT OF TEXAS
  ·2·   · · · · · · · · ·CORPUS CHRISTI DIVISION
  ·3·   WALTON CUDE· · · · · · · )
  · ·   · · · · · · · · · · · · ·)
  ·4·   · · ·Plaintiff· · · · · ·)
  · ·   · · · · · · · · · · · · ·)
  ·5·   V.· · · · · · · · · · · ·)· CIVIL ACTION NO. 2:19cv388
  · ·   · · · · · · · · · · · · ·)
  ·6·   AEP TEXAS, INC.· · · · · )
  · ·   · · · · · · · · · · · · ·)
  ·7·   · · ·Defendant· · · · · ·)
  ·8·   · · · · · REPORTER'S CERTIFICATION OF THE ORAL
  · ·   · · · · · ·DEPOSITION OF BILL MARTIN WINKFEIN
  ·9·   · · · · · · · · · · OCTOBER 30, 2020
  10·   · · ·I, SANDRA E. LEAS, a Certified Shorthand
  · ·   Reporter and Notary Public in and for the State of
  11·   Texas, hereby certify to the following:
  12·   · · ·That the witness, BILL MARTIN WINKFEIN, was duly
  · ·   sworn by the officer and that the transcript of the oral
  13·   deposition is a true record of the testimony given by
  · ·   the witness;
  14
  · ·   · · ·That the original deposition was delivered to
  15·   MR. JOHN SWALLOW;
  16·   · · ·That a copy of this certificate was served on
  · ·   all parties and/or the witness shown herein on
  17·   _________________________.
  18·   · · ·That the amount of time used by each party at
  · ·   the deposition is as follows:
  19
  · ·   · · ·Mr. John Swallow - 2 hours, 35 minutes
  20·   · · ·Mr. G. Don Schauer - 1 hour, 30 minutes
  21·   · · ·That pursuant to information given to the
  · ·   deposition officer at the time said testimony was taken,
  22·   the following includes counsel for all parties of
  · ·   record:
  23
  · ·   COUNSEL FOR THE PLAINTIFF:
  24
  · ·   Mr. John Swallow
  25·   Mr. Jacob Hubert

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  · ·   361-884-2800
  ·9·   dschauer@cctxlaw.com
  10·   · · ·I further certify that pursuant to FRCP Rule
  · ·   30(f)(1) that the signature of the deponent:
  11
  · ·   · · ·___X____ was requested by the deponent or a party
  12·   before the completion of the deposition and that the
  · ·   signature is to be before any notary public and returned
  13·   within 30 days from date of receipt of the transcript.
  · ·   If returned, the attached Changes and Signature Page
  14·   contains any changes and the reasons therefore:
  15·   · · ·______ was not requested by the deponent or a
  · ·   party before the completion of the deposition.
  16
  · ·   · · ·I further certify that I am neither Counsel for,
  17·   related to, nor employed by any of the parties or
  · ·   attorneys in the action in which this proceeding was
  18·   taken, and further that I am not financially or
  · ·   otherwise interested in the outcome of the action.
  19
  · ·   · · ·Certified to by me on this the 20th day of
  20
  · ·   November, 2020.
  21
  · ·   ·   ·   ·   ·   ·   ·   ·   ·_______________________________
  22·   ·   ·   ·   ·   ·   ·   ·   ·SANDRA E. LEAS, Texas CSR 6929
  · ·   ·   ·   ·   ·   ·   ·   ·   ·Expiration Date:· 4/30/2021
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  25


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